                                                                                               EXHIBIT




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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF WISCONSIN

GREAT AMERICAN INSURANCE
COMPANY,

         Plaintiff,
                                                      Civil Action No.
                      v.

R.J. SCHINNER CO., INC.,

         Defendant.

                             COMPLAINT FOR DECLARATORY JUDGMENT

       NOW COMES the Plaintiff, GREAT AMERICAN INSURANCE COMPANY (“GAIC”),

by and through its attorneys, CASSIDAY SCHADE LLP, and for its Complaint for Declaratory

Judgment against Defendant, R.J. SCHINNER CO., INC., states as follows:

                                     PARTIES AND VENUE

       1.       Plaintiff, GAIC, is a corporation with its principal place of business in Cincinnati,

Ohio, and is organized under the laws of the State of Ohio.

       2.       Defendant, R.J. SCHINNER CO., INC. (“R.J. Schinner”), is a corporation with its

principal place of business in Menomonee Falls, Wisconsin, and is organized under the laws of

the State of Wisconsin.

       3.       Pursuant to 28 U.S.C. § 1332(a), this Court has subject matter jurisdiction over

this dispute because there is complete diversity between the plaintiff and the defendant herein,

and the amount at issue exceeds $75,000, exclusive of interest and costs.

       4.       Further, pursuant to 28 U.S.C. § 1391(b), venue is proper in this District because

this is a judicial district in which the defendant resides, and where a substantial portion of the

events giving rise to the claim occurred.

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                                   NATURE OF THE ACTION

       5.      This declaratory judgment action seeks to establish a lack of coverage under an

excess insurance policy for costs associated with the cleanup of debris caused by the flooding of

a warehouse leased by R.J. Schinner, for which coverage is excluded pursuant to a lack of a

covered “occurrence,” lack of “property damage,” and in the alternative, pursuant to the

pollution exclusion and by other exclusions and conditions.

       6.      GAIC issued Excess Liability Insurance Policy No. TUE 3-02-29-14-02 (the

“Excess Policy”) to R.J. Schinner as the Named Insured for the Policy Period of March 1, 2021

to March 1, 2022. A true and correct copy of the Excess Policy, with the premium amount

redacted, is attached hereto as Exhibit A.

       7.      The Excess Policy provides a $10 million Limit of Insurance for Each Occurrence

and as a General Aggregate Limit (where applicable), subject to the additional terms and

conditions of the Excess Policy.

       8.      The Excess Policy provides in part in its Insuring Agreements, Section II.

(“LIMITS OF INSURANCE”), Item B.1., that “[t]his policy applies only in excess of the

Underlying Limits of Insurance shown in Item 5. of the Declarations.”

       9.      Item 5. of the Declarations of the Excess Policy refers to a “SCHEDULE OF

UNDERYING POLICIES,” which includes commercial general liability insurance coverage

provided by Zurich American Insurance Company (“Zurich”) on a primary basis, under Policy

No. GL0819625019, which is in effect for the policy period of March 1, 2021 to March 1, 2022

(the “Primary Policy”). A true and correct copy of the Primary Policy, with the premium amount

redacted, is attached hereto as Exhibit B.




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       10.     The Primary Policy provides a $1 million Each Occurrence Limit of Liability,

subject to a $2 million General Aggregate Limit of Liability. A true and correct copy of the

Policy Limits is attached as Exhibit C.

       11.     On March 27 and 28, 2021, near record rainfall resulted in flash floods that caused

water to flow into a warehouse leased to, and operated by, R.J. Schinner and other tenants, at 642

Space Park South Dr., Nashville, Tennessee.

       12.     The flood water that entered the warehouse carried contents from the warehouse,

including plastic bags, paper products, and other restaurant supply products and items, into Mill

Creek, which is adjacent to the warehouse, and washed the contents downstream.

       13.     When the flood waters receded, the waterlogged warehouse contents were deposited

along the banks of Mill Creek as debris.

       14.     Shortly after the flood waters receded, R.J. Schinner agreed to clean up and dispose

of this flood debris and hired a company called Clean Harbors to remove and dispose of said debris

from the banks of Mill Creek.

       15.     R.J. Schinner claims that it has incurred in excess of $1 million in cleanup costs for

the removal and disposal of the flood debris from along Mill Creek.

       16.     Prior to incurring the cleanup costs for the removal and disposal of the flood

debris, R.J. Schinner did not request GAIC’s consent to incur said costs.

       17.     On or about June 9, 2021, GAIC was notified of a claim under the Primary Policy,

and of a potential claim under the Excess Policy, for the flood debris cleanup and disposal costs

incurred by R.J. Schinner (“Flood Debris Cleanup Costs Claim”).




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       18.    R.J. Schinner has requested that GAIC acknowledge coverage for the Flood

Debris Cleanup Costs Claim under the Excess Policy to the extent that such costs exceed the

Primary Policy’s $1 million Each Occurrence Limit of Liability.

                                   THE EXCESS POLICY

       19.    The Excess Policy includes the following relevant provisions:

              INSURING AGREEMENTS

              1.      COVERAGE

                      A)     We will pay on behalf of the Insured "loss" in excess of
                             the Underlying Limits of Insurance shown in Item 5. of
                             the Declarations, but only up to an amount not exceeding
                             the Company's Limits of Insurance as shown in Item 4. of
                             the Declarations. Except for the terms, conditions,
                             definitions and exclusions of this policy, the coverage
                             provided by this policy will follow the First Underlying
                             Insurance Policy, as shown in Item 5. of the Declaration
                             …

              II.     LIMITS OF INSURANCE

                      A.     The Limits of Insurance shown in the Declarations and
                             the rules below describe the most we will pay regardless
                             of the number of:

                             1.     Insureds;

                             2.     Claims made or suits brought; or

                             3.     Persons or organizations making claims or
                                    bringing suits.

                      B.     The Limits of Insurance of this policy will apply as
                             follows:

                             1.     This policy applies only in excess of the
                                    Underlying Limits of Insurance shown in Item 5.
                                    of the Declarations …

              III.    DEFENSE




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            A.     We will not be required to assume charge of the
                   investigation of any claim or defense of any suit against
                   you.

            B.     We will have the right, but not the duty, to be associated
                   with you or your underlying insurer or both in the
                   investigation of any claim or defense of any suit which in
                   our opinion may create liability on us for "loss" under this
                   policy. If we exercise such right, we will do so at our own
                   expense.

            C.     If all Underlying Limits of Insurance stated in Item 5. of
                   the Declarations are exhausted solely by payment of
                   "loss," we shall have the right but not the duty to
                   investigate and settle any claim or assume the defense of
                   any suit which in our opinion may give rise to a "loss"
                   under this policy. Such investigation or defense shall be at
                   our own expense. We may, however, withdraw from the
                   defense of such suit and tender the continued defense to
                   you if our applicable Limits of Insurance stated in Item 4.
                   of the Declarations are exhausted by payment of "loss."
                   …

      V.    DEFINITIONS

            "Loss" means those sums which you are legally obligated to pay
            as damages, after making proper deductions for all recoveries and
            salvage.

      VI.   CONDITIONS

            E.     Notice of Occurrence

                   1.     You must see to it that we are notified as soon as
                          practicable of an occurrence which may result in a
                          "loss" covered under this policy. To the extent
                          possible, notice will include:

                          a.      how, when and where the occurrence took
                                  place;

                          b.      the names and addresses of any injured
                                  persons and witnesses;

                          c.      the nature and location of any injury or
                                  damage arising out of the occurrence.



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                  2.      If a claim or suit against any Insured is reasonably
                          likely to involve this policy you must notify us in
                          writing as soon as practicable.

                  3.      You and any other involved Insured must:

                          a.     immediately send us copies of any
                                 demands, notices, summonses or legal
                                 papers received in connection with the
                                 claim or suit;

                           b.    authorize us to obtain records and other
                                 information;

                           c.    cooperate with us in the investigation,
                                 settlement or defense of the claim or suit;
                                 and

                           d.    assist us, upon our request, in the
                                 enforcement of any right against any
                                 person or organization which may be liable
                                 to the Insured because of injury or damage
                                 to which this insurance may also apply.

                  4.     The Insureds will not, except at their own cost,
                         voluntarily make a payment, assume any
                         obligation, or incur any expense, other than for first
                         aid, without our consent.

            F.    Other Insurance

                  If other insurance applies to a "loss" that is also covered
                  by this policy, this policy will apply excess of the other
                  insurance. Nothing herein will be construed to make this
                  policy subject to the terms, conditions and limitations of
                  such other insurance. However, this provision will not
                  apply if the other insurance is specifically written to be
                  excess of this policy. Other insurance includes any type of
                  self-insurance or other mechanism by which an Insured
                  arranges for funding of legal liabilities …

            H.    When "Loss" is Payable

                  Coverage under this policy will not apply unless and until
                  the Insured or the Insured's underlying insurance has paid
                  or is obligated to pay the full amount of the Underlying



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                             Limits of Insurance stated in Item 5. of the Declarations.
                             When the amount of "loss" has finally been determined,
                             we will promptly pay on behalf of the Insured the amount
                             of "loss" covered under the terms of this policy …

       20.     The Excess Policy also contains Endorsement No. TAU 9554 (Ed. 11 97), entitled

“POLLUTION EXCLUSION – EXCEPTION FOR NAMED PERIL OF HOSTILE FIRE”

(hereinafter “Pollution Exclusion”), which provides in relevant part as follows:

               This endorsement modifies insurance provided under the following:

                      EXCESS LIABILITY POLICY

               The following is added to Section IV – EXCLUSIONS:

               This policy does not apply to any “loss,” including but not limited to
               settlements, judgments, costs, charges, expenses, costs of investigations,
               or the fees of attorneys, experts, or consultants, arising out of or in any
               way related to:

               1.     The actual, alleged, or threatened presence, discharge, dispersal,
                      seepage, migration, release, or escape of “pollutants,” however
                      caused.

               2.     Any request, demand or order the any Insured or others test for,
                      monitor, clean up, remove, contain, treat, detoxify, neutralize or
                      in any way respond to or assess the effects of “pollutants.” This
                      includes demands, directives, complaints, suits, orders or
                      requests brought by any governmental entity or by any person or
                      group of persons.

               3.    Steps taken or amounts incurred by a governmental unit or any
                     other person or organization to test for, monitor, clean-up, remove,
                     contain, treat, detoxify or neutralize or assess the effects of
                     “pollutants.”

               This exclusion will apply to any “loss,” costs, charges, or expenses, or
               any judgments or settlements, arising directly or indirectly out
               of pollution whether or not the pollution was sudden, accidental, gradual,
               intended, expected, unexpected, preventable or not preventable.

               As used in this exclusion “pollutants” means any solid, liquid, gaseous,
               or thermal irritant or contaminant, including, but not limited to smoke,
               vapor, soot, fumes, acids, alkalis, chemicals and waste material. Waste



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              material includes materials which are intended to be or have been
              recycled, reconditioned or reclaimed.

              This exclusion does not       apply    to   bodily   injury   or property
              damage arising out of:

              1.     The following named peril:

                     a.     heat, smoke or fumes from a “hostile fire” at the Insured’s
                            premises or job location. “Hostile fire” means one which
                            becomes uncontrollable or breaks out from where it
                            was intended to be;

                     to the extent that such insurance is provided by a policy listed in
                     the Schedule of Underlying Insurance, and for no broader
                     coverage than is provided by such policy.

                                   THE PRIMARY POLICY

       21.    The Primary Policy includes the following relevant provisions in the Commercial

General Liability Coverage Form:

                     SECTION I – COVERAGES

                     COVERAGE A – BODILY INJURY AND PROPERTY
                     DAMAGE LIABILITY

                     1.     Insuring Agreement

                            a.      We will pay those sums that the insured becomes
                                    legally obligated to pay as damages because of
                                    "bodily injury" or "property damage" to which this
                                    insurance applies. We will have the right and duty
                                    to defend the insured against any "suit" seeking
                                    those damages. However, we will have no duty to
                                    defend the insured against any "suit" seeking
                                    damages for "bodily injury" or "property damage"
                                    to which this insurance does not apply. We may,
                                    at our discretion, investigate any "occurrence" and
                                    settle any claim or "suit" that may result. But:

                                    (1)    The amount we will pay for damages is
                                           limited as described in Section III – Limits
                                           Of Insurance; and




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                          (2)    Our right and duty to defend ends when we
                                 have used up the applicable limit of
                                 insurance in the payment of judgments or
                                 settlements under Coverages A or B or
                                 medical expenses under Coverage C.

                          No other obligation or liability to pay sums or
                          perform acts or services is covered unless
                          explicitly provided for under Supplementary
                          Payments – Coverages A and B.

                   b.     This insurance applies to "bodily injury" and
                          "property damage" only if:

                          (1)    The "bodily injury" or "property damage"
                                 is caused by an "occurrence" that takes
                                 place in the "coverage territory;"

                          (2)    The "bodily injury" or "property damage"
                                 occurs during the policy period; and

                          (3)    Prior to the policy period, no insured listed
                                 under Paragraph 1. of Section II – Who Is
                                 An Insured and no "employee" authorized
                                 by you to give or receive notice of an
                                 "occurrence" or claim, knew that the
                                 "bodily injury" or "property damage" had
                                 occurred, in whole or in part. If such a
                                 listed insured or authorized "employee"
                                 knew, prior to the policy period, that the
                                 "bodily injury" or "property damage"
                                 occurred, then any continuation, change or
                                 resumption of such "bodily injury" or
                                 "property damage" during or after the
                                 policy period will be deemed to have been
                                 known prior to the policy period….

            2.     Exclusions

                   This insurance does not apply to: …

                  j.      Damage To Property

                          "Property damage" to:




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                          (1)    Property you own, rent, or occupy,
                                 including any costs or expenses incurred
                                 by you, or any other person, organization
                                 or entity, for repair, replacement,
                                 enhancement, restoration or maintenance
                                 of such property for any reason, including
                                 prevention of injury to a person or damage
                                 to another’s property; …

                          (6)    That particular part of any property that
                                 must be restored, repaired or replaced
                                 because "your work" was incorrectly
                                 performed on it …

                   m.     Damage To Impaired Property Or Property
                          Not Physically Injured

                          "Property damage" to "impaired property" or
                          property that has not been physically injured,
                          arising out of:

                          (1)    A defect, deficiency, inadequacy or
                                 dangerous condition in "your product" or
                                 "your work;" or

                          (2)    A delay or failure by you or anyone acting
                                 on your behalf to perform a contract or
                                 agreement in accordance with its terms …

             COVERAGE B --- - PERSONAL AND ADVERTISING INJURY
             LIABILITY

             1.    Insuring Agreement

                   a.     We will pay those sums that the insured becomes
                          legally obligated to pay as damages because of
                          "personal and advertising injury" to which this
                          insurance applies. We will have the right and duty
                          to defend the insured against any "suit" seeking
                          those damages. However, we will have no duty to
                          defend the insured against any "suit" seeking
                          damages for "personal and advertising injury" to
                          which this insurance does not apply. We may, at
                          our discretion, investigate any offense and settle
                          any claim or "suit" that may result. But:




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                          (1)    The amount we will pay for damages is
                                 limited as described in Section III – Limits
                                 Of Insurance; and

                          (2)    Our right and duty to defend end when we
                                 have used up the applicable limit of
                                 insurance in the payment of judgments or
                                 settlements under Coverages A or B or
                                 medical expenses under Coverage C.

                          No other obligation or liability to pay sums or
                          perform acts or services is covered unless
                          explicitly provided for under Supplementary
                          Payments – Coverages A and B.

                   b.     This insurance applies to "personal and advertising
                          injury" caused by an offense arising out of your
                          business but only if the offense was committed in
                          the "coverage territory" during the policy period
                          …

             2.    Exclusions

                   This insurance does not apply to: …

                   m.     Pollution

                          "Personal and advertising injury" arising out of the
                          actual, alleged or threatened discharge, dispersal,
                          seepage, migration, release or escape of
                          "pollutants" at any time.

                   n.     Pollution-related

                          Any loss, cost or expense arising out of any:

                          (1)    Request, demand, order or statutory or
                                 regulatory requirement that any insured or
                                 others test for, monitor, clean up, remove,
                                 contain, treat, detoxify or neutralize, or in
                                 any way respond to, or assess the effects
                                 of, "pollutants;" or

                          (2)    Claim or suit by or on behalf of a
                                 governmental authority for damages
                                 because of testing for, monitoring,



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                                 cleaning up, removing, containing,
                                 treating, detoxifying or neutralizing, or in
                                 any way responding to, or assessing the
                                 effects of, "pollutants" …

                   SECTION V -- DEFINITIONS

                   1.     "Advertisement" means a notice that is broadcast
                          or published to the general public or specific
                          market segments about your goods, products or
                          services for the purpose of attracting customers or
                          supporters. For the purposes of this definition:

                          a.     Notices that are published include material
                                 placed on the Internet or on similar
                                 electronic means of communication; and

                          b.     Regarding web sites, only that part of a
                                 web site that is about your goods, products
                                 or services for the purposes of attracting
                                 customers or supporters is considered an
                                 advertisement …

                   3.     "Bodily injury" means bodily injury, sickness or
                          disease sustained by a person, including death
                          resulting from any of these at any time …

                   8.     "Impaired property" means tangible property,
                          other than "your product" or "your work," that
                          cannot be used or is less useful because:

                          a.     It incorporates "your product" or "your
                                 work" that is known or thought to be
                                 defective,   deficient, inadequate   or
                                 dangerous; or

                          b.     You have failed to fulfill the terms of a
                                 contract or agreement;

                          if such property can be restored to use by the
                          repair, replacement, adjustment or removal of
                          "your product" or "your work" or your fulfilling
                          the terms of the contract or agreement …

                   13.    "Occurrence" means an accident, including
                          continuous or repeated exposure to substantially
                          the same general harmful conditions.


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                   14.    "Personal and advertising injury" means injury,
                          including consequential "bodily injury," arising
                          out of one or more of the following offenses:

                          a.     False arrest, detention or imprisonment;

                          b.     Malicious prosecution;

                          c.     The wrongful eviction from, wrongful
                                 entry into, or invasion of the right of
                                 private occupancy of a room, dwelling or
                                 premises that a person occupies,
                                 committed by or on behalf of its owner,
                                 landlord or lessor;

                          d.     Oral or written publication, in any manner,
                                 of material that slanders or libels a person
                                 or organization or disparages a person’s or
                                 organization’s goods, products or services;

                          e.     Oral or written publication, in any manner,
                                 of material that violates a person s right of
                                 privacy;

                          f.     The use of another’s advertising idea in
                                 your "advertisement;" or

                          g.     Infringing upon another’s copyright, trade
                                 dress or slogan in your "advertisement."

                   15.    "Pollutants" mean any solid, liquid, gaseous or
                          thermal irritant or contaminant, including smoke,
                          vapor, soot, fumes, acids, alkalis, chemicals and
                          waste. Waste includes materials to be recycled,
                          reconditioned or reclaimed …

                   17.    "Property damage" means:

                          a.     Physical injury to tangible property,
                                 including all resulting loss of use of that
                                 property. All such loss of use shall be
                                 deemed to occur at the time of the physical
                                 injury that caused it; or




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                          b.     Loss of use of tangible property that is not
                                 physically injured. All such loss of use
                                 shall be deemed to occur at the time of the
                                 "occurrence" that caused it …

                   18.    "Suit" means a civil proceeding in which damages
                          because of "bodily injury", "property damage" or
                          "personal and advertising injury" to which this
                          insurance applies are alleged. "Suit" includes:

                          a.     An arbitration proceeding in which such
                                 damages are claimed and to which the
                                 insured must submit or does submit with
                                 our consent; or

                          b.     Any other alternative dispute resolution
                                 proceeding in which such damages are
                                 claimed and to which the insured submits
                                 with our consent.

                   21.    "Your product":

                          a.     Means:

                                 (1)      Any goods or products, other than
                                          real property, manufactured, sold,
                                          handled, distributed or disposed of
                                          by:

                                          (a)    You;

                                          (b)    Others trading under your
                                                 name; or

                                          (c)    A person or organization
                                                 whose business or assets you
                                                 have acquired; and

                                 (2)      Containers (other than vehicles),
                                          materials, parts or equipment
                                          furnished in connection with such
                                          goods or products….

                   22.    "Your work":

                          a.     Means:



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                                              (1)     Work or operations performed by
                                                      you or on your behalf; and

                                              (2)     Materials, parts or equipment
                                                      furnished in connection with such
                                                      work or operations.

       22.       The Primary Policy also contains an endorsement entitled “TOTAL POLLUTION

EXCLUSION WITH A BUILDING HEATING, COOLING AND DEHUMIDIFYING

EQUIPMENT EXCEPTION AND A HOSTILE FIRE EXCEPTION,” which provides in

relevant part:

                 This endorsement modifies insurance provided under the following:

                        COMMERCIAL GENERAL LIABILITY COVERAGE PART

                  Exclusion f. under Paragraph 2. Exclusions of Section I – Coverage A
                  – Bodily Injury And Property Damage Liability is replaced by the
                  following:

                  This insurance does not apply to:

                 f.     Pollution

                        (1)    "Bodily injury" or "property damage" which would not
                               have occurred in whole or part but for the actual, alleged
                               or threatened discharge, dispersal, seepage, migration,
                               release or escape of "pollutants" at any time …

                        (2)    Any loss, cost or expense arising out of any:

                               (a)     Request, demand, order or statutory or regulatory
                                       requirement that any insured or others test for,
                                       monitor, clean up, remove, contain, treat, detoxify
                                       or neutralize, or in any way respond to, or assess
                                       the effects of, "pollutants;" or

                               (b)     Claim or suit by or on behalf of a governmental
                                       authority for damages because of testing for,
                                       monitoring, cleaning up, removing, containing,
                                       treating, detoxifying or neutralizing, or in any way




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                                     responding to, or assessing the effects of,
                                     "pollutants.”

                                           COUNT I

                  DECLARATORY JUDGMENT UNDER 28 U.S.C. § 1331

                THERE IS NO COVERAGE UNDER THE EXCESS POLICY
                  FOR THE COST OF THE CLEANUP CAUSED BY THE
                MARCH 27 and 28, 2021 FLOODING OF THE WAREHOUSE

          23.   GAIC restates and incorporates the foregoing paragraphs 1 through 22 as though

fully set forth and stated herein.

          24.   GAIC does not have any obligation under the Excess Policy to pay for the flood

debris cleanup and disposal costs incurred by R.J. Schinner because the Flood Debris Cleanup

Costs Claim does not involve “loss” as that term is defined by the Excess Policy.

          25.   GAIC does not have any obligation under the Excess Policy to pay for the flood

debris cleanup and disposal costs incurred by R.J. Schinner because R.J. Schinner was under no

legal obligation to pay damages in connection with the cleanup of Mill Creek.

          26.   Alternatively, GAIC does not have any obligation under the Excess Policy to pay

for the flood debris cleanup and disposal costs incurred by R.J. Schinner because the Flood

Debris Cleanup Costs Claim does not involve “bodily injury,” “property damage,” an

“occurrence,” or “personal and advertising injury” as those terms are defined by the Primary

Policy.

          27.   Alternatively, GAIC does not have any obligation under the Excess Policy to pay

 for the flood debris cleanup and disposal costs because the flood debris is a “pollutant” as that

 term is defined in the Excess Policy, and because Pollution Exclusion provides that the Excess

 Policy does not apply to any “loss” arising out of or in any way related to: the actual, alleged,

 or threatened presence, discharge, dispersal, seepage, migration, release, or escape of



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“pollutants,” however caused; any request, demand or order the any Insured or others clean up,

remove, contain, or in any way respond to the effects of “pollutants;” and steps taken

or amounts incurred by a governmental unit or any other person or organization to clean-up,

remove, contain, or assess the effects of “pollutants.”

       28.     Alternatively, GAIC does not have any obligation under the Excess Policy to pay

for the flood debris cleanup and disposal costs because R.J. Schinner breached the Excess

Policy’s Conditions by voluntarily incurring and paying for the cleanup costs without GAIC’s

consent.

       29.     Alternatively, GAIC does not have any obligation under the Excess Policy to pay

for the flood debris cleanup and disposal costs because the Primary Policy’s Coverage A

exclusions for Damage to Property (Exclusion j.), and Impaired Property (Exclusion m.) bar

coverage for the Flood Debris Cleanup Costs Claim.

       30.     Alternatively, GAIC does not have any obligation under the Excess Policy for the

flood debris cleanup and disposal costs because the Primary Policy’s Coverage B Pollution

(Exclusion m.) and Pollution-Related (Exclusion n.) exclusions bar coverage for the Flood Debris

Cleanup Costs Claim.

       31.     Alternatively, GAIC does not have any obligation under the Excess Policy to pay

for the flood debris cleanup and disposal costs because the flood debris constitutes a “pollutant,”

and the “TOTAL POLLUTION EXCLUSION WITH A BUILDING HEATING, COOLING

AND     DEHUMIDIFYING           EQUIPMENT        EXCEPTION        AND      A   HOSTILE       FIRE

EXCEPTION” in the Primary Policy bars coverage for “bodily injury" or "property damage"

which would not have occurred in whole or part but for the actual, alleged or threatened

discharge, dispersal, seepage, migration, release or escape of "pollutants" at any time; and for




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any loss, cost or expense arising out of any: request, demand, order or statutory or regulatory

requirement that any insured or others test for, monitor, clean up, remove, contain, treat,

detoxify or neutralize, or in any way respond to, or assess the effects of, "pollutants;" or for any

claim or suit by or on behalf of a governmental authority for damages because of testing for,

monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any

way responding to, or assessing the effects of, "pollutants.”

       32.     Accordingly, there is no coverage under the Excess Policy for the flood debris

cleanup and disposal costs caused by the March 27 and 28, 2021 flooding of the R.J. Schinner

warehouse.

       33.     Accordingly, GAIC has no duty to indemnify R.J. Schinner under the Excess

Policy in connection with the Flood Debris Cleanup Costs Claim.

       34.     Defendant, however, denies that GAIC has no duty under the Excess Policy to

indemnify R.J. Schinner in connection with the Flood Debris Cleanup Costs Claim.

       35.     An actual controversy exists between the parties and this Court is vested with the

power to declare the rights and liabilities of the parties hereto and to give such other and further

relief as it deems necessary under the facts and circumstances.

       WHEREFORE, the Plaintiff, Great American Insurance Company, respectfully requests

this Honorable Court to issue an order:

               (a)     declaring that Great American Insurance Company has no duty to
                       indemnify R.J. Schinner Co., Inc. in connection with the cleanup and
                       disposal of the flood debris caused by the March 27 and 28, 2021 flooding
                       of the R.J. Schinner warehouse; and

               (b)     awarding Great American Insurance Company such other and further
                       relief as the Court deems just and proper.

                                              Respectfully submitted,

                                              CASSIDAY SCHADE LLP


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                                       /s/ John J. Reid
                                      One of the Attorneys for Plaintiff, GREAT
                                      AMERICAN INSURANCE COMPANY

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                                              CRC INSURANCE SERVICES. INC.


                                              1 N FRANKLIN ST STE 3500
                                              CHICAGO         IL 60606




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ABCD




                                             KEEP THIS NOTICE WITH YOUR INSURANCE PAPERS




                                 PROBLEMS WITH YOUR INSURANCE? - If you are having problems with your
                                 insurance company o r agent, do not hesitate t o contact the insurance company o r
                                 agent t o resolve your problem.


                                                         Great American Insurance Group
                                                         Administrative Offices
                                                         3 0 1 E 4th Street
                                                         Cincinnati, OH 4 5 2 0 2 - 4 2 0 1
                                                         Telephone: 1 - 8 0 0 - 9 7 2 - 3 0 0 8


                                 You can also contact the OFFICE OF THE COMMISSIONER OF INSURANCE, a state
                                 agency which enforces Wisconsin's insurance laws, and file a complaint. You can
                                 contact the OFFICE OF THE COMMISSIONER OF INSURANCE by writing to:


                                                        O f f i c e o f the Commissioner o f Insurance
                                                                       Complaints Department
                                                                           P.O. Box 7 8 7 3
                                                                    Madison, WI 5 3 7 0 7 - 7 8 7 3


                                 o r you can call 1 - 8 0 0 - 2 3 6 - 8 5 1 7 outside o f Madison o r 2 6 6 - 0 1 0 3 in Madison,
                                 and request a complaint form.




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                                     EXCESS L I A B I L I T Y POLICY DECLARATIONS

 ITEM 1 .      NAMED I N S U R E D AND M A I L I N G A D D R E S S :           ITEM 2 . POLICY PERIOD:
 R J S C HI N NE R C O . , I NC .                                              12:01 A.M. Standard Time a t t h e
 N8 9 W 1 4 7 0 0 P A T R I T A D R I V E                                      m a i l i n g a d d r e s s o f t h e Named
 ME NO MO NE E F A L L S , W I      53051                                      I n s u r e d shown a t l e f t .
                                                                               F r o m 03/01/2021 T o 03/01/2022

I N RETURN FOR PAYMENT OF T H E P R E M I U M ,                    A G E N T ' S NAME AND A D D R E S S :
AND S U B J E C T TO A L L TERMS OF T H I S                      C R C I NS UR A NC E S E R V I C E S , I NC .
P O L I C Y , WE AGREE W I T H YOU TO P R O V I D E              1 N. F R A NK L I N S T R E E T , S UI T E 3 5 0 0
T H E I N S U R A N C E AS S T A T E D I N T H I S               C HI C A GO , I L   60606
POLICY.

                          Insurance       i s    Afforded     by       Company i n d i c a t e d    below:
        GR E A T A ME R I C A N I NS UR A NC E C O MP A NY
                                          (A     capital     stock        corporation)


 ITEM 3 .      POLICY PREMIUM:                                                                  POLICY MINIMUM PREMIUM:
               $        .                                                                       $       .
               PREMIUM B A S I S :       ( X )       Flat    (      )    Auditable

 ITEM 4 .      L I M I T S OF I N S U R A N C E :
               The Company's L i a b i l i t y under t h i s p o l i c y w i l l n o t exceed t h e
               following l i m i t :         100   percent o f " l o s s " excess o f Underlying
               Insurance s t a t e d i n Item 5 . o f t h e D e c l a r a t i o n s , b u t f o r no
               greater than:
               $ 10,000,000.              Each Occurrence
               $ 10,000,000.              Aggregate L i m i t (where applicable)

 ITEM 5 .      SCHEDULE OF U N D E R L Y I N G I N S U R A N C E :

 F i r s t Underlying Insurance Policy
 Insurer, Policy No., Policy Period                                          Applicable         Limit
 S E E A T T A C HE D S C HE D UL E A - S C HE D UL E                        $ GA I 6 0 0 3                Each Occurrence
 O F U ND E R L Y I N G P O L I C I E S                                      $ GA I 6 0 0 3                Aggregate L i m i t
                                                                                                           (where applicable)

 Other Underlying Insurance (Excess
 of F i r s t Underlying Insurance Policy)                                   Applicable         Limit
 N/ A                                                                        $ N/ A                        Each Occurrence
                                                                             $ N/ A                        Aggregate L i m i t
                                                                                                           (where applicable)

 ITEM 6 .      FORMS AND ENDORSEMENTS a p p l i c a b l e t o a l l C o v e r a g e                  F o r m s a n d made p a r t
               o f t h i s p o l i c y a t t i m e o f i s s u e a r e l i s t e d on t h e          a t t a c h e d Forms and
               E n d o r s e m e n t s S c h e d u l e , TAU 9 9 9 7 ( E d . 1 1 / 9 7 ) .




 Countersigned                                  By
                              Date                                       Authorized         Representative



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                    THIS ENDORSEMENT CHANGES YOUR POLICY. PLEASE READ IT CAREFULLY.


                                 ECONOMIC AND TRADE SANCTIONS CLAUSE


       This insurance does not apply t o the extent that trade o r economic sanctions o r other laws o r regulations
       prohibit us f r o m providing insurance.


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                                                 In Witness Clause


       In Witness Whereof, w e have caused this Policy t o be executed and attested, and, i f required by state
       law, this Policy shall not be valid unless countersigned by our authorized representative.




                              President                                   Secretary




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                                                EXCESS L I A B I L I T Y POLICY

                                         FORMS AND ENDORSEMENTS SCHEDULE


I t i s hereby understood and agreed                       the following             forms       and   endorsements             are
a t t a c h e d t o and a r e a p a r t o f t h i s        policy:

                                             Date   Added*
                                                   or
          Form     and   Edition         ST D a t e D e l e t e d                    Form     Description

 1.      T A U9 5 0 1      11/97      WI                            EXCESS LIABILITY POLICY DECLARATION

 2.      GA I 6 0 0 3      06/97      WI                            S C HE D UL E A - S C HE D / U ND E R L Y I N G P O L I C Y

 3.      T A U9 9 9 7      11/97      WI                            E X C E S S L I A B I L I T Y F & E S C HE D UL E

 4.      T A U9 5 0 0      11/97      WI                            EXCESS LIABILITY POLICY

 5.      T A U9 5 1 6      11/97      WI                            C A R E / C US T / C NT R L E X C L - R E A L / P E R S P R O P

 6.      GA I 6 5 9 0      12/07      WI                            E X C L - E MP L O Y ME NT R E L A T E D P R A C T I C E S

 7.      T A U9 5 2 7      11/97      WI                            E R I S A E X C L US I O N

 8.      T A U9 5 3 6      11/97      WI                            I NT E L L E C T UA L P R O P E R T Y E X C L

 9.      GA I 6 6 6 3      08/14      WI                            E X C L US I O N - O R GA NI C P A T HO GE NS

10.      T A U9 5 5 4      11/97      WI                            P L L T N E X C L - E X C E P T NA ME D P E R I L HF

11.      T A U9 5 6 8      11/97      WI                            P R O F E S S I O NA L L I A E X C L

12.      GA I 6 7 7 4      12/13      WI                            E X C L - R E C & D I S T O F MA T / I NF I N V I O / C O M

13.      GA I 6 6 5 0      03/03      WI                            W A R L I A B I L I T Y E X C L US I O N

14.      IL7324            08/12      WI                            E C O NO MI C A ND T R A D E S A NC T I O NS C L A US E

15.      GA I 6 7 8 2      07/14      WI                            E X C L US N - A C C E S S / D I S C L O S UR E

16.      GA I 6 4 7 2      04/15      WI                            D I S C L O S P UR S UA NT T O T R S M R I S K I NS

17.      GA I 6 8 4 6      01/08      WI                            D I S C L O S P UR S UA NT T E R R R I S K I NS A C T

18.      GA I 6 4 5 2      01/08      WI                            CAP LOSSES FROM CERT ACTS OF TERR

19.      GA I 6 4 5 8      01/08      WI                            E X C L P U NT V D A M G R E L A T C E R T A C T T E R R

20.      GA I 6 6 8 3      08/05      WI                            N UC L E A R / B I O L O GI C A L / C HE MI C A L E X C L

21.      T A U9 9 9 9      11/97      WI                            GE NE R A L E ND O R S E ME NT

22.      T A U9 9 9 9      11/97      WI                            GE NE R A L E ND O R S E ME NT

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                                                EXCESS L I A B I L I T Y POLICY

                                         FORMS AND ENDORSEMENTS SCHEDULE


I t i s hereby understood and agreed                       the following           forms    and      endorsements          are
a t t a c h e d t o and a r e a p a r t o f t h i s        policy:

                                             Date   Added*
                                                   or
          Form     and   Edition         ST D a t e D e l e t e d                  Form    Description

 1.      T A U9 9 9 9      11/97      WI                            GE NE R A L E ND O R S E ME NT

 2.      T A U9 9 9 9      11/97      WI                            GE NE R A L E ND O R S E ME NT

 3.      IL7268            09/09      WI                            I N W I T NE S S C L A US E

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                                SCHEDULE A - SCHEDULE OF UNDERLYING INSURANCE



C a r r i e r , P o l i c y Number
           and P e r i o d                      Type o f      Coverage                        Limits        of   Insurance


a)   Z UR I C H A ME R I C A N                 Employers      L i a b i l i t y         Bodily     Injury        By    Accident
     I NS UR A NC E C O MP A NY
     POLICY: WC819624919                                                            $ 1,000,000.                  each     accident
     3/1/21 TO 3/1/22
                                                                                        Bodily     Injury        By    Disease

                                                                                    $ 1,000,000.                  policy       l i m i t

                                                                                    $ 1,000,000.                  each     employee




b ) Z UR I C H A ME R I C A N                   Automobile/Garage                   (     )   S p l i t    Limit
     I NS UR A NC E C O MP A NY
     POLICY: BAP819625119                  (   X )   Any    Automobile                  Bodily     Injury        L i a b i l i t y
     3/1/21 TO 3/1/22
                                           (     )   Owned A u t o m o b i l e      $                             each     person
                                                       Only
                                                                                    $                             each     accident
                                           (     )   Specifically
                                                      Designated                        Property          Damage L i a b i l i t y
                                                      Automobile
                                                                                    $                             each     accident
                                           (     )   Hired     Automobile
                                                                                    ( X   )   Combined           Single      Limit
                                           (     )   Non-owned
                                                       Automobile                   $ 1,000,000.                  each     accident

                                           (     )   Garage     L i a b i l i t y   (     )   Garage         Operations

                                           (   X )   D E F E NS E O UT S I D E      $                             Auto     only
                                                     T HE L I MI T                                                each     accident

                                                                                    $                             Other than
                                                                                                                  auto each
                                                                                                                  accident

                                                                                    $                             Other than
                                                                                                                  auto
                                                                                                                  aggregate

                                           (     )   Garagekeepers
                                                     L i a b i l i t y              $                             each     location



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C a r r i e r , P o l i c y Number
           and P e r i o d                         Type o f     Coverage                             Limits        of   Insurance

c)    (       )                                    Comprehensive                      (        )   S p l i t    Limit
                                                 General L i a b i l i t y
                                                     including                                 Bodily          Injury    L i a b i l i t y

                                            (     )   Products-Complet-                   $                             each    occurrence
                                                        ed Operation
                                                        L i a b i l i t y                 $                             aggregate

                                            (     )   Broad Form                               Property          Damage L i a b i l i t y
                                                        Endorsement
                                                                                          $                             each    occurrence
                                            (     )
                                                                                          $                             aggregate

                                                                                      (        )   Combined          Single       Limit
                                            (     )
                                                                                          $                             each    occurrence

                                                                                          $                             aggregate

                   OR                                        OR                                                 OR

     ( X )                                          Commercial                            $ 2,000,000.                  General Aggre-
     Z UR I C H A ME R I C A N                  General L i a b i l i t y                                                gate Limit
     I NS UR A NC E C O MP A NY
     P O L I C Y : GL O 8 1 9 6 2 5 0 1 9   (   X )   Occurrence          Form            $ 2,000,000.                  Products-Com-
     3/1/21 TO 3/1/22                                                                                                    pleted Opera-
                                            (     )   Claims-Made          Form                                          t i o n Aggre-
                                                                                                                         gate Limit
     ( X ) D E F E NS E O UT S I D E        (   X )   GE NE R A L A G GR E GA T E
           T HE L I MI T                              APPLIES PER                         $ 1,000,000.                  Personal and
                                                      PROJECT                                                            Advertising
                                                                                                                         Injury Limit

     Retroactive          Date                                                            $ 1,000,000.                  Each Occurrence
                                                                                                                         Limit




d ) Z UR I C H A ME R I C A N                     E MP L O Y E E B E NE F I T             $1,000,000. EACH ACT,ERROR OR
     I NS UR A NC E C O MP A NY                        LIABILITY                                      O MI S S I O N
     P O L I C Y : GL O 8 1 9 6 2 5 0 1 9
     3/1/21 TO 3/1/22                                                                     $ 1 , 0 0 0 , 0 0 0 . A G GR E GA T E




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                                                                                                               TAU 9500
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                                             EXCESS LIABILITY POLICY


      There are provisions in this policy that restrict coverage. Read the entire policy carefully t o determine
      rights, duties and what is and is not covered.

      W o r d s and phrases in quotation marks have special meaning and can be found in the Definitions Section
      o r the specific policy provision where they appear.

      In consideration o f the payment o f the premium and in reliance upon the statements in the Declarations
      w e agree with you t o provide coverage as follows:


                                                INSURING AGREEMENTS


        I. COVERAGE                                                      1. This policy applies only in excess o f
                                                                            the Underlying Limits o f Insurance
          W e will pay on behalf o f the Insured "loss" in                  shown in Item 5. o f the Declarations.
          excess o f the Underlying Limits o f Insurance
          shown in Item 5. o f the Declarations, but only                2. The aggregate limit shown in Item 4. o f
          up t o an amount not exceeding the Company's                      the Declarations is the most w e will
          Limits o f Insurance as shown in Item 4. o f the                  pay f o r all "loss" that is subject t o an
          Declarations. Except f o r the terms, conditions,                 aggregate limit provided by the First
          definitions and exclusions o f this policy, the                   Underlying Insurance Policy. The a g -
          coverage provided by this policy will f o l l o w                 gregate limit applies separately and in
          the First Underlying Insurance Policy, as                         the same manner as the aggregate l i m -
          shown in Item 5. o f the Declarations.                            its provided by the First Underlying I n -
                                                                            surance Policy.
          The inclusion o r addition hereunder o f more
          than one Insured shall not operate t o increase                3. Subject t o B.2., the occurrence limit
          the Company's Limits o f Insurance beyond that                    stated in Item 4. o f the Declarations is
          set f o r t h in Item 4. o f the Declarations.                    the most w e will pay f o r all "loss"
                                                                            arising out o f any one occurrence t o
          W e will be furnished a complete copy o f the                     which this policy applies.
          First Underlying Insurance Policy described in
          Item 5. o f the Declarations.                                  4. Subject t o Paragraphs B.2. and B.3.
                                                                            above, i f the underlying Limits o f I n -
                                                                            surance stated in Item 5. o f the D e c -
       II. LIMITS OF INSURANCE
                                                                            larations are reduced o r exhausted
                                                                            solely by payment o f "loss," such i n -
           A. The Limits o f Insurance shown in the D e c -                 surance provided by this policy will
              larations and the rules below describe the                    apply in excess o f the reduced Under-
              most w e will pay regardless o f the n u m -                  lying Limits or, i f all Underlying Limits
              ber of:                                                       are exhausted, will apply as underlying
                                                                            insurance subject t o the same terms,
                1. Insureds;                                                conditions, definitions and exclusions
                                                                            o f the First Underlying Insurance P o l i -
               2. claims made o r suits brought; o r                        cy, except f o r the terms, conditions,
                                                                            definitions and exclusions o f this p o l i -
               3. Persons     or    organizations      making               cy.
                  claims o r bringing suits.
                                                                         5. The Limits o f Insurance o f this policy
           B. The Limits o f Insurance o f this policy will                 apply separately t o each consecutive
              apply as follows:                                             annual period and t o any remaining p e -
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                   riod o f less than 1 2 months, starting                2. exposure t o testing f o r , monitoring o f ,
                   with the beginning o f the policy period                  cleaning up, removing, containing o r
                   shown in the Declarations, unless the                     treating o f asbestos, asbestos p r o -
                   policy period is extended after issu-                     ducts, asbestos-containing materials
                   ance f o r an additional period o f less                  o r products, asbestos fibers o r a s -
                   than 1 2 months. In that case, the addi-                  bestos dust; o r
                   tional period will be deemed part o f
                   the last preceding period f o r purposes               3. any obligation t o investigate, settle o r
                   o f determining the Limits o f Insurance.                 defend, o r indemnify any person
                                                                             against any claim o r suit arising out o f ,
      III. DEFENSE                                                           o r related in any way, either directly o r
                                                                             indirectly, t o asbestos, asbestos p r o -
                                                                             ducts, asbestos-containing materials
           A. W e will not be required t o assume charge
                                                                             o r products, asbestos fibers o r a s -
              o f the investigation o f any claim o r d e -
                                                                             bestos dust.
              fense o f any suit against you.
                                                                      B. Any "loss":
           B. W e will have the right, but not the duty, t o
              be associated with you o r your underlying                   1. with respect t o which any Insured u n -
              insurer o r both in the investigation o f any                   der this policy is also an Insured under
              claim o r defense o f any suit which in our                     a nuclear energy liability policy issued
              opinion may create liability on us f o r "loss"                 by Nuclear Energy Liability Insurance
              under this policy. If w e exercise such                         Association, Mutual Atomic, Energy L i -
              right, w e will do so at our o w n expense.                     ability Underwriters, Nuclear Insurance
                                                                              Association o f Canada o r any o f their
           C. If all Underlying Limits o f Insurance stated                   successors, o r would be an Insured
              in Item 5. o f the Declarations are e x -                       under any such policy but f o r its t e r -
              hausted solely by payment o f "loss," w e                       mination upon exhaustion o f its Limit
              shall have the right but not the duty t o                       o f Insurance; o r
              investigate and settle any claim o r assume
              the defense o f any suit which in our o p i n -             2. resulting f r o m the "hazardous p r o p -
              ion may give rise t o a "loss" under this                      erties" o f "nuclear material" and with
              policy. Such investigation o r defense shall                   respect t o which:
              be at our o w n expense. W e may, h o w -
              ever, withdraw f r o m the defense o f such                       a. a person o r organization is r e -
              suit and tender the continued defense t o                            quired t o maintain financial p r o -
              you i f our applicable Limits o f Insurance                          tection pursuant t o the Atomic
              stated in Item 4. o f the Declarations are                           Energy Act o f 1 9 5 4 , o r any law
              exhausted by payment o f "loss."                                     amendatory thereof, o r

                                                                               b. any Insured is, o r had this policy
      IV. EXCLUSIONS
                                                                                  not been issued would be, entitled
                                                                                  t o indemnity f r o m the United
          This policy does not apply to:
                                                                                  States o f America, o r any agency
                                                                                  thereof, under any agreement e n -
           A. Any "loss," including, but not limited t o
                                                                                  tered into by the United States o f
              settlements, judgments, costs, charges,
                                                                                  America, o r any agency thereof,
              expenses, costs o f investigations, o r the
                                                                                  with any person o r organization.
              fees o f attorneys, experts, o r consultants
              arising out o f o r related in any way, either              Any injury o r "nuclear property damage"
              directly o r indirectly, to:                                resulting f r o m the "hazardous properties"
                                                                          o f "nuclear material", if:
                1. asbestos, asbestos products, asbes-
                   tos-containing materials o r products,                  1. the "nuclear material"
                   asbestos fibers o r asbestos dust, i n -
                   cluding, but not limited to, manufac-                        a. is at any "nuclear facility" owned
                   ture, mining, use, sale, installation, r e -                    by, o r operated by o r on behalf
                   moval, o r distribution activities;                             o f , any Insured; o r
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                     b. has been discharged o r dispersed                        o r uranium 2 3 3 o r any combina-
                        therefrom;                                               tion thereof, o r more than 2 5 0
                                                                                 grams o f uranium 2 3 5 ;
               2. the "nuclear material" is contained in
                  "spent fuel" o r "nuclear waste" at any                     d. any structure, basin, excavation,
                  time possessed, handled, used, p r o -                         premises o r place prepared o r
                  cessed, stored, transported o r d i s -                        used f o r the storage o r disposal
                  posed o f by o r on behalf o f any I n -                       o f "nuclear waste," and includes
                  sured; o r                                                     the site on which any o f the
                                                                                 foregoing is located, all o p e r -
               3. the injury o r "nuclear property d a m -                       ations conducted on such site and
                  age" arises out o f the furnishing by                          all premises used f o r such o p e r -
                  any Insured o f services, materials,                           ations;
                  parts o r equipment in connection with
                  the planning, construction, mainten-                   3. "Nuclear material" means "source m a -
                  ance, operation o r use o f any "nuclear                  terial," "special nuclear material" o r
                  facility," but i f such facility is located               "by-product material."
                  within the United States o f America, its
                                                                         4. "Nuclear property damage" includes all
                  territories o r possessions o r Canada,
                                                                            f o r m s o f radioactive contamination o f
                  this Exclusion B.3. applies only t o " n u -
                                                                            property.
                  clear property damage" t o such " n u -
                  clear facility" and any property therein.              5. "Nuclear reactor" means any apparatus
                                                                            designed o r used t o sustain nuclear
               As used in this exclusion:                                   fission in a self-supporting chain r e -
                                                                            action o r t o contain a critical mass o f
                1. "Hazardous properties" include r a d i o -               fissionable material.
                   active, toxic o r explosive properties.
                                                                         6. "Nuclear Waste" means any "nuclear
               2. "Nuclear facility" means:                                 waste" material:

                     a. any "nuclear reactor";                                a. containing "by-product material"
                                                                                 other than the tailings o f "nuclear
                     b. any equipment o r device designed                        wastes" produced by the e x t r a c -
                        o r used for:                                            tion o r concentration o f uranium
                                                                                 o r thorium f r o m any ore p r o -
                           (1) separating the isotopes o f                       cessed primarily f o r its "source
                               uranium o r plutonium,                            material" content, and

                                                                              b. resulting f r o m the operation by
                          (2) processing o r utilizing "spent                    any person o r organization o f any
                              fuel," o r                                         "nuclear facility" included within
                                                                                 the definition o f "nuclear facility"
                          (3) handling,   processing     or                      under Paragraph C.2.a. o r C.2.b.
                              packaging "nuclear waste";
                                                                         7. "Source material," "special nuclear m a -
                     c. any equipment o r device used f o r                 terial," and "by-product" material have
                        the processing, fabricating o r a l -               the meanings given them in the Atomic
                        loying o f "special nuclear material"               Energy Act o f 1 9 5 4 o r in any law
                        i f at any time the total amount o f                amendatory thereof.
                        such material in the custody o f
                        the insured at the premises where                8. "Spent fuel" means any fuel element o r
                        such equipment o r device is l o -                  fuel component, solid o r liquid, which
                        cated consists o f o r contains                     has been used o r exposed t o radiation
                        more than 2 5 grams o f plutonium                   in a "nuclear reactor."



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       V. DEFINITIONS                                                       3. The policy period will end on the day
                                                                               and hour stated in the cancellation n o -
          "Loss" means those sums which you are l e -                          tice.
          gally obligated t o pay as damages, after m a k -
          ing proper deductions f o r all recoveries and
                                                                            4. If w e cancel, final premium will be c a l -
          salvage.
                                                                               culated p r o rata based on the time this
                                                                               policy was in force.
      VI. CONDITIONS

           A. Appeals                                                       5. If you cancel, final premium will be
                                                                               more than p r o rata; it will be based on
               In the event you o r any underlying insurer                     the time this policy was in f o r c e and
               elects not t o appeal a judgment in excess                      increased by our short rate cancella-
               o f the amount o f the Underlying Insurance,                    tion table and procedure.
               w e may elect t o appeal at our expense. If
               w e do so elect, w e will be liable f o r the                6. Premium adjustment may be made at
               costs and additional interest accruing d u r -                  the time o f cancellation o r as soon as
               ing this appeal. In no event will this p r o v i -              practicable thereafter but the cancella-
               sion increase our liability beyond the a p -                    tion will be effective even i f w e have
               plicable Limits o f Insurance described in                      not made o r o f f e r e d any refund due
               Section II. o f this policy.                                    you. Our check o r our representative's
                                                                               check, mailed o r delivered, will be
           B. Bankruptcy or Insolvency
                                                                               sufficient tender o f any refund due
                                                                               you.
               The bankruptcy, insolvency o r inability t o
               pay o f any Insured will not relieve us f r o m
               our obligation t o pay "loss" covered by                     7. The first Named Insured in Item 1. o f
               this policy.                                                    the Declarations will act on behalf o f
                                                                               all other Insureds with respect t o the
               In the event o f bankruptcy, insolvency o r                     giving and receiving o f notice o f c a n -
               refusal o r inability t o pay, o f any u n d e r -              cellation and the receipt o f any refund
               lying insurer, the insurance afforded by                        that may become payable under this
               this policy will not replace such underlying                    policy.
               insurance, but will apply as i f the u n d e r -
               lying insurance was fully available and c o l -              8. Any o f these provisions that conflict
               lectible.                                                       with a law that controls the cancella-
                                                                               tion o f the insurance in this policy is
           C. Cancellation
                                                                               changed by this statement t o comply
                                                                               with the law.
                1. You may cancel this policy. You must
                   mail o r deliver advance written notice
                   t o us stating when the cancellation is              D. Maintenance o f Underlying Insurance
                   t o take effect.
                                                                            During the period o f      this policy, you
               2. W e may cancel this policy. If w e c a n -                agree:
                  cel because o f nonpayment o f p r e -
                  mium, w e must mail o r deliver t o you
                  not less than ten (10) days advance                       1. To keep the policies listed in the
                  written notice stating when the c a n -                      Schedule o f Underlying Insurance in
                  cellation is t o take effect. If w e cancel                  full f o r c e and effect;
                  f o r any other reason, w e must mail o r
                  deliver t o you not less than thirty (30)                 2. That the Limits o f Insurance o f the
                  days advance written notice stating                          policies listed in the Schedule o f U n -
                  when the cancellation is t o take effect.                    derlying Insurance will be maintained
                  Mailing that notice t o you at your mail-                    except f o r any reduction o r exhaus-
                  ing address shown in Item 1. o f the                         tion o f aggregate limits by payment o f
                  Declarations will be sufficient t o prove                    claims o r suits f o r "loss" covered by
                  notice.                                                      Underlying Insurance.
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               If you fail t o comply with these require-                4. The Insureds will not, except at their
               ments, w e will only be liable t o the same                  o w n cost, voluntarily make a payment,
               extent that w e would have been had you                      assume any obligation, o r incur any
               fully complied with these requirements.                      expense, other than f o r first aid, w i t h -
                                                                            out our consent.
           E. Notice o f Occurrence
                                                                     F. Other Insurance
                1. You must see t o it that w e are notified
                   as soon as practicable o f an o c c u r -
                   rence which may result in a "loss"                    If other insurance applies t o a "loss" that is
                   covered under this policy. To the e x -               also covered by this policy, this policy will
                   tent possible, notice will include:                   apply excess o f the other insurance.
                                                                         Nothing herein will be construed t o make
                     a. how, when and where the o c c u r -              this policy subject t o the terms, conditions
                        rence took place;                                and limitations o f such other insurance.
                                                                         However, this provision will not apply i f
                     b. the names and addresses o f any                  the other insurance is specifically written
                        injured persons and witnesses;                   t o be excess o f this policy.

                     c. the nature and location o f any i n -
                        jury o r damage arising out o f the              Other insurance includes any type o f s e l f -
                        occurrence.                                      insurance o r other mechanism by which an
                                                                         Insured arranges f o r funding o f legal
               2. If a claim o r suit against any Insured is             liabilities.
                  reasonably likely t o involve this policy
                  you must notify us in writing as soon              G. Terms Conformed to Statute
                  as practicable.
                                                                         The terms o f this Policy which are in c o n -
               3. You and any other involved Insured
                                                                         flict with the statutes o f the state where
                  must:
                                                                         this Policy is issued are amended t o c o n -
                     a. immediately send us copies o f                   f o r m t o such statutes. If w e are prevented
                        any demands, notices, summonses                  by law o r statute f r o m paying on behalf o f
                        o r legal papers received in c o n -             the Insured, then w e will, where permitted
                        nection with the claim o r suit;                 by law o r statute, indemnify the Insured.

                     b. authorize us t o obtain records              H. When "Loss" is Payable
                        and other information;
                                                                         Coverage under this policy will not apply
                     c. cooperate with us in the inves-
                                                                         unless and until the Insured o r the I n -
                        tigation, settlement o r defense o f
                                                                         sured's underlying insurance has paid o r is
                        the claim o r suit; and
                                                                         obligated t o pay the full amount o f the
                     d. assist us, upon our request, in the              Underlying Limits o f Insurance stated in
                        enforcement o f any right against                Item 5. o f the Declarations.
                        any person o r organization which
                        may be liable t o the Insured b e -              When the amount o f "loss" has finally been
                        cause o f injury o r damage t o                  determined, w e will promptly pay on b e -
                        which this insurance may also a p -              half o f the Insured the amount o f "loss"
                        ply.                                             covered under the terms o f this policy.




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                THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN
                  RESPONSE TO THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK
                INSURANCE ACT. THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR
               CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.


                       DISCLOSURE PURSUANT TO TERRORISM RISK INSURANCE ACT


 This endorsement modifies insurance provided under the following:

       COMMERCIAL UMBRELLA
       EXCESS LIABILITY


                                                         Schedule*

 Terrorism Premium (Certified Acts) $              .

 * Information required t o complete this Schedule, i f not shown above, will be shown in the Declarations.


 A.    Disclosure Of Premium

       In accordance with the federal Terrorism Risk Insurance Act, w e are required t o provide you with a notice
       disclosing the portion o f your premium, i f any, attributable t o coverage f o r terrorist acts certified under the
       Terrorism Risk Insurance Act. The portion o f your premium attributable t o such coverage is shown in the
       Schedule o f this endorsement o r in the policy Declarations.

 B.    Disclosure Of Federal Participation In Payment Of Terrorism Losses

       The United States Government, Department o f the Treasury, will pay a share o f terrorism losses insured
       under the federal program. The federal share equals a percentage (as shown in paragraph D. below) o f that
       portion o f the amount o f such insured losses that exceeds the applicable insurer retention. However, i f
       aggregate insured losses attributable t o terrorist acts certified under the Terrorism Risk Insurance Act exceed
       $100 billion in a calendar year the Treasury shall not make any payment f o r any portion o f the amount o f such
       losses that exceeds $100 billion.

 C.    Cap On Insurer Participation In Payment Of Terrorism Losses

       If aggregate insured losses attributable t o terrorist acts certified under the Terrorism Risk Insurance Act
       exceed $100 billion in a calendar year and w e have met our insurer deductible under the Terrorism Risk
       Insurance Act, w e shall not be liable f o r the payment o f any portion o f the amount o f such losses that
       exceeds $100 billion, and in such case insured losses up t o that amount are subject t o p r o rata allocation in
       accordance with procedures established by the Secretary o f the Treasury.

 D.    Federal Share o f Losses Under the Terrorism Risk Insurance Act

       85% Year: 2 0 1 5
       84% Year: 2 0 1 6
       83% Year: 2 0 1 7
       82% Year: 2 0 1 8
       81% Year: 2 0 1 9
       80% Year: 2 0 2 0

                      This endorsement does not change any other provision o f the policy.
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                 THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN
                   RESPONSE TO THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK
                 INSURANCE ACT. THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR
                CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.


             DISCLOSURE OF PREMIUM AND ESTIMATED PREMIUM FOR CERTIFIED ACTS OF
               TERRORISM COVERAGE (PURSUANT TO TERRORISM RISK INSURANCE ACT)


 This endorsement modifies insurance provided under the following:

        COMMERCIAL UMBRELLA COVERAGE FORM
        SAFEPAK UMBRELLA LIABILITY COVERAGE FORM
        EXCESS LIABILITY



                                                         SCHEDULE*

 SCHEDULE - PART I

 Terrorism Premium (Certified Acts)

(A)     Premium through end o f year (12/31/2 1 )                                    $         .

 (B)    Estimated Premium beyond the date specified above                            $         .

 (Refer to Paragraph C. in this endorsement)

 * Information required t o complete this Schedule, i f not shown above, will be shown in the Declarations.


 A.     Disclosure Of Premium

        In accordance with the federal Terrorism Risk Insurance Act, w e are required t o provide you with a notice
        disclosing the portion o f your premium, i f any, attributable t o coverage f o r terrorist acts certified under that
        Act. The portion o f your premium attributable t o such coverage is shown in the Schedule o f this endorsement
        o r in the policy Declarations.

  B.    Disclosure Of Federal Participation In Payment Of Terrorism Losses

        The United States Government, Department o f the Treasury, will pay a share o f terrorism losses insured
        under the federal program. The federal share equals 85% o f that portion o f the amount o f such insured
        losses that exceeds the applicable insurer retention. However, i f aggregate insured losses attributable t o
        terrorist acts certified under the Terrorism Risk Insurance Act exceed $100 billion in a Program Year (January
        1 through December 31) the Treasury shall not make any payment f o r any portion o f the amount o f such
        losses that exceeds $100 billion.

 C.     Cap On Insurer Participation In Payment Of Terrorism Losses

        If aggregate insured losses attributable t o terrorist acts certified under the Terrorism Risk Insurance Act
        exceed $100 billion in a Program Year (January 1 through December 31) and w e have met our insurer
        deductible under the Terrorism Risk Insurance Act, w e shall not be liable f o r the payment o f any portion o f
        the amount o f such losses that exceeds $100 billion, and in such case insured losses up t o that amount are
        subject t o p r o rata allocation in accordance with procedures established by the Secretary o f the Treasury.
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 D.    Possibility Of Additional Or Return Premium

       The premium f o r certified acts o f terrorism coverage is calculated based in part on the federal participation
       in payment o f terrorism losses as set f o r t h in the Terrorism Risk Insurance Act. The federal program
       established by the Act is scheduled t o terminate at the end o f the year specified in Part I o f the Schedule o f
       this endorsement, unless extended by the federal government. If the federal program terminates o r i f the
       level o r terms o f federal participation change, the estimated premium shown in (B) in Part I o f the Schedule
       may not be appropriate.

       If this policy contains a Conditional Exclusion, continuation o f coverage f o r certified acts o f terrorism, o r
       termination o f such coverage, will be determined upon disposition o f the federal program, subject t o the
       terms and conditions o f the Conditional Exclusion. If this policy does not contain a Conditional Exclusion,
       coverage f o r certified acts o f terrorism will continue. In either case, when disposition o f the federal program
       is determined, w e will recalculate the premium shown in (B) in Part I o f the Schedule and will charge additional
       premium o r refund excess premium, i f indicated.

       If w e notify you o f an additional premium charge, the additional premium will be due as specified in such
       notice.


                        This endorsement does not change any other provision o f the policy.




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                                                GENERAL ENDORSEMENT


              T HI S E ND O R S E ME NT C HA N GE S T HE P O L I C Y .    P L E A S E R E A D I T C A R E F UL L Y .

                                          GE NE R A L E ND O R S E ME NT S U M MA R Y
                                          ===========================

L I S T E D B E L O W A R E T HE T I T L E A ND N U MB E R O F P A GE S F O R E A C H GE NE R A L
E ND O R S E ME NT ( T A U 9 9 9 9 E D . 1 1 9 7 ) I NC L UD E D I N T HI S P O L I C Y A ND L I S T E D I N
T HE F O R MS A ND E ND O R S E ME NT S S C HE D UL E ( T A U 9 9 9 7 E D . 1 1 9 7 ) :

   1.    A ME ND ME NT O F I NS UR I N G A GR E E ME NT - K NO W N I NJ UR Y O R D A MA GE - 1 P A GE

   2.    NA ME D I NS UR E D L I MI T A T I O N E ND O R S E ME NT - 2 P A GE S

   3.    E X C L US I O N- U NI NS UR E D / U ND E R I NS UR E D MO T O R I S T S O R NO F A UL T - 1 P A GE




T HI S E ND O R S E ME NT D O E S NO T C HA N GE A NY O T HE R P R O V I S I O N O F T HE P O L I C Y .




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              T HI S E ND O R S E ME NT C HA N GE S T HE P O L I C Y . P L E A S E R E A D I T C A R E F UL L Y .


                     E X C L US I O N- U NI NS UR E D / U ND E R I NS UR E D MO T O R I S T S O R NO F A UL T
                     ======================================================

T HE F O L L O W I N G E X C L US I O N I S A D D E D T O S E C T I O N I V . - E X C L US I O NS :

A NY " L O S S " A R I S I N G O UT O F A NY O B L I GA T I O N O F T HE " I NS UR E D " U ND E R A NO F A UL T ,
U NI NS UR E D MO T O R I S T O R U ND E R I NS UR E D MO T O R I S T S L A W , O R A NY S I MI L A R L A W ,
R E G UL A T I O N O R O R D I NA NC E .


T HI S E ND O R S E ME NT D O E S NO T C HA N GE A NY O T HE R P R O V I S I O N O F T HE P O L I C Y .




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              T HI S E ND O R S E ME NT C HA N GE S T HE P O L I C Y . P L E A S E R E A D I T C A R E F UL L Y .


                                   NA ME D I NS UR E D L I MI T A T I O N E ND O R S E ME NT
                                   ====================================

T HE F O L L O W I N G I S A D D E D T O S E C T I O N V . - D E F I NI T I O NS :

" I NS UR E D " ME A NS E A C H O F T HE F O L L O W I N G, T O T HE E X T E NT S E T F O R T H:

   1 . T HE NA ME D I NS UR E D ME A NI N G:

        A . A NY P E R S O N O R O R GA NI Z A T I O N L I S T E D I N I T E M 1 . O F T HE
            D E C L A R A T I O NS , A ND A NY C O MP A NY O F W HI C H Y O U O W N MO R E T HA N
            5 0 P E R C E NT , A S O F T HE E F F E C T I V E D A T E O F T HI S P O L I C Y .

        B . A NY O R GA NI Z A T I O N Y O U NE W L Y A C Q UI R E O R F O R M, O T HE R T HA N A
            P A R T NE R S HI P , J O I NT V E NT UR E O R L I MI T E D L I A B I L I T Y C O MP A NY , A ND
            O V E R W HI C H Y O U MA I NT A I N O W NE R S HI P O R MA J O R I T Y I NT E R E S T , W I L L
            Q UA L I F Y T O B E A NA ME D I NS UR E D . HO W E V E R ,

              ( 1 ) C O V E R A GE U ND E R T HI S E ND O R S E ME NT I S A F F O R D E D O NL Y U NT I L
                    T HE 9 0 T H D A Y A F T E R Y O U A C Q UI R E O R F O R M T HE O R GA NI Z A T I O N
                    O R T HE E ND O F T HE P O L I C Y P E R I O D , W HI C HE V E R I S E A R L I E R ;

              ( 2 ) C O V E R A GE D O E S NO T A P P L Y T O " L O S S " T HA T O C C UR R E D B E F O R E
                    Y O U A C Q UI R E D O R F O R ME D T HE O R GA NI Z A T I O N; A ND

              ( 3 ) C O V E R A GE A P P L E S O NL Y I F T HE O R GA NI Z A T I O N I S I NC L UD E D
                    U ND E R T HE C O V E R A GE P R O V I D E D B Y T HE P O L I C I E S L I S T E D I N
                    T HE S C HE D UL E O F U ND E R L Y I N G I NS UR A NC E A ND T HE N F O R NO
                    B R O A D E R C O V E R A GE T HA N I S P R O V I D E D U ND E R S UC H U ND E R L Y I N G
                    POLICIES.

   2 . I F Y O U A R E A N I ND I V I D UA L , Y O U A ND Y O UR S P O US E , B UT O NL Y W I T H
       R E S P E C T T O T HE C O ND UC T O F A B US I NE S S O F W HI C H Y O U A R E T HE S O L E
       O W NE R A S O F T HE E F F E C T I V E D A T E O F T HI S P O L I C Y .

   3 . I F Y O U A R E A P A R T NE R S HI P O R J O I NT V E NT UR E , T HE P A R T NE R S O R ME MB E R S
       A ND T HE I R S P O US E S B UT O NL Y A S R E S P E C T S T HE C O ND UC T O F Y O UR
       B US I NE S S .

   4 . I F Y O U A R E A L I MI T E D L I A B I L I T Y C O MP A NY , T HE ME MB E R S O R MA NA GE R S
       B UT O NL Y A S R E S P E C T S T HE C O ND UC T O F Y O UR B US I NE S S .

   5 . A NY P E R S O N O R O R GA NI Z A T I O N, O T HE R T HA N T HE NA ME D I NS UR E D ,
       I NC L UD E D A S A N A D D I T I O NA L " I NS UR E D " B Y V I R T UE O F A N I NS UR E D
       C O NT R A C T , A ND T O W HI C H C O V E R A GE I S P R O V I D E D B Y T HE U ND E R L Y I N G
       I NS UR A NC E A ND F O R NO B R O A D E R C O V E R A GE T HA N I S P R O V I D E D B Y T HE
       U ND E R L Y I N G I NS UR A NC E T O S UC H A D D I T I O NA L I NS UR E D .



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                     NA ME D I NS UR E D L I MI T A T I O N E ND O R S E ME NT ( C O NT I N UE D )
                     ====================================

   6 . A NY O F Y O UR P A R T NE R S , E X E C UT I V E O F F I C E R S , D I R E C T O R S , O R E MP L O Y E E S
       B UT O NL Y W HI L E A C T I N G W I T HI N T HE S C O P E O F T HE I R D UT I E S .

        HO W E V E R , T HE C O V E R A GE GR A NT E D B Y T HI S P R O V I S I O N 6 . D O E S NO T A P P L Y
        T O T HE O W NE R S HI P , MA I NT E NA NC E , US E , L O A D I N G O R U NL O A D I N G O F A NY
        A UT O S , A I R C R A F T , O R W A T E R C R A F T U NL E S S S UC H C O V E R A GE I S I NC L UD E D
        U ND E R T HE P O L I C I E S L I S T E D I N T HE S C HE D UL E O F U ND E R L Y I N G I NS UR A NC E
        A ND F O R NO B R O A D E R C O V E R A GE T HA N I S P R O V I D E D U ND E R S UC H
        U ND E R L Y I N G P O L I C I E S .

        E MP L O Y E E S I NC L UD E " L E A S E D W O R K E R S " B UT NO T " T E MP O R A R Y W O R K E R S . "
        " L E A S E D W O R K E R S " A R E L E A S E D T O Y O U B Y A L A B O R L E A S I N G F I R M U ND E R
        A N A GR E E ME NT B E T W E E N Y O U A ND T HE L A B O R L E A S I N G F I R M T O P E R F O R M
        R E L A T E D D UT I E S T O T HE C O ND UC T O F Y O UR B US I NE S S . " L E A S E D W O R K E R S "
        A R E NO T " T E MP O R A R Y W O R K E R S . "    " T E MP O R A R Y W O R K E R S " A R E P E R S O NS
        F UR NI S HE D T O Y O U T O S UB S T I T UT E F O R P E R MA NE NT E MP L O Y E E S O N L E A V E
        O R T O ME E T S E A S O NA L O R S HO R T - T E R M W O R K L O A D C O ND I T I O NS .

   7 . A NY P E R S O N, O T HE R T HA N O NE O F Y O UR E MP L O Y E E S , O R O R GA NI Z A T I O N
       W HI L E A C T I N G A S Y O UR R E A L E S T A T E MA NA GE R .

   8 . A NY P E R S O N    ( O T HE R T HA N Y O UR P A R T NE R S , E X E C UT I V E O F F I C E R S ,
       DIRECTORS,          S T O C K HO L D E R S O R E MP L O Y E E S ) O R O R GA NI Z A T I O NS W I T H
       RESPECT TO          A NY A UT O O W NE D B Y Y O U, L O A NE D T O Y O U O R HI R E D B Y Y O U
       O R O N Y O UR      B E HA L F A ND US E D W I T H Y O UR P E R MI S S I O N.

        HO W E V E R , T HE C O V E R A GE GR A NT E D B Y T HI S P R O V I S I O N 8 . D O E S NO T A P P L Y
        T O A NY P E R S O N US I N G A N A UT O W HI L E W O R K I N G I N A B US I NE S S T HA T
        S E L L S , S E R V I C E S , R E P A I R S O R P A R K S A UT O S U NL E S S Y O U A R E I N T HA T
        B US I NE S S .

   9 . NO P E R S O N O R O R GA NI Z A T I O N I S A N I NS UR E D W I T H R E S P E C T T O T HE
       C O ND UC T O F A NY C UR R E NT O R P A S T P A R T NE R S HI P O R J O I NT V E NT UR E
       T HA T I S NO T S HO W N A S A NA ME D I NS UR E D I N T HE D E C L A R A T I O NS .



T HI S E ND O R S E ME NT D O E S NO T C HA N GE A NY O T HE R P R O V I S I O N O F T HE P O L I C Y .




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              T HI S E ND O R S E ME NT C HA N GE S T HE P O L I C Y . P L E A S E R E A D I T C A R E F UL L Y .

                     A ME ND ME NT O F I NS UR I N G A GR E E ME NT - K NO W N I NJ UR Y O R D A MA GE
                     ======================================================

S E C T I O N I - C O V E R A GE I S D E L E T E D A ND R E P L A C E D B Y T HE F O L L O W I N G:

1 . C O V E R A GE

     A ) W E W I L L P A Y O N B E HA L F O F T HE I NS UR E D " L O S S " I N E X C E S S O F T HE
         U ND E R L Y I N G L I MI T S O F I NS UR A NC E S HO W N I N I T E M 5 . O F T HE D E C L A R A T I O NS ,
         B UT O NL Y UP T O A N A MO U NT NO T E X C E E D I N G T HE C O MP A NY ' S L I MI T S O F
         I NS UR A NC E A S S HO W N I N I T E M 4 . O F T HE D E C L A R A T I O NS . E X C E P T F O R T HE
         T E R MS , C O ND I T I O NS , D E F I NI T I O NS A ND E X C L US I O NS O F T HI S P O L I C Y , T HE
         C O V E R A GE P R O V I D E D B Y T HI S P O L I C Y W I L L F O L L O W T HE F I R S T U ND E R L Y I N G
         I NS UR A NC E P O L I C Y , A S S HO W N I N I T E M 5 . O F T HE D E C L A R A T I O NS .

         T HE I NC L US I O N O R A D D I T I O N HE R E U ND E R O F MO R E T HA N O NE I NS UR E D S HA L L
         NO T O P E R A T E T O I NC R E A S E T HE C O MP A NY ' S L I MI T S O F I NS UR A NC E B E Y O ND
         T HA T S E T F O R T H I N I T E M 4 . O F T HE D E C L A R A T I O NS .

         W E W I L L B E F UR NI S HE D A C O MP L E T E C O P Y O F T HE F I R S T U ND E R L Y I N G
         I NS UR A NC E P O L I C Y D E S C R I B E D I N I T E M 5 . O F T HE D E C L A R A T I O NS .

     B ) T HI S I NS UR A NC E A P P L I E S T O " L O S S " O NL Y I F :

         ( 1 ) P R I O R T O T HE P O L I C Y P E R I O D , NO I NS UR E D K NE W T HA T T HE " L O S S " HA D
         O C C UR R E D , I N W HO L E O R I N P A R T . I F A NY I NS UR E D K NE W , P R I O R T O T HE
         P O L I C Y P E R I O D , T HA T T HE " L O S S " O C C UR R E D , T HE N A NY C O NT I N UA T I O N, C HA N GE
         O R R E S U MP T I O N O F S UC H " L O S S " D UR I N G O R A F T E R T HE P O L I C Y P E R I O D W I L L B E
         D E E ME D T O HA V E B E E N K NO W N P R I O R T O T HE P O L I C Y P E R I O D .

     C ) " L O S S " W HI C H O C C UR S D UR I N G T HE P O L I C Y P E R I O D A ND W A S NO T , P R I O R T O
         T HE P O L I C Y P E R I O D , K NO W N T O HA V E O C C UR R E D B Y A NY I NS UR E D , I NC L UD E S
         A NY C O NT I N UA T I O N, C HA N GE O R R E S U MP T I O N O F T HA T " L O S S " A F T E R T HE
         POLICY PERIOD.

     D ) " L O S S " W I L L B E D E E ME D T O HA V E B E E N K NO W N T O HA V E O C C UR R E D A T T HE
         E A R L I E S T T I ME W HE N A NY I NS UR E D :

         ( 1 ) R E P O R T S A L L , O R A NY P A R T , O F T HE " L O S S " T O US O R A NY O T HE R I NS UR E R ;

         ( 2 ) R E C E I V E S A W R I T T E N O R V E R B A L D E MA ND O R C L A I M F O R D A MA GE S B E C A US E
               O F T HE " L O S S " ; O R

         ( 3 ) B E C O ME S A W A R E B Y A NY O T HE R ME A NS T HA T T HE " L O S S " HA S O C C UR R E D O R
               HA S B E G U N T O O C C UR .


T HI S E ND O R S E ME NT D O E S NO T C HA N GE A NY O T HE R P R O V I S I O N O F T HE P O L I C Y .



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                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


             CARE, CUSTODY OR CONTROL EXCLUSION - REAL OR PERSONAL PROPERTY


      The following exclusion is added t o Section IV - EXCLUSIONS:

      Any "loss" f o r property damage t o real o r personal property in the care, custody o r control o f any
      Insured, o r loaned t o any Insured, o r used, rented, o r occupied by any Insured, o r as t o which any Insured
      is f o r any purpose exercising physical control.

      This endorsement does not change any other provision o f the policy.


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                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                               ERISA EXCLUSION


      The following exclusion is added t o Section IV - EXCLUSIONS:

      Any "loss" o r obligation o f the Insured under the Employee Retirement Income Security Act o f 1 9 7 4 o r
      any amendments t o that act, o r under any similar law, regulation o r ordinance.

      This endorsement does not change any other provision o f the policy.


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                       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                       INTELLECTUAL PROPERTY EXCLUSION


      The following exclusion is added t o Section IV - EXCLUSIONS:

      Any "loss" arising out o f o r directly o r indirectly related t o the actual o r alleged publication o r utterance
      o r oral o r written statements which are claimed as an infringement, violation o r defense o f any o f the
      following rights o r laws:

        1. copyright, other than infringement o f copyrighted advertising materials;

        2.   patent;

        3.   trade secrets;

       4.    trade dress; o r

       5.    trade mark o r service mark o r certification mark o r collective mark o r trade name, other than
             trademarked o r service marked titles o r slogans.

      This endorsement does not change any other provision o f the policy.


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                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                           EXCLUSION - ORGANIC PATHOGENS


        This endorsement modifies insurance provided under the following:

              EXCESS LIABILITY COVERAGE FORM


        The following exclusion is added t o IV. EXCLUSIONS:

        Organic Pathogens

          1. Any "loss" arising out o f any actual, alleged o r threatened infectious, pathogenic, toxic o r other
             harmful properties o f any "organic pathogen."

         2.   Any loss, cost o r expense arising out o f any:

               a.   request, demand, order o r statutory o r regulatory requirement that any insured o r others test
                    f o r , monitor, clean up, remove, contain, treat, detoxify o r neutralize, o r in any way respond to,
                    o r assess the e f f e c t s o f any "organic pathogen," o r

              b.    claim o r suit by o r on behalf o f a governmental authority f o r damages because o f testing f o r ,
                    monitoring, cleaning up, removing, containing, treating, detoxifying o r neutralizing, o r in any way
                    responding to, o r assessing the e f f e c t s o f any "organic pathogen."

        The following definition is added t o SECTION V. DEFINITIONS:

        "Organic pathogen" means any:

          1. Bacteria; mildew, mold o r other fungi; other microorganisms; o r mycotoxins, spores o r other
             b y - p r o d u c t s o f any o f the foregoing;

         2.   Viruses o r other pathogens (whether o r not a microorganism); o r

         3.   Colony o r group o f any o f the foregoing.


                                    All other terms and conditions o f the Policy apply.




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                                                                                                                TAU 9554
                                                                                                                (Ed. 1 1 97)


                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


               POLLUTION EXCLUSION - EXCEPTION FOR NAMED PERIL OF HOSTILE FIRE


      This endorsement modifies insurance provided under the following:

            EXCESS LIABILITY POLICY


      The following is added t o Section IV - EXCLU-             tlements, arising directly o r indirectly out o f p o l -
      SIONS:                                                     lution whether o r not the pollution was sudden,
                                                                 accidental, gradual, intended, expected, unexpect-
      This policy does not apply t o any "loss," including       ed, preventable o r not preventable.
      but not limited t o settlements, judgments, costs,
      charges, expenses, costs o f investigations, o r the       As used in this exclusion "pollutants" means any
      fees o f attorneys, experts, o r consultants, arising      solid, liquid, gaseous, o r thermal irritant o r c o n -
      out o f o r in any way related to:                         taminant, including, but not limited t o smoke, v a -
                                                                 por, soot, fumes, acids, alkalis, chemicals and
       1. The actual, alleged, o r threatened presence,          waste material. Waste material includes materials
          discharge, dispersal, seepage, migration, r e -        which are intended t o be o r have been recycled,
          lease, o r escape o f "pollutants," however            reconditioned o r reclaimed.
          caused.
                                                                 This exclusion does not apply t o bodily injury o r
       2. Any request, demand o r order the any Insured          property damage arising out of:
          o r others test f o r , monitor, clean up, remove,
          contain, treat, detoxify, neutralize o r in any         1. The following named peril:
          way respond t o o r assess the e f f e c t s o f
          "pollutants." This includes demands, directives,           a. heat, smoke o r fumes f r o m a "hostile fire"
          complaints, suits, orders o r requests brought                at the Insured's premises o r j o b location.
          by any governmental entity o r by any person                  "Hostile fire" means one which becomes
          o r group o f persons.                                        uncontrollable o r breaks out f r o m where it
                                                                        was intended t o be;
       3. Steps taken o r amounts incurred by a g o v -
          ernmental unit o r any other person o r o r -              t o the extent that such insurance is provided
          ganization t o test f o r , monitor, clean-up, r e -       by a policy listed in the Schedule o f Under-
          move, contain, treat, detoxify o r neutralize o r          lying Insurance, and f o r no broader coverage
          assess the e f f e c t s o f "pollutants."                 than is provided by such policy.

      This exclusion will apply t o any "loss," costs,           This endorsement does not change any other
      charges, o r expenses, o r any judgments o r s e t -       provisions o f the policy.




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                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                       PROFESSIONAL LIABILITY EXCLUSION


      The following exclusion is added t o Section IV - EXCLUSIONS:

      Any "loss" f o r , caused by, arising out o f , o r in connection with the rendering o f , manner o f rendering o r
      failure t o render any professional service.

      This endorsement does not change any other provision o f the policy.


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                                                                                                         GAI 6650
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                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                              WAR LIABILITY EXCLUSION


      The following exclusion is added t o SECTION IV - EXCLUSIONS:


      This insurance does not apply to:                       (3) insurrection, rebellion, revolution, usurped
                                                                  power, o r action taken by governmental a u -
                                                                  thority in hindering o r defending against any
      War
                                                                  o f these.

      "Any injury o r damage," however caused, arising,       As used in this exclusion:
      directly o r indirectly, out of:
                                                              "Any injury or damage" means any injury o r
                                                              damage covered under any policy, Coverage Part,
       (1) war, including undeclared o r civil war; o r
                                                              o r "underlying insurance" t o which this endorse-
                                                              ment is applicable, and includes but is not limited
      (2) warlike action by military force, including a c -   t o "bodily injury," "property damage," "personal
          tion o f hindering o r defending against an a c -   and advertising injury," "loss," "injury" o r "envi-
          tual o r expected attack, by any government,        ronmental damage" as may be defined in any a p -
          sovereign o r other authority using military        plicable policy, Coverage Part, o r "underlying i n -
          personnel o r other agents; o r                     surance."


                       This endorsement does not change any other provision o f the policy.




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                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                   EXCLUSION - ACCESS OR DISCLOSURE OF
                                   CONFIDENTIAL OR PERSONAL INFORMATION


      This endorsement modifies insurance provided under the following:

             EXCESS LIABILITY COVERAGE FORM


      The following exclusion is added t o Section IV. EXCLUSIONS:

       IV.   Exclusions

             Insurance provided under this Coverage Part does not apply to:

             Access Or Disclosure Of Confidential Or Personal Information

             "Loss" arising out o f any access t o o r disclosure o f any person's o r organization's confidential o r
             personal information, including patents, trade secrets, processing methods, customer lists, financial
             information, credit card information, health information o r any other type o f nonpublic information.

             This exclusion applies even i f damages are claimed f o r notification costs, credit monitoring
             expenses, forensic expenses, public relations expenses o r any other loss, cost o r expense incurred
             by you o r others arising out o f any access t o o r disclosure o f any person's o r organization's
             confidential o r personal information.


                      This endorsement does not change any other provision o f the policy.




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                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                            CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM


      This endorsement modifies insurance provided under the following:

            COMMERCIAL UMBRELLA COVERAGE FORM
            SAFEPAK UMBRELLA LIABILITY COVERAGE FORM
            EXCESS LIABILITY


      The following is added t o SECTION II - LIMITS OF INSURANCE:


      If aggregate insured losses attributable t o t e r r o r -   act o f terrorism pursuant t o the federal Terrorism
      ist acts certified under the federal Terrorism Risk          Risk Insurance Act. The criteria contained in the
      Insurance Act exceed $100 billion in a Program               Terrorism Risk Insurance Act f o r a "certified act
      Year (January 1 through December 31) and w e                 o f terrorism" include the following:
      have met our insurer deductible under the T e r r o r -
      ism Risk Insurance Act, w e shall not be liable f o r         1. the act resulted in insured losses in excess o f
      the payment o f any portion o f the amount o f                   $5 million in the aggregate, attributable t o all
      such losses that exceeds $100 billion, and in such               types o f insurance subject t o the Terrorism
      case insured losses up t o that amount are subject               Risk Insurance Act; and
      t o p r o rata allocation in accordance with p r o c e -
      dures established by the Secretary o f the Trea-             2. the act is a violent act o r an act that is d a n -
      sury.                                                           gerous t o human life, property o r infrastruc-
                                                                      ture and is committed by an individual o r i n -
      "Certified act o f terrorism" means an act that is              dividuals as part o f an e f f o r t t o coerce the
      certified by the Secretary o f the Treasury, in                 civilian population o f the United States o r t o
      concurrence with the Secretary o f State and the                influence the policy o r a f f e c t the conduct o f
      Attorney General o f the United States, t o be an               the United States Government by coercion.


                          This endorsement does not change any other provision o f the policy.




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                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                  EXCLUSION OF PUNITIVE DAMAGES RELATED TO A
                                           CERTIFIED ACT OF TERRORISM


      This endorsement modifies insurance provided under the following:

            COMMERCIAL UMBRELLA COVERAGE FORM
            SAFEPAK UMBRELLA LIABILITY COVERAGE FORM
            EXCESS LIABILITY


      The following exclusion is added t o SECTION IV - EXCLUSIONS:


       A. This insurance does not apply to:                           retary o f State and the Attorney General
                                                                      o f the United States, t o be an act o f t e r -
           Terrorism Punitive Damages                                 rorism pursuant t o the federal Terrorism
                                                                      Risk Insurance Act. The criteria contained
           "Any injury o r damage" arising, directly o r i n -        in the Terrorism Risk Insurance Act f o r a
           directly, out o f a "certified act o f terrorism"          "certified act o f terrorism" include the
           that are awarded as punitive damages.                      following:

       B. The following definitions are added:
                                                                      a. the act resulted in insured losses in
            1. For the purposes o f this endorsement,                    excess o f $5 million in the aggregate,
               "any injury o r damage" means any injury o r              attributable t o all types o f insurance
               damage covered under any Coverage Part                    subject t o the Terrorism Risk Insur-
               t o which this endorsement is applicable                  ance Act; and
               and includes but is not limited t o "bodily
               injury," "property damage," "personal and
               advertising injury," "loss," "injury" o r "envi-       b. the act is a violent act o r an act that is
               ronmental damage" as may be defined in                    dangerous t o human life, property o r
               any applicable Coverage Part o r "under-                  infrastructure and is committed by an
               lying insurance."                                         individual o r individuals as part o f an
                                                                         e f f o r t t o coerce the civilian population
           2. "Certified act o f terrorism" means an act                 o f the United States o r t o influence
              that is certified by the Secretary o f the                 the policy o r a f f e c t the conduct o f the
              Treasury, in concurrence with the S e c -                  United States Government by coercion.


                          This endorsement does not change any other provision o f the policy.




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                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                  NUCLEAR, BIOLOGICAL, OR CHEMICAL EXCLUSION



       The following exclusion is added t o Section IV -                  (c) mental injury, mental anguish, emotional
       EXCLUSIONS:                                                            distress, humiliation, o r shock i f directly
                                                                              resulting f r o m physical injury, sickness, o r
                                                                              disease t o that person.
       Any and all liability o f any nature, including, but
       not limited t o settlements, judgments, costs,
       charges, expenses, costs o f investigations, o r the            3. Any request, demand, o r order that any I n -
       fees o f attorneys, experts, consultants o r medical               sured o r others test f o r , monitor, clean up,
       personnel, arising out o f , caused by, resulting                  remove, contain, make repairs, treat, d e c o n -
       from, contributed to, aggravated by o r related in                 taminate, detoxify, neutralize, abate, o r in any
       any way, either directly o r indirectly, and either in             way respond t o o r assess any e f f e c t s o f
       whole o r in part, to:                                             "NBC material." This includes, but is not limited
                                                                          to, any demand, directive, complaint, suit, o r -
                                                                          der o r request by any governmental o r n o n -
         1. Any actual, attempted, suspected, o r threat-                 governmental entity o r by any organization,
            ened use o f any "NBC material" as part o f any               person o r group o f persons.
            plan, e f f o r t , o r design, actually o r apparently
            intended t o cause any:                                    4. Steps taken o r amounts incurred by any g o v -
                                                                          ernmental o r non-governmental entity o r by
            (a) loss o r damage t o any tangible o r intangi-             any organization, person o r group o f persons
                ble property, o r                                         t o test f o r , monitor, clean up, remove, c o n -
                                                                          tain, repair, treat, decontaminate, detoxify,
            (b) bodily injury, physical injury, sickness, o r             neutralize, abate, o r in any way respond t o o r
                disease, including death o f a person, o r                assess any e f f e c t s o f "NBC material."


            (c) mental injury, mental anguish, emotional              This exclusion applies regardless o f whether o r
                distress, humiliation, o r shock i f directly         not the "NBC material," o r any o f their effects,
                resulting f r o m physical injury, sickness, o r      were sudden, accidental, gradual, intended, e x -
                disease t o that person.                              pected, unexpected, preventable, not preventable,
                                                                      manmade, naturally occurring, o r any combination
                                                                      o f the foregoing.
        2. Any actual, attempted, suspected, o r threat-
           ened presence, spread, dissemination, release,             As used in this exclusion:
           escape, o r distribution o f any "NBC material"
           as a direct o r indirect result o f any actual,            "NBC material" means any nuclear, biological, o r
           attempted, suspected, o r threatened plan, e f -           chemical material o r substance that causes d a m -
           f o r t , o r design, actually o r apparently intended     age t o property o r is harmful t o human health.
           t o cause any:                                             "NBC material" includes, but is not limited to:

            (a) loss o r damage t o any tangible o r intangi-          1. any radioactive substance o r material, and the
                ble property, o r                                         radiation it releases,

            (b) bodily injury, physical injury, sickness, o r          2. any pathogen, bacterium, microbe, virus, o r
                disease, including death o f a person, o r                other organism,



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        3. any substance o r material produced by o r          The foregoing list 1. through 4. is only illustrative,
           f r o m any pathogen, bacterium, microbe, virus,    and should not be construed as a complete, e x -
           o r other organism, and                             clusive, o r exhaustive list o f all "NBC materials."

        4. any poison, toxin, o r other harmful chemical,
           substance, o r material.

                        This endorsement does not change any other provision o f the policy.




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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                            EXCLUSION - EMPLOYMENT RELATED PRACTICES


 This endorsement modifies insurance provided under the following:

       EXCESS LIABILITY


 The following exclusion is added t o Section IV - EXCLUSIONS:

 Any liability o r "loss" arising out o f any:

   1. refusal t o employ o r promote;

  2.   termination o f employment;

  3.   coercion, demotion, evaluation, reassignment, discipline, defamation, harassment, molestation,
       humiliation, discrimination, malicious prosecution directed at that person; o r other employment
       related practices, policies, acts o r omissions; o r

  4.   consequential injury as a result o f 1. through 3.

 This exclusion applies whether the injury-causing event described in 1. through 4. occurs before
 employment, during employment o r after employment o f that person, and whether the Insured may be
 held liable as an employer o r in any other capacity, and t o any obligations t o share damages with o r t o
 repay someone else w h o must pay damages.


                 This endorsement does not change any other provision o f the policy.




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                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                          EXCLUSION - RECORDING AND DISTRIBUTION OF MATERIAL OR
                          INFORMATION IN VIOLATION OF STATUTES OR COMMON LAW


        This endorsement modifies insurance provided under the following:

              EXCESS LIABILITY COVERAGE FORM


        The following exclusion is added t o IV. EXCLUSIONS:

        Recording And Distribution Of Material Or Information In Violation Of Statutes Or Common Law

        Any "loss" arising, directly o r indirectly, out o f any action o r omission that violates o r is alleged t o violate:

          1. The Telephone Consumer Protection Act (TCPA), including any amendment o f o r addition t o such
             law;

         2.   The CAN-SPAM Act o f 2 0 0 3 , including any amendment o f o r addition t o such law;

         3.   The Fair Credit Reporting Act (FCRA), and any amendment o f o r addition t o such law, including the
              Fair and Accurate Credit Transactions Act (FACTA); o r

         4.   Any federal, state o r local statute, ordinance o r regulation, other than the TCPA, CAN-SPAM Act o f
              2 0 0 3 o r FCRA and their amendments and additions, that addresses, prohibits, o r limits the printing,
              dissemination, disposal, collecting, recording, sending, transmitting, communicating o r distribution o f
              material o r information.

        In addition, t o the extent the actions o r omissions which are alleged t o violate the statutes, ordinances o r
        regulations described above are also alleged t o give rise t o common law o r t o r t claims, this insurance
        does not apply t o "bodily injury," "property damage," "personal injury," o r "advertising injury" arising,
        directly o r indirectly, out o f any such action o r omission.



                          This endorsement does not change any other provision o f the policy.




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COMMERCIAL INSURANCE
                                                                                                                   ZURICH
                                                                                                  COMMON POLICY DECLARATIONS
Policy Number         GLO 8196250-19                                     Renewal of Number         GLO 8196250-18
Named Insured and Mailing Address                                    Producer and Mailing Address
R J SCHINNER CO., INC.                                               ALTERNATIVE RISK RESOURCES,                               LLC
(SEE NAMED INSURED ENDT)                                             394 WILLIAMSTOWNE STE 101
N89 WI4700 PATRITA DR                                                DELAFIELD WI 53018-2322
MENOMONEE FALLS WI 53051
                                                Producer Code       92757-000
Policy Period: Coverage begins 03-01-2021 at 12:01 A. M.; Coverage ends 03-01-2022 at 12:01 A. M.
The name insured is      Individual       Partnership         X Corporation
                               Other:
This insurance is provided by one or more of the stock insurance companies which are members of the Zurich-American Insurance Group. The company that
provides coverage is designated on each Coverage Part Common Declarations. The company or companies providing this insurance may be referred to in
this policy as "The Company", we, us, or our. The address of the companies of the Zurich-American Insurance Group are provided on the next page.
  THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE(S):
GENERAL LIABILITY COVERAGE                                                                                 PREMIUM         I
 issued by ZURICH AMERICAN INSURANCE COMPANY




 THIS PREMIUM MAY BE SUBJECT TO AUDIT.                                              TOTAL              $
 This premium does not include Taxes and Surcharges.
                                                                                               SEE INSTALLMENT SCHEDULE
 Taxes and Surcharges                                                               TOTAL              $

 The Form(s) and Endorsement(s) made a part of this policy at the time of issue are listed on the SCHEDULE of
 FORMS and ENDORSEMENTS.
 Countersigned this                  day of
                                                                                               Authorized Representative

THESE DECLARATIONS TOGETHER WITH THE COMMON POLICY CONDITIONS, COVERAGE PART DECLARATIONS, CO\                                   EXHIBIT
        FORMS AND ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBEF




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Revised Definition of Spouse
Endorsement

             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Policyholder       R J SCHINNER CO., INC.

Policy No.         GLO 8196250-19
Effective Date:    03/01/2021

It is hereby understood and agreed that the following changes are made and incorporated into the
Policy/Certificate:

    PURPOSE: California law provides that registered domestic partners have the same rights,
    protections, and benefits, and are subject to the same responsibilities, obligations, and duties under
    law, whether they derive from statutes, administrative regulations, court rules, government policies,
    common law, or any other provisions or sources of law, as are granted to and imposed upon
    spouses. Existing law requires, where necessary to implement the rights of registered domestic
    partners, gender-specific terms referring to spouses to be construed to include domestic partners.

    DEFINITIONS, TERMS, CONDITIONS AND PROVISIONS:
    The definitions, terms, conditions or any other provisions of the policy, contract, certificate and/or
    riders and endorsements to which this mandatory endorsement is attached are hereby amended and
    superseded as follows:

    Spouse includes a Registered Domestic Partner.


                                 F
Except for the above, this endorsement      does not vary, alter, waive, or extend any of the terms of the
Policy/Certificate to which it isOattached.
                        R
Endorsement No. [ 0 ] M
                        A
Insurance Company ZURICHT AMERICAN INSURANCE COMPANY

                              I
                                                                          Date:
                              S
                           Countersigned by
                              A

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Insured Name: R J SCHINNER CO., INC.
Policy Number: GLO 8196250-19
Effective Date: 03/01/2021




            THIS DISCLOSURE IS ATTACHED TO AND MADE PART OF YOUR POLICY.

             DISCLOSURE OF IMPORTANT INFORMATION
           RELATING TO TERRORISM RISK INSURANCE ACT
                                                              SCHEDULE*

 Premium attributable to risk of loss from certified acts of terrorism for lines of insurance subject to TRIA:

 General Liability                                                      $0




*Any information required to complete this Schedule, if not shown above, will be shown in the Declarations.
A. Disclosure of Premium
    In accordance with the federal Terrorism Risk Insurance Act (“TRIA”), as amended, we are required to provide you with
    a notice disclosing the portion of your premium, if any, attributable to the risk of loss from terrorist acts certified under
    that Act for lines subject to TRIA. That portion of premium attributable is shown in the Schedule above. The premium
    shown in the Schedule above is subject to adjustment upon premium audit, if applicable.
B. Disclosure of Federal Participation in Payment of Terrorism Losses
    You should know that where coverage is provided by this policy for losses resulting from certified acts of terrorism, the
    United States Government may pay up to 80% of insured losses exceeding the statutorily established deductible paid
    by the insurance company providing the coverage.
C. Disclosure of $100 Billion Cap on All Insurer and Federal Obligations
    If aggregate insured losses attributable to terrorist acts certified under TRIA exceed $100 billion in a calendar year
    (January 1 through December 31) and an insurer has met its deductible under the program, that insurer shall not be
    liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured
    losses up to that amount are subject to pro rata allocation in accordance with procedures established by the Secretary
    of Treasury.
D. Availability
    As required by TRIA, we have made available to you for lines subject to TRIA coverage for losses resulting from acts
    of terrorism certified under TRIA with terms, amounts and limitations that do not differ materially from those for losses
    arising from events other than acts of terrorism.
E. Definition of Act of Terrorism under TRIA
    TRIA defines "act of terrorism" as any act that is certified by the Secretary of the Treasury, in accordance with the
    provisions of the federal Terrorism Risk Insurance Act (“TRIA”), to be an act of terrorism. The Terrorism Risk Insurance
    Act provides that the Secretary of Treasury shall certify an act of terrorism:
    1. To be an act of terrorism;
    2. To be a violent act or an act that is dangerous to human life, property or infrastructure;
    3. To have resulted in damage within the United States, or outside of the United States in the case of an air carrier (as
       defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based principally
       in the United States, on which United States income tax is paid and whose insurance coverage is subject to
       regulation in the United States), or the premises of a United States mission; and
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4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
   United States or to influence the policy or affect the conduct of the United States Government by coercion.
No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by Congress
(except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance subject to TRIA,
do not exceed $5,000,000.




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CAP ON LOSSES FROM CERTIFIED ACTS OF
TERRORISM
 Insureds Name                                                         Policy Number                    Effective    Endorsement
                                                                                                        Date         Number
 R J SCHINNER CO., INC.                                                GLO 8196250-19                   03/01/2021



                 THIS ENDORSEMENT CHANGES YOUR POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies your insurance:

A. Cap on Losses From Certified Terrorism Losses
    “Certified act of terrorism” means an act that is certified by the Secretary of the Treasury, in accordance with
    provisions of the federal Terrorism Risk Insurance Act (“TRIA”), to be an act of terrorism. The Terrorism Risk
    Insurance Act provides that the Secretary of Treasury shall certify an act of terrorism:
    1. To be an act of terrorism;
    2. To be a violent act or an act that is dangerous to human life, property or infrastructure;
    3. To have resulted in damage within the United States, or outside of the United States in the case of an air
       carrier (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel
       based principally in the United States, on which United States income tax is paid and whose insurance
       coverage is subject to regulation in the United States), or the premises of a United States mission; and
    4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of
       the United States or to influence the policy or affect the conduct of the United States Government by coercion.
    No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
    Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance
    subject to TRIA, do not exceed $5,000,000.
    If aggregate insured losses attributable to one or more "certified acts of terrorism" exceed $100 billion in a
    calendar year (January 1 through December 31) and we have met our insurer deductible under the Terrorism
    Risk Insurance Act, we shall not be liable for the payment of any portion of the amount of such losses that
    exceeds $100 billion, and in such case insured losses up to that amount are subject to pro rata allocation in
    accordance with procedures established by the Secretary of Treasury.
B. Application of Other Exclusions
    The terms and limitations of a terrorism exclusion or any other exclusion, or the inapplicability or omission of a
    terrorism exclusion or any other exclusion, do not serve to create coverage which would otherwise be excluded,
    limited or restricted under this policy.




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Disclosure Statement

                               It is our pleasure to present the enclosed policy to you
                                           for presentation to your customer.


                                     INSTRUCTION TO AGENT OR BROKER:

WE REQUIRE THAT YOU TRANSMIT THE ATTACHED / ENCLOSED DISCLOSURE STATEMENT TO THE CUSTOMER
                                      WITH THE POLICY.

  Once again, thank you for your interest, and we look forward to meeting your needs and those of your customers.




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Disclosure Statement

               NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


            If you want to learn more about the compensation Zurich pays agents and brokers visit:

                              http: / / www.zurichnaproducercompensation.com

                             or call the following toll-free number: (866) 903-1192.



                  This Notice is provided on behalf of Zurich American Insurance Company

                                       and its underwriting subsidiaries.




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                                                              Policy Number
                                                              GLO 8196250-19
                                SCHEDULE OF FORMS AND ENDORSEMENTS

                             Zurich American Insurance Company

Named Insured   R J SCHINNER CO., INC.                                      Effective Date: 03-01-21
                                                                              12:01 A.M., Standard Time
Agent Name      ALTERNATIVE RISK RESOURCES, LLC                             Agent No.   92757-000
COMMON POLICY FORMS AND ENDORSEMENTS
U-GU-1223-B CA               09-16      REVISED DEFINITION OF SPOUSE ENDORSEMENT
U-GU-630-E CW                01-20      DISCLOSURE OF INFO RELATING TO TRIA
U-GU-767-B CW                01-15      CAP ON LOSS FROM CERTIFIED ACTS OF TERR
U-GU-D-310-A                 01-93      COMMON POLICY DECLARATIONS
U-GU-619-A CW                10-02      SCHEDULE OF FORMS AND ENDORSEMENTS
U-GU-319-F                   01-09      IMPORTANT NOTICE - IN WITNESS CLAUSE
U-GU-621-A CW                10-02      SCHEDULE OF NAMED INSURED(S)
U-GU-406-B                   07-15      INSTALLMENT PREMIUM SCHEDULE
U-GU-1016-A CW               06-10      KNOWLEDGE BY POSITION OR DEPARTMENT
IL 00 17                     11-98      COMMON POLICY CONDITIONS
IL 00 21                     09-08      NUCLEAR ENERGY LIABILITY EXCLUSION ENDT
IL 02 34                     09-17      NORTH DAKOTA CHANGES-CANC & NONRENL
IL 02 83                     11-18      WISCONSIN CHANGES-CANC & NONRENL
U-GU-298-B CW                04-94      CANCELLATION BY US
IL 00 03                     09-08      CALCULATION OF PREMIUM
U-GU-1191-A CW               03-15      SANCTIONS EXCLUSION ENDORSEMENT
GENERAL LIABILITY FORMS AND ENDORSEMENTS
U-GL-2162-A CW               02-19      ADDL INSD-AUTOMATIC-OWNERS/LESSEES/CONTR
U-GL-1517-B CW               04-13      RECORD OR DISTRB OF MATRL OR INFO EXCL
U-GL-1521-B CW               01-19      BLANKET NOTIFICATION TO OTH CANC/NONREN
U-GL-851-B CW                06-04      EMPLOYEE BENEFITS LIAB (OCCURRENCE) COV
U-GL-917-C CW                08-04      INCIDENTAL MEDICAL MALPRACTICE COV ENDT
U-GL-923-B CW                06-04      SILICA OR SILICA MIXED DUST EXCLUSION
U-GL-D-851-B CW              09-04      EMPLOYEE BENEFITS LIAB (OCCURRENCE) COV
U-GL-D-1115-B CW             09-04      COMMERCIAL GL COVERAGE PART DECLARATIONS
CG 00 01                     04-13      COMMERCIAL GENERAL LIABILITY COV FORM
U-GL-1171-B CW               07-19      FUNGI OR BACTERIA EXCLUSION ENDORSEMENT
UGL1179ACW                   07-03      ASBESTOS EXCLUSION ENDORSEMENT
U-GL-1205-B CW               01-08      WELDING HEALTH HAZARD EXCLUSION
U-GL-1345-B CW               04-13      GL SUPPLEMENTAL COVERAGE ENDORSEMENT
U-GL-1178ACW                 07-03      ASBESTOS EXCLUSION ENDORSEMENT
U-GL-872-B CW                04-09      PREMIUM & REPORTS AGREEMENT-COMP RATED
CG 01 24                     01-93      WI CHANGES-AMENDMENT OF POL CONDITIONS
CG 02 20                     03-12      FL CHANGES - CANCELLATION & NONRENEWAL
U-GL-852-A CW                07-96      EMPL BENEFITS LIAB (OCCURRENCE) DED ENDT
CG 21 08                     05-14      EXCL-ACC/DISCL OF CONFI OR PERSONAL INFO
CG 21 47                     12-07      EMPLOYMENT-RELATED PRACTICES EXCLUSION
CG 21 55                     09-99      TOTAL POLLUTION EXCL. WITH HOSTILE FIRE
CG 21 65                     12-04      TOTAL POLLUTION EXCL-WITH EXCEPTIONS
CG 25 03                     05-09      DESIGNATED CONSTRUCTION PROJECTS GENERAL




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 Important Notice – In Witness Clause

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this policy.
IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has
caused this policy to be countersigned by its duly Authorized Representative(s).




                            President                                                Corporate Secretary




QUESTIONS ABOUT YOUR INSURANCE? Your agent or broker is best equipped to provide information about your
insurance. Should you require additional information or assistance in resolving a complaint, call or write to the following
(please have your policy or claim number ready):
                                                 Zurich in North America
                                                Customer Inquiry Center
                                                    1299 Zurich Way
                                           Schaumburg, Illinois 60196-1056
                                   1-800-382-2150 (Business Hours: 8am - 4pm [CT])
                                           Email: info.source@zurichna.com




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                                                                 Policy Number
                                                                 GLO 8196250-19
                                  SCHEDULE OF NAMED INSURED(S)

               ZURICH AMERICAN INSURANCE COMPANY

 Named Insured     R J SCHINNER CO., INC.                        Effective Date:      03-01-21
                                                                          12:01 A.M., Standard Time
 Agent Name        ALTERNATIVE RISK RESOURCES, LLC               Agent No.        92757-000
                                   NAMED INSURED
R J SCHINNER CO., INC.
SCHINNER FAMILY PROPERTY LLC
SCHINNER BROTHERS PROPERTY LLC




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                                                                                INSTALLMENT PREMIUM SCHEDULE
 The total premium shown in the Declarations of this policy is made payable in installments, on the dates and in the amounts
 shown below.
 NAMED INSURED                                               POLICY NUMBER                      ENDORSEMENT NUMBER
 R J SCHINNER CO., INC.                                      GLO 8196250-19


 PAYMENT            STANDARD                 TOTAL
 DUE                PREMIUM                  PREMIUM




Failure to pay the installment Premium by the Due Date shown shall constitute non-payment of premium for which we
may cancel this policy.


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Knowledge by Position or Department




       Policy No.      Eff. Date of Pol.    Exp. Date of Pol.      Eff. Date of End.       Producer No.          Add’l. Prem         Return Prem.
    GLO 8196250-19       03/01/2021           03/01/2022                                    92757000                INCL

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Business Auto Coverage Part
Commercial General Liability Coverage Part
Liquor Liability Coverage Part
Products/Completed Operations Liability Coverage Part
Railroad Protective Liability Coverage Part
                                                                 SCHEDULE
                                                            ANY PERSON IN THE RISK
                       Position or Department:              MANAGEMENT DEPARTMENT,

                                                            THE LAW DEPARTMENT OR ANY
                                                            EXECUTIVE THAT IS RESPONSIBLE
                                                            FOR RECEIVING
                                                            OR ACTING UPON SAID
                                                            INFORMATION.




The following Condition is added:
Knowledge By Your Employee
1. Knowledge of an "accident", "occurrence", offense, "injury", claim, "suit" or loss by your employee will not in and of
   itself be considered your knowledge of the "accident", "occurrence", offense, "injury", claim, "suit" or loss unless an
   employee who:
    a. Holds a position; or
    b. Is a member of a department;
    shown in the Schedule of this endorsement receives such knowledge.
2. This endorsement does not apply unless the Schedule of this endorsement indicates at least one Position or
   Department.


All other terms and conditions of this policy remain unchanged.




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                                      COMMON POLICY CONDITIONS

All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                                  b.   Give you reports on the conditions we find;
   1. The first Named Insured shown in the Declara-                                   and
      tions may cancel this policy by mailing or de-                             c. Recommend changes.
      livering to us advance written notice of cancel-                      2.   We are not obligated to make any inspections,
      lation.                                                                    surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or deliv-                             such actions we do undertake relate only to in-
      ering to the first Named Insured written notice                            surability and the premiums to be charged. We
      of cancellation at least:                                                  do not make safety inspections. We do not un-
      a. 10 days before the effective date of cancel-                            dertake to perform the duty of any person or
           lation if we cancel for nonpayment of pre-                            organization to provide for the health or safety
           mium; or                                                              of workers or the public. And we do not war-
                                                                                 rant that conditions:
      b. 30 days before the effective date of cancel-
           lation if we cancel for any other reason.                             a. Are safe or healthful; or
                                                                                 b. Comply with laws, regulations, codes or
    3.We will mail or deliver our notice to the first
                                                                                     standards.
      Named Insured’s last mailing address known to
      us.                                                                   3. Paragraphs 1. and 2. of this condition apply not
   4. Notice of cancellation will state the effective                          only to us, but also to any rating, advisory, rate
      date of cancellation. The policy period will end                        service or similar organization which makes in-
      on that date.                                                           surance inspections, surveys, reports or recom-
                                                                               mendations.
   5. If this policy is cancelled, we will send the first
      Named Insured any premium refund due. If we                          4. Paragraph 2. of this condition does not apply to
      cancel, the refund will be pro rata. If the first                        any inspections, surveys, reports or recommen-
      Named Insured cancels, the refund may be less                            dations we may make relative to certification,
      than pro rata. The cancellation will be effective                        under state or municipal statutes, ordinances or
      even if we have not made or offered a refund.                            regulations, of boilers, pressure vessels or ele-
                                                                              vators.
   6. If notice is mailed, proof of mailing will be suf-
      ficient proof of notice.                                          E. Premiums
B. Changes                                                                 The first Named Insured shown in the Declarations:
                                                                           1. Is responsible for the payment of all premiums;
   This policy contains all the agreements between
                                                                               and
   you and us concerning the insurance afforded. The
   first Named Insured shown in the Declarations is                         2. Will be the payee for any return premiums we
   authorized to make changes in the terms of this                             pay.
   policy with our consent. This policy’s terms can be                 F. Transfer Of Your Rights And Duties Under This
   amended or waived only by endorsement issued by                        Policy
   us and made a part of this policy.
                                                                          Your rights and duties under this policy may not be
C. Examination Of Your Books And Records                                  transferred without our written consent except in
   We may examine and audit your books and records                        the case of death of an individual named insured.
   as they relate to this policy at any time during the                   If you die, your rights and duties will be transferred
   policy period and up to three years afterward.                         to your legal representative but only while acting
D. Inspections And Surveys                                                within the scope of duties as your legal representa-
   1. We have the right to:                                               tive. Until your legal representative is appointed,
                                                                          anyone having proper temporary custody of your
        a. Make inspections and surveys at any time;                      property will have your rights and duties but only
                                                                          with respect to that property.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                    (Broad Form)


This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


1. The insurance does not apply:                                C. Under any Liability Coverage, to "bodily injury"
   A. Under any Liability Coverage, to "bodily injury"             or "property damage" resulting from "hazardous
      or "property damage":                                        properties" of "nuclear material", if:

     (1) With respect to which an "insured" under                  (1) The "nuclear material" (a) is at any "nuclear
          the policy is also an insured under a nu-                    facility" owned by, or operated by or on be-
          clear energy liability policy issued by Nu-                  half of, an "insured" or (b) has been dis-
          clear Energy Liability Insurance Association,                charged or dispersed therefrom;
          Mutual Atomic Energy Liability Underwrit-                (2) The "nuclear material" is contained in "spent
          ers, Nuclear Insurance Association of Can-                   fuel" or "waste" at any time possessed, han-
          ada or any of their successors, or would be                  dled, used, processed, stored, transported
          an insured under any such policy but for its                 or disposed of, by or on behalf of an "in-
          termination upon exhaustion of its limit of li-              sured"; or
          ability; or                                              (3) The "bodily injury" or "property damage"
     (2) Resulting from the "hazardous properties"                     arises out of the furnishing by an "insured"
          of "nuclear material" and with respect to                    of services, materials, parts or equipment in
          which (a) any person or organization is re-                  connection with the planning, construction,
          quired to maintain financial protection pur-                 maintenance, operation or use of any "nu-
          suant to the Atomic Energy Act of 1954, or                   clear facility", but if such facility is located
          any law amendatory thereof, or (b) the "in-                  within the United States of America, its terri-
          sured" is, or had this policy not been issued                tories or possessions or Canada, this ex-
          would be, entitled to indemnity from the                     clusion (3) applies only to "property dam-
          United States of America, or any agency                      age" to such "nuclear facility" and any
          thereof, under any agreement entered into                    property thereat.
          by the United States of America, or any            2. As used in this endorsement:
          agency thereof, with any person or organi-
          zation.                                               "Hazardous properties" includes radioactive, toxic
                                                                or explosive properties.
   B. Under any Medical Payments coverage, to
      expenses incurred with respect to "bodily in-             "Nuclear material" means "source material", "special
      jury" resulting from the "hazardous properties"           nuclear material" or "by-product material".
      of "nuclear material" and arising out of the op-
      eration of a "nuclear facility" by any person or
      organization.



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   "Source material", "special nuclear material", and            (c) Any equipment or device used for the proc-
   "by-product material" have the meanings given                     essing, fabricating or alloying of "special
   them in the Atomic Energy Act of 1954 or in any                   nuclear material" if at any time the total
   law amendatory thereof.                                           amount of such material in the custody of
   "Spent fuel" means any fuel element or fuel com-                  the "insured" at the premises where such
   ponent, solid or liquid, which has been used or                   equipment or device is located consists of
   exposed to radiation in a "nuclear reactor".                      or contains more than 25 grams of pluto-
                                                                     nium or uranium 233 or any combination
   "Waste" means any waste material (a) containing                   thereof, or more than 250 grams of uranium
   "by-product material" other than the tailings or                  235;
   wastes produced by the extraction or concentra-
                                                                 (d) Any structure, basin, excavation, premises
   tion of uranium or thorium from any ore processed
                                                                     or place prepared or used for the storage or
   primarily for its "source material" content, and (b)
   resulting from the operation by any person or or-                 disposal of "waste";
   ganization of any "nuclear facility" included under        and includes the site on which any of the forego-
   the first two paragraphs of the definition of "nu-         ing is located, all operations conducted on such
   clear facility".                                           site and all premises used for such operations.
   "Nuclear facility" means:                                  "Nuclear reactor" means any apparatus designed
      (a) Any "nuclear reactor";                              or used to sustain nuclear fission in a self-
                                                              supporting chain reaction or to contain a critical
      (b) Any equipment or device designed or used            mass of fissionable material.
           for (1) separating the isotopes of uranium
           or plutonium, (2) processing or utilizing          "Property damage" includes all forms of radioactive
           "spent fuel", or (3) handling, processing or       contamination of property.
           packaging "waste";




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           NORTH DAKOTA CHANGES – CANCELLATION
                    AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


A. Paragraphs 2. and 3. of the Cancellation                          (3) The "insured's" actions that have
   Common Policy Condition are replaced by                               substantially increased or substantially
   Paragraphs 2. and 3. below, except to the extent                      changed the risk insured;
   that Item B. of this endorsement applies.                         (4) The "insured's" refusal to eliminate
   2. Policies In Effect:                                                known conditions that increase the
      a. For Less Than 90 Days                                           potential for loss, after our notification
                                                                         that the condition must be removed;
         If this policy has been in effect for less than
         90 days, we may cancel the policy for any                   (5) Substantial change in the risk assumed,
         reason by mailing to the first Named                            except to the extent that we should
         Insured, and agent, if any, written notice of                   reasonably have foreseen the change or
         cancellation at least:                                          contemplated the risk in writing the
                                                                         contract;
         (1) 10 days before the effective date of
             cancellation; or                                        (6) Loss of reinsurance which provided us
                                                                         with coverage for a significant amount of
         (2) Five days before the effective date of                      the underlying risk insured;
             cancellation for any condition stated in
             Paragraph B. of this endorsement.                       (7) A determination by the insurance
                                                                         commissioner that the continuation of
      b. For 90 Days Or More Or Policies With                            the policy could place us in violation of
         Terms Longer Than One Year Or                                   North Dakota insurance laws;
         Continuous Policies
                                                                     (8) Nonpayment of dues to an association
          If this policy has been in effect for 90 days                  or organization, other than an insurance
          or more, is a renewal of a policy we issued,                   association or organization, where
          is a policy issued for a term longer than one                  payment of dues is a prerequisite to
          year or is a continuous policy, we may                         obtaining or continuing such insurance.
          cancel the policy only for one or more of the                  Cancellation for this reason does not
          following reasons:                                             apply to persons who are retired at 62
         (1) Nonpayment of premiums;                                     years of age or older or to any person
         (2) Misrepresentation or fraud made by the                      who is disabled according to social
              "insured" or with the "insured's"                          security standards;
              knowledge in obtaining the policy or in
              pursuing a claim under the policy;



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        (9) A violation of any local fire, health,             5. Buildings that are in danger of collapse
            safety,    building   or    construction              because of serious structural conditions or
            regulation or ordinance with respect to               those buildings subject to extremely hazardous
            Covered Property or the occupancy                     conditions not contemplated in filed rating
            thereof which substantially increases                 plans such as those buildings that are in a
            any hazard insured against; or                        state of disrepair as to be dilapidated.
       (10) Certain conditions exist, as stated in             6. Buildings on which, because of their physical
            Paragraph B. of this endorsement.                     condition, there is an outstanding order to
      We will mail written notice of cancellation to the          vacate or an outstanding demolition order, or
      first Named Insured, and agent, if any, at least:           which have been declared unsafe in
                                                                  accordance with applicable law.
         (a) Five days before the effective date of
             cancellation for any condition stated in          7. Buildings from which fixed and salvageable
             Paragraph B. of this endorsement;                    items have been or are being removed and the
                                                                  "insured" can give no reasonable explanation
         (b) 10 days before the effective date of                 for the removal.
             cancellation for   nonpayment     of
             premium; or                                       8. Buildings on which there is reasonable
                                                                  knowledge and belief that the property is
         (c) 30 days before the effective date of                 endangered and is not reasonably protected
             cancellation for any reason stated in                from possible arson for the purpose of
             Paragraphs 2.b.(2) through (9) above.                defrauding an insurer.
      However, for policies with terms longer than             9. Buildings with any of the following conditions:
      one year or continuous policies, notice of
      cancellation will be mailed at least 30 days                a. Failure to furnish heat, water, sewer
      prior to any anniversary date for any reason                   service, or public lighting for 30 consecutive
      stated in Paragraphs 2.b.(1) through (9) above.                days or more.
      If we cancel for a reason listed in Paragraphs              b. Failure to correct conditions dangerous to
      2.b.(1) through (9) above, the notice of                       life, health, or safety.
      cancellation will state our reasons for                     c. Failure to maintain the building             in
      cancellation.                                                  accordance with applicable law.
   3. We will mail our notice, by first-class mail, to            d. Failure to pay property taxes for more than
      the first Named Insured and agent, if any, at                  one year.
      the last mailing address known to us.                   10. Buildings that have characteristics of
B. We may also cancel the policy if one or more of                ownership      condition, occupancy,    or
   the following conditions exist:                                maintenance, which are violative of law or
   1. Buildings with at least 65% of the rental units in          public policy.
      the building unoccupied.                              C. The following is added and supersedes any
   2. Buildings that have been damaged by a                    provision to the contrary:
      covered cause of loss and the "insured" has              NONRENEWAL
      stated or such time has elapsed as clearly               1. If we elect not to renew this policy, we will mail
      indicates that the damage will not be repaired.             to the last known address of the first Named
   3. Buildings to which, following a fire, permanent             Insured shown in the Declarations, and agent,
      repairs have not commenced within 60 days                   if any, a notice of intention not to renew at
      following satisfactory adjustment of loss.                  least:
   4. Buildings that have been unoccupied 60 or                   a. 60 days prior to the expiration date of the
      more consecutive days, except buildings that                   policy, except as provided in Paragraph b.;
      have a seasonal occupancy, and buildings                       or
      actually in the course of construction or repair            b. 90 days prior to the expiration date of the
      and reconstruction which are properly secured                  policy when the policy provides professional
      against unauthorized entry.                                    liability coverage for legal and medical
                                                                     services.




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      The notice of nonrenewal will state our reason             b. Accepted replacement coverage; or
      for nonrenewal.                                            c. Requested or agreed to nonrenewal.
   2. We will mail our notice, by first-class mail, to           This Paragraph 3. does not apply to the
      the first Named Insured and agent, if any, at              Commercial      Automobile,     Farm  and
      the last mailing address known to us.                      Commercial Property Coverage Parts when
   3. We need not mail or deliver this notice if you             you accept replacement coverage providing
      have:                                                      equal or more extensive coverage.
      a. Insured elsewhere;




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 WISCONSIN CHANGES – CANCELLATION
                         AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   FARM UMBRELLA LIABILITY POLICY
   LIQUOR LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


A. Paragraph 2. of the Cancellation Common Policy                 d. Nonpayment of premium.
   Condition is replaced by the following:                        If this policy has been in effect for 60 days or
   2. We may cancel this policy by mailing or                     more or is a renewal of a policy we issued, the
      delivering to the first Named Insured written               notice of cancellation will state the reason for
      notice of cancellation at least 10 days before the          cancellation.
      effective date of cancellation.                       B. The following is added to the Cancellation
      If this policy has been in effect for less than 60       Common Policy Condition:
      days and is not a renewal policy, we may cancel          7. Anniversary Cancellation
      for any reason.
                                                                  If this policy is written for a term of more than
      If this policy has been in effect for 60 days or            one year or has no fixed expiration date, we may
      more or is a renewal of a policy we issued,                 cancel this policy for any reason by mailing or
      except as provided in Paragraph 7. below, we                delivering to the first Named Insured written
      may cancel this policy only for one or more of              notice of cancellation at least 60 days before the
      the following reasons:                                      anniversary date of the policy. Such cancellation
      a. The policy was obtained by material                      will be effective on the policy's anniversary date.
         misrepresentation;                                       We may cancel this policy because of the
      b. There has been a substantial change in the               termination of an insurance marketing
         risk we originally assumed, except to the                intermediary's contract with us only if the notice
         extent that we should have foreseen the                  of cancellation contains an offer to continue the
         change or considered the risk in writing the             policy with us if we receive a written request
         policy;                                                  from the first Named Insured prior to the date of
      c. There have been substantial breaches of                  cancellation.
         contractual duties, conditions or warranties;
         or




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C. The following applies to the:                                      We need not mail or deliver the notice if:
   Capital Assets Program (Output Policy) Coverage                    (1) You have insured elsewhere;
   Part
                                                                      (2) You have accepted replacement
   Commercial Inland Marine Coverage Part                                 coverage;
   Commercial Property Coverage Part
                                                                      (3) You have requested or agreed to
   Crime And Fidelity Coverage Part                                       nonrenewal of this policy;
   Equipment Breakdown Coverage Part
                                                                      (4) This policy is renewed in an affiliate in
   Farm Coverage Part                                                     compliance with WIS. STAT. § 631.39; or
   1. We may rescind this policy because of the                       (5) This policy is expressly designated as
      following:                                                          nonrenewable.
      a. Misrepresentation made by you or on your                 b. We may refuse to renew this policy because
         behalf in the negotiation for or procurement                of the termination of an insurance marketing
         of this Coverage Part, if the person knew or                intermediary's contract with us only if the
         should have known that the representation                   notice of nonrenewal contains an offer to
         was false;                                                  renew the policy with us if we receive a
      b. Breach of affirmative warranty made by you                  written request from the first Named Insured
         or on your behalf in the negotiation for or                 prior to the renewal date.
         procurement of this Coverage Part;                       c. If you fail to pay the renewal or continuation
      c. Failure of a condition before a loss if such                premium by the premium due date, this
         failure exists at the time of loss; or                      policy will terminate on the policy expiration
      d. Breach of a promissory warranty if such                     or anniversary date, if we have:
         breach exists at the time of loss.                          (1) Given you written notice of the renewal or
   2. We may not rescind this policy:                                    continuation premium not more than 75
                                                                         days nor less than 10 days prior to the
      a. For the reasons in Paragraphs C.1.a. and                        due date of the premium; and
         C.1.b. unless:
                                                                     (2) Stated clearly in the notice the effect of
         (1) We rely on the misrepresentation or                         nonpayment of premium by the due date.
             affirmative     warranty      and     the
             misrepresentation or affirmative warranty         2. Anniversary Alteration
             is either material or made with intent to            If this policy is written for a term of more than
             deceive; or                                          one year or has no fixed expiration date, we may
         (2) The facts misrepresented or falsely                  alter the terms or premiums of this policy by
             warranted contribute to the loss.                    mailing or delivering written notice of less
                                                                  favorable terms or premiums to the first Named
      b. For the reasons in Paragraphs C.1.c. and                 Insured's last mailing address known to us. We
         C.1.d. unless such failure or breach:                    will mail, by first class mail, or deliver this notice
         (1) Increases the risk at the time of loss; or           at least 60 days prior to the anniversary date.
         (2) Contributes to the loss.                             If we notify the first Named Insured within 60
                                                                  days prior to the anniversary date, the new
   3. If we elect to rescind this policy, we will notify
                                                                  terms or premiums will not take effect until 60
      the first Named Insured of our intention within
                                                                  days after the notice was mailed or delivered.
      60 days after acquiring knowledge of sufficient
                                                                  The notice will include a statement of the first
      facts to constitute grounds for rescission.
                                                                  Named Insured's right to cancel. The first
D. The following are added and supersede any other                Named Insured may elect to cancel the policy at
   provisions to the contrary:                                    any time during the 60-day period, in
   1. Nonrenewal                                                  accordance with Paragraph 1. of the
                                                                  Cancellation Common Policy Condition. If the
      a. If we elect not to renew this policy we will
                                                                  first Named Insured elects to cancel the policy
         mail or deliver written notice of nonrenewal
                                                                  during the 60-day period, return premiums or
         to the first Named Insured's last mailing
                                                                  additional premium charges will be calculated
         address known to us. We may elect not to
                                                                  proportionately on the basis of the old
         renew for any reason; the notice will state
                                                                  premiums.
         the reason for nonrenewal. We will mail or
         deliver the notice at least 60 days before the
         expiration date of this policy.




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  3. Renewal With Altered Terms                                   We need not mail or deliver this notice if the only
     If we elect to renew this policy but on less                 change adverse to you is a premium increase
     favorable terms or at higher premiums, we will               that:
     mail or deliver written notice of the new terms or           a. Is less than 25% and is generally applicable
     premiums to the first Named Insured's last                      to the class of business to which this policy
     mailing address known to us. We will mail, by                   belongs; or
     first class mail, or deliver this notice at least 60         b. Results from a change based on your action
     days prior to the renewal date.                                 that alters the nature or extent of the risk
     If we notify the first Named Insured within 60                  insured against, including but not limited to a
     days prior to the renewal date, the new terms or                change in the classification or the units of
     premiums will not take effect until 60 days after               exposure, or increased policy coverage.
     the notice was mailed or delivered. The notice         E. Special Provision – Cancellation And
     will include a statement of the first Named               Nonrenewal
     Insured's right to cancel. The first Named
     Insured may elect to cancel the renewal policy            With respect to insurance provided under the
     at any time during the 60-day period, in                  Commercial Automobile Coverage Part, we will not
     accordance with Paragraph 1. of the                       cancel or refuse to renew Liability Coverage wholly
     Cancellation Common Policy Condition. If the              or partially because of age, sex, residence, race,
     first Named Insured elects to cancel the renewal          color, creed, religion, national origin, ancestry,
     policy during the 60-day period, return                   marital status or occupation of anyone who is an
     premiums or additional premium charges will be            insured.
     calculated proportionately on the basis of the old
     premiums.




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AB




COMMERCIAL INSURANCE
                                                                                                      CANCELLATION BY US

                                  This endorsement changes the policy. Please read it carefully.
This endorsement modifies insurance provided by the following:
BOILER AND MACHINERY COVERAGE FORM
BUSINESS AUTO COVERAGE FORM
COMM ERCIAL CRIM E COVERAGE FORM
COMM ERCIAL GENERAL LIABILITY COVERAGE FORM
COMM ERCIAL INLAND MARINE COVERAGE FORM
COMM ERCIAL PROPERTY COVERAGE FORM
FARM COVERAGE FORM
GARAGE COVERAGE FORM
LIQUOR LIABILITY COVERAGE FORM
MOTOR CARRIER COVERAGE FORM
POLLUTION LIABILITY COVERAGE FORM
PRODUCTS/ COMPLET E D OPERATIONS LIABILITY COVERAGE FORM
TRUCKERS COVERAGE FORM
                                                          SCHEDULE

Number of Days’ Notice: 60

(If no entry appears above, information required to complete this Schedule will be shown in the Declarations as applicable to
this endorsement.)

For any statutorily permitted reason other than nonpayment of premium, the number of days required for notice of cancellation,
as provided in paragraph 2, of either the CANCELLATION Common Policy Condition or as amended by an applicable state
cancellation endorsement, is increased to the number of days shown in the Schedule above.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           CALCULATION OF PREMIUM
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART


The following is added:
The premium shown in the Declarations was com-
puted based on rates in effect at the time the policy
was issued. On each renewal, continuation, or anni-
versary of the effective date of this policy, we will
compute the premium in accordance with our rates
and rules then in effect.




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SANCTIONS EXCLUSION
ENDORSEMENT




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

The following exclusion is added to the policy to which it is attached and supersedes any existing sanctions
language in the policy, whether included in an Exclusion Section or otherwise:
SANCTIONS EXCLUSION
Notwithstanding any other terms under this policy, we shall not provide coverage nor will we make any
payments or provide any service or benefit to any insured, beneficiary, or third party who may have any rights
under this policy to the extent that such cover, payment, service, benefit, or any business or activity of the
insured would violate any applicable trade or economic sanctions law or regulation.

The term policy may be comprised of common policy terms and conditions, the declarations, notices, schedule,
coverage parts, insuring agreement, application, enrollment form, and endorsements or riders, if any, for each
coverage provided. Policy may also be referred to as contract or agreement.

We may be referred to as insurer, underwriter, we, us, and our, or as otherwise defined in the policy, and shall
mean the company providing the coverage.

Insured may be referred to as policyholder, named insured, covered person, additional insured or claimant, or
as otherwise defined in the policy, and shall mean the party, person or entity having defined rights under the
policy.

These definitions may be found in various parts of the policy and any applicable riders or endorsements.

ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED




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                  NOTICE OF RIGHT TO FILE A COMPLAINT

              KEEP THIS NOTICE WITH YOUR INSURANCE PAPERS
PROBLEMS WITH YOUR INSURANCE?—If you are having problems with your insurance
company or agent, do not hesitate to contact the insurance company or agent to resolve your
problem.

                      ZURICH AMERICAN INSURANCE COMPANY
                              Customer Inquiry Center
                                  1299 Zurich Way
                             Schaumburg, IL 60196-1056
                                Phone: 800-382-2150
                                 Fax: 847-413-5187

You can also contact the OFFICE OF THE COMMISSIONER OF INSURANCE, a state agency
which enforces Wisconsin’s insurance laws, and file a complaint. You can contact the OFFICE
OF THE COMMISSIONER OF INSURANCE by writing to:

Office of the Commissioner of Insurance
Complaints Department
P.O. Box 7873
Madison, WI 53707-7873

Or you can call 1-800-236-8517 outside of Madison or 608-266-0103 in Madison, and request a
complaint form.




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Important Notice to Florida Policyholders



In the event you need to contact someone about this policy, for any reason, please contact your agent.
If you have additional questions, you may contact the Zurich U.S. office at the following address and
telephone number:

                                              Customer Inquiry Center
                                              Zurich North America
                                              1299 Zurich Way
                                              Schaumburg, IL 60196
                                              800-382-2150


If you have been unable to contact or obtain satisfaction from your agent or company, you may contact the Florida Office
of Insurance Regulation at:

                                              Office of Insurance Regulation
                                              200 East Gaines Street
                                              Tallahassee, Florida 32399
                                              850-413-3140


ATTACH THIS NOTICE TO YOUR POLICY:
This notice is for information only and does not become a part or condition of the attached document.




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Important Notice
Texas Safety Consultation Services
Zurich in North America has loss control services available at no additional charge.

If you would like additional information regarding these services, please contact us at
the address, or phone listed below.

Zurich Services Corporation
Risk Engineering
1299 Zurich Way
Schaumburg, Illinois 60196-1056
1-800-982-5964

By email: risk.engineering@zurichna.com




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 Additional
     T
     i      Insured – Automatic – Owners, Lessees Or
     t
 Contractors
     l
          e

          o
          f         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Policy No.f GLO 8196250-19                                         Effective Date: 03/01/2021
          o
          r
          m

This endorsement
         m       modifies insurance provided under the:
          u
    Commercial
       s       General Liability Coverage Part
          t
A. Section
         n II – Who Is An Insured is amended to include as an additional insured any person or organization whom you
   are required
         o      to add as an additional insured under a written contract or written agreement executed by you, but only
         t
   with respect  to liability for "bodily injury", "property damage" or "personal and advertising injury" and subject to the
   following:
            b
    1.   If esuch written contract or written agreement specifically requires that you provide that the person or organization
         bep named as an additional insured under one or both of the following endorsements:
         a.la The Insurance Services Office (ISO) ISO CG 20 10 (10/01 edition); or
         b.c The ISO CG 20 37 (10/01 edition),
          e
           d person or organization is then an additional insured with respect to such endorsement(s), but only to the extent
         such
         that
           a
              "bodily injury", "property damage" or "personal and advertising injury" arises out of:
          b
              (1) Your ongoing operations, with respect to Paragraph 1.a. above; or
          o
          v   (2) "Your work", with respect to Paragraph 1.b. above,
          e
              which is the subject of the written contract or written agreement.
          t
          h
         However, solely with respect to this Paragraph 1., insurance afforded to such additional insured:
          e
                  (a) Only applies if the "bodily injury", "property damage" or "personal and advertising injury" offense occurs
          l           during the policy period and subsequent to your execution of the written contract or written agreement;
          o
          g
                      and
          o
          .
                  (b) Does not apply to "bodily injury" or "property damage" caused by "your work" and included within the
                      "products-completed operations hazard" unless the written contract or written agreement specifically
          ↑           requires that you provide such coverage to such additional insured.
    2. If Tsuch written contract or written agreement specifically requires that you provide that the person or organization
          o
       bep named as an additional insured under one or both of the following endorsements:
         a.M The Insurance Services Office (ISO) ISO CG 20 10 (07/04 edition); or
         b.a The ISO CG 20 37 (07/04 edition),
          r
           g person or organization is then an additional insured with respect to such endorsement(s), but only to the extent
         such
           i
         that
           n
              "bodily injury", "property damage" or "personal and advertising injury" is caused, in whole or in part, by:
              (1) Your acts or omissions; or
          3
          /   (2) The acts or omissions of those acting on your behalf,
          4
          "




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        in the performance of:
            (a) Your ongoing operations, with respect to Paragraph 2.a. above; or
            (b) "Your work" and included in the "products-completed operations hazard", with respect to Paragraph
                2.b. above,
            which is the subject of the written contract or written agreement.
    However, solely with respect to this Paragraph 2., insurance afforded to such additional insured:
                (i) Only applies if the "bodily injury", "property damage" or "personal and advertising injury" offense
                    occurs during the policy period and subsequent to your execution of the written contract or written
                    agreement; and
                (ii) Does not apply to "bodily injury" or "property damage" caused by "your work" and included within
                     the "products-completed operations hazard" unless the written contract or written agreement
                     specifically requires that you provide such coverage to such additional insured.
3. If neither Paragraph 1. nor Paragraph 2. above apply and such written contract or written agreement requires that
   you provide that the person or organization be named as an additional insured:
    a. Under the ISO CG 20 10 (04/13 edition, any subsequent edition or if no edition date is specified); or
    b. With respect to ongoing operations (if no form is specified),
    such person or organization is then an additional insured only to the extent that "bodily injury", "property damage"
    or "personal and advertising injury" is caused, in whole or in part by:
        (1) Your acts or omissions; or
        (2) The acts or omissions of those acting on your behalf,
        in the performance of your ongoing operations, which is the subject of the written contract or written agreement.
    However, solely with respect to this Paragraph 3., insurance afforded to such additional insured:
            (a) Only applies to the extent permitted by law;
            (b) Will not be broader than that which you are required by the written contract or written agreement to
                provide for such additional insured; and
            (c) Only applies if the "bodily injury", "property damage" or "personal and advertising injury" offense occurs
                during the policy period and subsequent to your execution of the written contract or written agreement.
4. If neither Paragraph 1. nor Paragraph 2. above apply and such written contract or written agreement requires that
   you provide that the person or organization be named as an additional insured:
    a. Under the ISO CG 20 37 (04/13 edition, any subsequent edition or if no edition date is specified); or
    b. With respect to the "products-completed operations hazard" (if no form is specified),
    such person or organization is then an additional insured only to the extent that "bodily injury" or "property damage"
    is caused, in whole or in part by "your work" and included in the "products-completed operations hazard", which is
    the subject of the written contract or written agreement.
    However, solely with respect to this Paragraph 4., insurance afforded to such additional insured:
        (1) Only applies to the extent permitted by law;
        (2) Will not be broader than that which you are required by the written contract or written agreement to provide
            for such additional insured;
        (3) Only applies if the "bodily injury" or "property damage" occurs during the policy period and subsequent to
            your execution of the written contract or written agreement; and
        (4) Does not apply to "bodily injury" or "property damage" caused by "your work" and included within the
            "products-completed operations hazard" unless the written contract or written agreement specifically
            requires that you provide such coverage to such additional insured.



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B. Solely with respect to the insurance afforded to any additional insured referenced in Section A. of this endorsement,
   the following additional exclusion applies:
    This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" arising out of
    the rendering of, or failure to render, any professional architectural, engineering or surveying services including:
    1. The preparing, approving or failing to prepare or approve maps, shop drawings, opinions, reports, surveys, field
       orders, change orders or drawings and specifications; or
    2. Supervisory, inspection, architectural or engineering activities.
    This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in the supervision,
    hiring, employment, training or monitoring of others by that insured, if the "occurrence" which caused the "bodily injury"
    or "property damage", or the offense which caused the "personal and advertising injury", involved the rendering of or
    the failure to render any professional architectural, engineering or surveying services.
C. Solely with respect to the coverage provided by this endorsement, the following is added to Paragraph 2. Duties In The
   Event Of Occurrence, Offense, Claim Or Suit of Section IV – Commercial General Liability Conditions:
        The additional insured must see to it that:
        (1) We are notified as soon as practicable of an "occurrence" or offense that may result in a claim;
        (2) We receive written notice of a claim or "suit" as soon as practicable; and
        (3) A request for defense and indemnity of the claim or "suit" will promptly be brought against any policy issued by
            another insurer under which the additional insured may be an insured in any capacity. This provision does not
            apply to insurance on which the additional insured is a Named Insured if the written contract or written
            agreement requires that this coverage be primary and non-contributory.
D. Solely with respect to the coverage provided by this endorsement:
    1. The following is added to the Other Insurance Condition of Section IV – Commercial General Liability
       Conditions:
            Primary and Noncontributory insurance
            This insurance is primary to and will not seek contribution from any other insurance available to an additional
            insured provided that:
            a. The additional insured is a Named Insured under such other insurance; and
            b. You are required by written contract or written agreement that this insurance be primary and not seek
               contribution from any other insurance available to the additional insured.
    2. The following paragraph is added to Paragraph 4.b. of the Other Insurance Condition under Section IV –
       Commercial General Liability Conditions:
            This insurance is excess over:
            Any of the other insurance, whether primary, excess, contingent or on any other basis, available to an additional
            insured, in which the additional insured on our policy is also covered as an additional insured on another policy
            providing coverage for the same "occurrence", offense, claim or "suit". This provision does not apply to any
            policy in which the additional insured is a Named Insured on such other policy and where our policy is required
            by a written contract or written agreement to provide coverage to the additional insured on a primary and non-
            contributory basis.
E. This endorsement does not apply to an additional insured which has been added to this Coverage Part by an
   endorsement showing the additional insured in a Schedule of additional insureds, and which endorsement applies
   specifically to that identified additional insured.
F. Solely with respect to the insurance afforded to an additional insured under Paragraph A.3. or Paragraph A.4. of this
   endorsement, the following is added to Section III – Limits Of Insurance:
        Additional Insured – Automatic – Owners, Lessees Or Contractors Limit
        The most we will pay on behalf of the additional insured is the amount of insurance:



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        1. Required by the written contract or written agreement referenced in Section A. of this endorsement; or
        2. Available under the applicable Limits of Insurance shown in the Declarations,
        whichever is less.
        This endorsement shall not increase the applicable Limits of Insurance shown in the Declarations.


All other terms, conditions, provisions and exclusions of this policy remain the same.




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Recording And Distribution Of Material                                                           Or
Information In Violation Of Law Exclusion

      Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.   Producer No.   Add’l. Prem         Return Prem.
   GLO 8196250-19       03/01/2021          03/01/2022                             92757000         INCL




                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part

A. Exclusion q. Recording And Distribution Of Material Or Information In Violation Of Law of Paragraph 2.
   Exclusions of Section I – Coverage A – Bodily Injury And Property Damage Liability is replaced by the following:
   2. Exclusions
       This insurance does not apply to:
       q. Recording And Distribution Of Material Or Information In Violation Of Law
           "Bodily injury" or "property damage" directly or indirectly arising out of or based upon any action or omission
           that violates or is alleged to violate:
           (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
           (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
           (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair
               and Accurate Credit Transaction Act (FACTA); or
           (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003
               or FCRA and their amendments and additions, or any other legal liability, at common law or otherwise,
               that addresses, prohibits, or limits the printing, dissemination, disposal, monitoring, collecting, recording,
               use of, sending, transmitting, communicating or distribution of material or information.
B. Exclusion p. Recording And Distribution Of Material Or Information In Violation Of Law of Paragraph 2.
   Exclusions of Section I – Coverage B – Personal And Advertising Injury Liability is replaced by the following:
   2. Exclusions
       This insurance does not apply to:
       p. Recording And Distribution Of Material Or Information In Violation Of Law
           "Personal and advertising injury" directly or indirectly arising out of or based upon any action or omission that
           violates or is alleged to violate:
           (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
           (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
           (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair
               and Accurate Credit Transaction Act (FACTA); or




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            (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003
                or FCRA and their amendments and additions, or any other legal liability, at common law or otherwise,
                that addresses, prohibits, or limits the printing, dissemination, disposal, monitoring, collecting, recording,
                use of, sending, transmitting, communicating or distribution of material or information.


All other terms and conditions of this policy remain unchanged.




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Blanket
     T
     i
        Notification to Others of Cancellation
or Non-Renewal
     t
     l
          e

          o
          f        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Policy No.f GLO 8196250-19                                       Effective Date: 03/01/2021
          o
          r
          m

This endorsement
         m       applies to insurance provided under the:
          u
    Commercial
       s       General Liability Coverage Part
          t

A. If we ncancel or non-renew this Coverage Part by written notice to the first Named Insured, we will mail or deliver
          o
   notification that such Coverage Part has been cancelled or non-renewed to each person or organization shown in a
          t
   list provided  to us by the first Named Insured if you are required by written contact or written agreement to provide
   such notification.
          b            Such list:
          e
    1. Must be provided to us prior to cancellation or non-renewal;
        p
    2. Must
        l
            contain the names and addresses of only the persons or organizations requiring notification that such
       Coverage
        a       Part has been cancelled or non-renewed; and
          c
    3. Must
        e   be in an electronic format that is acceptable to us.
          d
B. Our notification as described in Paragraph A. of this endorsement will be based on the most recent list in our records
   as of the
         a date the notice of cancellation or non-renewal is mailed or delivered to the first Named Insured. We will mail
   or deliver
         b    such notification to each person or organization shown in the list:
          o
    1. Within
        v     10 days of the effective date of the notice of cancellation, if we cancel for non-payment of premium; or
          e
    2. At least 30 days prior to the effective date of:
          t
        a.h Cancellation, if cancelled for any reason other than nonpayment of premium; or
          e
        b. Non-renewal, but not including conditional notice of renewal,
          l
    unlesso a greater number of days is shown in the Schedule of this endorsement for the mailing or delivering of such
    notification
           g     with respect to Paragraph B.1. or Paragraph B.2. above.
          o
C. Our mailing
         .     or delivery of notification described in Paragraphs A. and B. of this endorsement is intended as a courtesy
   only. Our failure to provide such mailing or delivery will not:
          ↑
    1. Extend the Coverage Part cancellation or non-renewal date;
          T
        o
    2. Negate the cancellation or non-renewal; or
          p
    3. Provide any additional insurance that would not have been provided in the absence of this endorsement.
          M
          a
          r
          g
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          3
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          4
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D. We are not responsible for the accuracy, integrity, timeliness and validity of information contained in the list provided
   to us as described in Paragraphs A. and B. of this endorsement.



                                                         SCHEDULE

           The total number of days for mailing or delivering with respect to Paragraph B.1. of
                                                                                                             *
           this endorsement is amended to indicate the following number of days:
           The total number of days for mailing or delivering with respect to Paragraph B.2. of
                                                                                                             **
           this endorsement is amended to indicate the following number of days:
           * If a number is not shown here, 10 days continues to apply.
           ** If a number is not shown here, 30 days continues to apply.


All other terms and conditions of this policy remain unchanged.




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Policyholder Notice - General Liability Access Or
Disclosure Of Confidential
Or Personal Information Exclusions

This Notice does not form part of your policy. No coverage is provided by this Notice nor can it be construed to replace
any provision of your policy. You should read your policy and review your Declarations page for complete information on
the coverages you are provided. If there is a conflict between the Policy and this Notice, THE PROVISIONS OF THE
POLICY SHALL PREVAIL.
Carefully read your policy, including the endorsements attached to your policy.
This Notice provides information concerning the following new endorsements, which applies to your renewal policy being
issued by us:
CG 21 06 05 14 – Exclusion – Access Or Disclosure Of Confidential Or Personal Information And Data – related
Liability – With Limited Bodily Injury Exception (For Use With The Commercial General Liability Coverage Part)
When this endorsement is attached to your policy:
       Under Coverage A – Bodily Injury And Property Damage Liability, coverage is excluded for damages arising out
        of any access to or disclosure of any person’s or organization’s confidential or personal information. This is a
        reinforcement of coverage intent.
       Under Coverage B - Personal And Advertising Injury Liability, coverage is excluded for personal and advertising
        injury arising out of any access to or disclosure of any person’s or organization’s confidential or personal
        information. To the extent that any access or disclosure of confidential or personal information results in an oral or
        written publication that violates a person’s right of privacy, this may result in a reduction in coverage.
CG 21 07 05 14 – Exclusion – Access or Disclosure of Confidential or Personal Information and Data-related
Liability – Limited Bodily Injury Exception Not Included (For Use With The Commercial General Liability Coverage
Part)
When this endorsement is attached to your policy:
       Under Coverage A – Bodily Injury And Property Damage Liability, coverage is excluded for damages arising out
        of any access to or disclosure of any person’s or organization’s confidential or personal information. This is a
        reinforcement of coverage intent. Coverage is also excluded for damages because of bodily injury arising out of
        loss of, loss of use of, damage to, corruption of, inability to access, or inability to manipulate electronic data. This
        is a reduction of coverage.
       Under Coverage B – Personal and Advertising Injury Liability, coverage is excluded for personal and advertising
        injury arising out of any access to or disclosure of any person’s or organization’s confidential or personal
        information. To the extent that any access or disclosure of confidential or personal information results in an oral
        or written publication that violates a person’s right of privacy, this may result in a reduction of coverage.
CG 21 08 05 14 – Exclusion – Access Or Disclosure Of Confidential Or Personal Information (Coverage B Only)
(For Use With The Commercial General Liability Coverage Part)
When this endorsement is attached to your policy, coverage is excluded for personal and advertising injury arising out of
any access to or disclosure of any person’s or organization’s confidential or personal information. To the extent that any
access or disclosure of confidential or personal information results in an oral or written publication that violates a person’s
right of privacy, this may result in a reduction in coverage.




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CG 04 37 05 14 – Electronic Data Liability (For Use With The Commercial General Liability Coverage Part)
With respect to damages arising out of any access to or disclosure of any person’s or organization’s confidential or
personal information, when this endorsement is attached to your policy:
      Under Coverage A – Bodily Injury And Property Damage Liability, coverage is excluded for damages arising out
       of any access to or disclosure of any person’s or organization’s confidential or personal information. This is a
       reinforcement of coverage intent.
      Under Coverage B – Personal And Advertising injury Liability, coverage is excluded for personal and advertising
       injury arising out of any access to or disclosure of any person’s or organization’s confidential or personal
       information. To the extent that any access or disclosure of confidential or personal information results in an oral
       or written publication that violates a person’s right of privacy, this may result in a reduction of coverage.
CG 33 53 05 14 – Exclusion – Access Or Disclosure Of Confidential Or Personal Information And Data – related
Liability – With Limited Bodily Injury Exception (For Use With The Owners and Contractors Protective Liability
Coverage Part and Products/Completed Operations Coverage Parts)
When this endorsement is attached to your policy, coverage is excluded for damages arising out of any access to or
disclosure of any person’s or organization’s confidential or personal information. This is a reinforcement of coverage
intent.
CG 33 59 05 14 – Exclusion – Access Or Disclosure Of Confidential Or Personal Information And Data-related
Liability – Limited Bodily Injury Exception Not Included (For Use With The Owners And Contractors Protective
Liability and Products/Completed Operations Liability Coverage Parts)
When this endorsement is attached to your policy, coverage is excluded for damages arising out of any access to or
disclosure of any person’s or organization’s confidential or personal information. This is a reinforcement of coverage
intent. Coverage is also excluded for damages because of bodily injury arising out of loss, loss of use of, damage to,
corruption of, inability to access, or inability to manipulate electronic data. This is a reduction of coverage.




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Employee Benefits Liability -
Occurrence Coverage Form
        This Coverage Form provides occurrence coverage. Please read the entire form carefully.
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights,
duties, and what is and is not covered.
Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declara-
tions. The words "we", "us", and "our" refer to the Company providing this insurance.
Other words and phrases that appear in quotes have special meaning. Refer to the Definitions Section.

Section I. Coverage - E mployee Benefit Liability
1. Insuring Agreement                                                  A. "Bodily injury", "property damage" or "personal
     A. We will pay those sums that the "insured" becomes                 and advertising injury";
         legally obligated to pay as damages because of any            B. Any "claim" or "suit" arising out of any dishon-
         act, error, or omission of the "insured" in the "ad-             est, fraudulent, criminal or malicious act;
         ministration" of the "insured’s" "e mployee benefit
         programs". We will have the right and duty to de-             C. Any "claim" or "suit" arising out of discrimina-
         fend the "insured" against any suit seeking those                tion or humiliation;
         damages. However, we will have no duty to defend              D. Any "claim" or "suit" arising out of an insurer’s
         the "insured" against any "suit" seeking damages for             or other provider’s failure to perform its con-
         any act, error, or omission for which this insurance             tract;
         does not apply. We may, at our discretion, investi-            E. Any "claim" or "suit" arising out of your failure
         gate any claim and settle any "suit" that may result;
                                                                           to comply with any workers compensation, un-
         but:                                                              e mployment insurance, social security, or dis-
         1. The amount we pay for damages is limited as                    ability benefits law;
              described in Section II. - Limits of Insurance of
                                                                        F. Any "claim" or "suit" arising out of the failure of
              this Coverage Part; and
                                                                           any of your "e mployee benefit plans" to meet
         2. Our right and duty to defend ends when we
                                                                           obligations due to insufficient funds;
              have used up the applicable limit of insurance
              in the payment of judgments or settle ments un-           G. Any "claim" or "suit" arising out of:
              der this E mployee Benefit Liability coverage.                a.   Advice given to any person to participate
         No other obligation or liability to pay sums or per-                    or not participate in a plan or program in-
         form acts or services is covered unless explicitly                      cluded in "e mployee benefit programs";
         provided for under Supple mentary Payments of this                 b.   The appointment of, or failure to appoint,
         Coverage Part.                                                          any investment manager, administrator,
     B. This insurance applies to an act, error or omission                      trustee, actuary, advisor, counsel, account-
         only if:                                                                ant, custodian, or consultant;
         1. The act, error, or omission takes place in the                  c.   Any investment activity, including the man-
              "coverage territory";                                              age ment, administration, or disposition of
         2. The "insured" had no knowledge of and could                          assets of your "e mployee benefit pro-
              not have reasonably foreseen any circum-                           grams"; or
              stances which might result in a claim or "suit";
                                                                            d.   Failure of any investment to perform as
              and
                                                                                 represented by any "insured".
         3. The act, error, or omission occurs during the
              policy period.                                            H. Any "claim or "suit" arising out of an "Insured’s"
                                                                           liability as a fiduciary under:
2.   Exclusions
     This insurance does not apply to any:


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            a.   The E mployee Retire ment Income Secu-                 ing period of less than 12 months starting with the
                 rity Act of 1974 (PL93-406) and its                    beginning of the policy period shown in the Decla-
                 amendments; or                                         rations, unless the policy period is extended after is-
                                                                        suance for an additional period of less than 12
            b.   The Internal Revenue Code of 1986 (in-
                                                                        months. In that case, the additional period will be
                 cluding the Internal Revenue Code of
                                                                        dee med part of the last preceding period for pur-
                 1954) and its amendments.
                                                                        poses of determining the Limits of Insurance.
   3.   Supple mentary Payments
                                                                III. Conditions
        We will pay, in addition to the applicable Limits of        A. Bankruptcy
        Insurance, with respect to any claim we investigate
        or settle or "suit" we defend:                                  Bankruptcy or insolvency of the "insured" or the "in-
                                                                        sured’s" estate will not relieve us of our obligations.
        A. All expenses incurred by us, all costs taxed
           against the "insured" in any "suit" defended by          B. Duties in the Event of an Act, Error, Omission,
           us, and all interest on the full amount of any              Claim or Suit
           judgment which accrues after entry of the judg-              (1) Regardless of whether the loss exceeds any ap-
           ment and before we have paid or tendered or                      plicable deductible amount, you must see to it
           deposited in court, that part of the judgment                    that we are notified as soon as practicable of
           which does not exceed the limit of our liability.                any act, error, or omission which may result in
        B. Pre miums on appeal bonds required and on                        a claim. To the extent possible, notice should
           bonds to release attachments in any "suit". We                   include:
           do not have to furnish these bonds.                              a.    How, when, and where the act, error, or
        C. All reasonable expenses incurred by the "in-                           omission took place;
           sured" at our request to assist us in the investi-               b.    The names and addresses of any injured
           gation or defense of the claim or "suit", includ-                      "e mployee", dependents, or beneficiaries
           ing actual loss of earnings up to $250 a day be-                       of any "e mployee" and witnesses.
           cause of time off from work.
                                                                        (2) If a claim is received by any "insured", you
        D. Prejudgment interest awarded against the "in-                    must:
           sured" on that part of the judgment we pay. If
                                                                            a.    Immediately record the specifics of the
           we make an offer to pay the applicable limit of
                                                                                  claim and the date received; and
           insurance, we will not pay any prejudgment in-
           terest based on that period of time after the of-                b.    Notify us as soon as practicable.
           fer.                                                             You must see to it that we receive written no-
II. Limits of Insurance                                                     tice of the claim as soon as practicable.
   A. The Limits of Insurance shown in the Declarations                 (3) You and any other involved "insured" must:
      and the rules below establish the most we will pay                    a.    Immediately send us copies of any de-
      regardless of the number of:                                                mands, notices, summonses, or legal papers
        (1) "Insureds";                                                           received in connection with the claim or
                                                                                  "suit";
        (2) Claims made or "suits" brought; or
                                                                            b.    Authorize us to obtain records and other
        (3) "E mployees" or dependents or beneficiaries of
                                                                                  information;
            "e mployees" making claims or bringing "suits".
                                                                            c.    Cooperate with us in the investigation, set-
   B. The Aggregate Limit is the most we will pay for all
                                                                                  tle ment, or defense of the claim or "suit";
      damages because of all "claims" or "suits" arising
                                                                                  and
      from the "administration" of your "e mployee benefit
      programs" during the policy period.                                   d.    Assist us, upon our request, in the en-
                                                                                  force ment of any right against any person
   C. Subject to the Aggregate Limit provisions in B.
                                                                                  or organization which may be liable to the
      above, the E ach Act, E rror, or Omission Limit is
                                                                                  "insured" because of injury to which this in-
      the most we will pay for all damages sustained by
                                                                                  surance may also apply.
      any one "e mployee", including the "e mployee’s" de-
      pendents and beneficiaries, because of acts, errors,
      or omissions committed in the "administration" of
      your "e mployee benefit programs".
   D. The limits of this Coverage Part apply separately to
      each consecutive annual period and to any re main-


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   No person or organization has a right:                         F. Transfer Of Rights Of Recovery Against Others To
   (1) To join us as a party or otherwise bring us into              Us
        a "suit" asking for damages from an "insured";                If the "insured" has rights to recover all or part of
        or                                                            any payment we have made under this Coverage
   (2) To sue us on this Coverage Part unless all of its              Part, those rights are transferred to us. The "in-
        terms have been fully complied with.                          sured" must do nothing after loss to impair the m.
   A person or organization may sue us to recover on                  At our request, the "insured" will bring "suit" or
   an agreed settle ment or on a final judgment against               transfer those rights to us and help us enforce the m.
   an "insured" obtained after an actual trial, but we        IV. Definitions
   will not be liable for damages that are not payable
   under the terms of this Coverage Part or that are in           A. "Advertise ment" means a notice that is broadcast or
   excess of the applicable limit of insurance. An                   published to the general public or specific market
   agreed settle ment means a settle ment and release                segments about your goods, products or services for
   of liability signed by us, the "insured", and the                 the purpose of attracting customers or supporters.
   claimant or the claimant’s legal representative.                  For the purposes of this definition:
D. Other Insurance                                                    (1) Notices that are published include material
   (1) This Coverage Part is primary insurance, ex-                       placed on the Internet or on similar electronic
        cept when stated, to apply in excess of or con-                   means of communication; and
        tingent upon the absence of other insurance.                  (2) Regarding web-sites, only that part of a web-
        When this insurance is primary and the insured                    site that is about your goods, products or ser-
        has other insurance which applies to the loss on                  vices for the purposes of attracting customers or
        an excess or contingent basis, the amount of                      supporters is considered an advertise ment.
        our liability under this Coverage Part shall not
        be reduced because of such other insurance.               B. "Administration" means:
   (2) When both this insurance and other insurance                   (1) Counseling "e mployees", including their de-
        apply to the loss on the same basis, whether                      pendents and beneficiaries, with respect to
        primary, excess, or contingent, we shall not be                   "e mployee benefit programs";
        liable for a greater proportion of the loss than
                                                                      (2) Handling records in connection with "e mployee
        that stated in the applicable contribution provi-
                                                                          benefit programs"; or
        sion below:
        a. Contribution by Equal Shares                               (3) Effecting or terminating an "e mployee’s" par-
                                                                          ticipation in a plan included in "e mployee
             If all of the other insurance permits contri-
                                                                          benefit programs".
             bution by equal shares, we will follow this
             method also. Under this approach, each               C. "Bodily injury" means bodily injury, sickness or dis-
             insurer contributes equal amounts until it              ease sustained by a person, including death result-
             has paid its applicable limit of insurance or           ing from any of these at any time.
             none of the loss re mains, whichever comes
                                                                  D. "Coverage territory" means:
             first.
        b. Contribution by Limits                                     (1) The United States of America (including its
                                                                          territories and possessions), Puerto Rico, and
             If any of the other insurance does not per-
                                                                          Canada; or
             mit contribution by equal shares, we will
             contribute by limits. Under this method,                 (2) All parts of the world if the "insured’s" respon-
             each insurer’s share is based on the ratio of                sibility to pay damages is determined in a "suit"
             its applicable limit of insurance to the total               on the merits, in the territory described in D.
             applicable limits of insurance of all insur-                 (1) above, or in a settle ment to which we
             ers.                                                         agree.
E. Separation of Insureds                                         E. "E mployee" means:
   Except with respect to the Limits of Insurance and
                                                                      Your officers and e mployees, whether actively e m-
   any rights or duties specifically assigned in this
                                                                      ployed, disabled, or retired.
   Coverage Part to the first Named Insured, this in-
   surance applies:                                               F. "E mployee benefit programs" mean:
   (1) As if each Named Insured were the only                         Group life insurance, group accident or health in-
        Named Insured; and                                            surance, profit sharing plans, pension plans, e m-
   (2) Separately to each "insured" against whom                      ployee stock subscription plans, workers compensa-
        claim is made or "suit" is brought.                           tion, une mployment insurance, salary continuation



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       plans, social security, disability benefits insurance,        (7) Infringing upon another’s copyright, trade dress
       savings plans, vacation plans, or any other similar               or slogan in your "advertise ment".
       plans or programs.
                                                                I.   "Property damage" means:
   G. "Insured" means:
                                                                     (1) Physical injury to tangible property, including
      You and any of your partners, executive officers, di-              all resulting loss of use of that property.
      rectors, me mbers, stockholders or "e mployees", pro-
      vided such "e mployee" is authorized to act in the             (2) Loss of use of tangible property that is not
      "administration" of your "e mployee benefit pro-                   physically injured.
      grams".                                                        For the purposes of this insurance, electronic data is
   H. "Personal and advertising injury" means:                       not tangible property.

       Injury, including consequential "bodily injury", aris-        As used in this definition, electronic data means in-
       ing out of one or more of the following offenses:             formation, facts or programs stored as or on, cre-
                                                                     ated or used on, or transmitted to or from computer
       (1) False arrest, detention, or imprisonment;                 software, including syste ms and applications, soft-
       (2) Malicious prosecution;                                    ware, hard or floppy disks, C D-ROMS, tapes,
                                                                     drives, cells, data processing devices or any other
       (3) The wrongful eviction from wrongful entry into,           media which are used with electronically controlled
           or invasion of the right of private occupancy of,         equipment.
           a room, dwelling, or pre mises that a person oc-
           cupies by or on behalf of its owner, landlord, or    J.   "Suit" means:
           lessor;                                                   A civil proceeding in which damages to which this
       (4) Oral or written publication, in any manner, of            insurance applies is alleged. "Suit" includes:
           material that slanders or libels a person or or-          (1) An arbitration proceeding in which such dam-
           ganization or disparages a person’s or organi-                ages are claimed and to which you must submit
           zation’s goods, products, or services; or                     or do submit with our consent; or
       (5) Oral or written publication,’ in any manner, of           (2) Any other alternative dispute resolution pro-
           material that violates a person’s right of pri-               ceeding in which such damages are claimed
           vacy;                                                         and to which you submit with our consent.
       (6) The use of another’s advertising idea in your
           "advertise ment"; or




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Incidental Medical Malpractice
Coverage Endorsement

        Policy No.        Eff. Date of Pol.    Exp. Date of Pol.     Eff. Date of End.         Producer            Add’l Prem.          Return Prem.
     GLO 8196250-19         03/01/2021           03/01/2022                                   92757000         $    INCL            $




                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:

Commercial General Liability Coverage Part




I.    Sections 2.a.(1)(d) of Section II. WHO IS AN INSURED are deleted and replaced by the following:
      2.   Each of the following is also an insured:
           a.   Your "volunteer workers" only while performing duties related to the conduct of your business, or your
                "employees", other than either your "executive officers" (if you are an organization other than a partnership, joint
                venture or limited liability company) or your managers (if you are a limited liability company), but only for acts
                within the scope of their employment by you or while performing duties related to the conduct of your business.
                However, none of these "employees" or "volunteer workers" are insured for:
                (1) "Bodily injury" or "personal and advertising injury":
                    (d) Arising out of his or her providing or failing to provide professional health care services, except any
                        "bodily injury" or "personal and advertising injury" arising out of:
                        (1) medical or paramedical services to persons performed by any physician, dentist, nurse, emergency
                            medical technician, paramedic or other licensed medical care person employed by you to provide such
                            services: or
                        (2) emergency cardiopulmonary resuscitation (CPR) or first aid services performed by any other employee
                            of yours who is not a licensed medical professional.
II. Any insurance coverage provided by this endorsement is excess over any other valid and collectible insurance.




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 Silica or Silica Mixed Dust Exclusion
        Policy No.       Eff. Date of Pol.    Exp. Date of Pol.     Eff. Date of End.         Producer            Add’l Prem.          Return Prem.
     GLO 8196250-19        03/01/2021           03/01/2022                                   92757000         $    INCL            $




              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:

Commercial General Liability Coverage Part
Products-Completed Operations Liability Coverage Part

The following additional exclusion is added to 2. Exclusions of Section I. Coverages:

2.    Exclusions

      This insurance does not apply to:

      Silica or Silica Mixed Dust

      A. "Bodily injury", "property damage" or "personal and advertising injury" caused directly or indirectly, in whole or in
         part, by the actual, alleged or threatened inhalation, ingestion, absorption, exposure to, existence of or presence of
         "silica"; or
      B. Loss, costs or expenses arising out of the abating, testing for, monitoring, cleaning up, removing, containing, treating,
         detoxifying, neutralizing, remediating or disposing of, or in any manner responding to or assessing the effects of "silica"
         by any insured or by any other person or entity.
      C. For the purposes of this exclusion, the following definition applies:
          "Silica" means:
          (1) Any form of crystalline or non-crystalline (amorphous) silica, silica particles, silica compounds, silica dust or silica
              mixed or combined with dust or other particles; or
          (2) Synthetic silica, including precipitated silica, silica gel, pyrogenic or fumed silica or silica-flour.




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             EMPLOYEE BENEFIT LIABILITY COVERAGE PART -- OCCURRENCE DECLARATIONS


                                                                   Policy Number: GLO      8196250-19
Named Insured: R       J SCHINNER CO., INC.


Policy Period: Coverage begins          03-01-2021 at 12:01 A.M.; Coverage ends 03-01-2022 at 12:01 A.M.

Producer Name: ALTERNATIVE             RISK RESOURCES, LLC
Producer No. 92757-000


Item 1. Limits of Insurance



      $     1,000,000 Aggregate Limit
      $     1,000,000 Each Act, Error or Omission Limit

Item 2. Form of Business:
          Individual              Partnership        Joint Venture       X Corporation
          Other



Item 3. Premium Schedule:
    Code No.           Premium Basis                      Rate                              Advance Premium
                       (Estimated Number of Employees)

     92100             IF ANY                             $       INCL      Per Employee   $        INCL

                                                          $       INCL      Flat Charge     $       INCL


Total Advance Premium For This Coverage Part:       $            INCL


Audit Period:     X Annual          Semi-annual          Quarterly          Monthly


Forms And Endorsements Applicable To This Coverage Part:

  SEE SCHEDULE OF FORMS AND ENDORSEMENTS




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                        COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS

                                                                    Policy Number: GLO          8196250-19
                          ZURICH AMERICAN INSURANCE COMPANY

  Named Insured R     J SCHINNER CO., INC.



  Policy Period: Coverage begins     03-01-2021           at 12:01 A.M.; Coverage ends      03-01-2022              at 12:01 A.M.


  Producer Name: ALTERNATIVE            RISK RESOURCES, LLC                          Producer No. 92757-000
Item 1. Business Description:
Item 2. Limits of Insurance


GENERAL AGGREGATE LIMIT                                               $          4,000,000

PRODUCTS-COMPLETED OPERATIONS AGGREGATE LIMIT                        $           4,000,000

EACH OCCURRENCE LIMIT                                 $         2,000,000

      DAMAGE TO PREMISES
      RENTED TO YOU LIMIT                             $         1,000,000             Any one premises

      MEDICAL EXPENSE LIMIT                           $              10,000           Any one person

PERSONAL AND ADVERTISING INJURY LIMIT                 $         1,000,000             Any one person or
                                                                                      organization




Item 3. Retroactive Date (CG 00 02 ONLY)
This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" offense
which occurs before the Retroactive Date, if any, shown here:      NONE
                                                                     (Enter Date or "None" if no Retroactive Date applies)

Item 4. Form of Business and Location Premises
Form of Business: CORPORATION
Location of All Premises You Own, Rent or Occupy: See Schedule of Locations
Item 5. Schedule of Forms and Endorsements
Form(s) and Endorsement(s) made a part of this Policy at time of issue:
See Schedule of Forms and Endorsements
Item 6. Premiums
Coverage Part Premium:
Other Premium:
Total Premium:




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                                                                                COMMERCIAL GENERAL LIABILITY
                                                                                               CG 00 01 04 13

   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.            (2) The "bodily injury" or "property damage"
Read the entire policy carefully to determine rights,               occurs during the policy period; and
duties and what is and is not covered.                          (3) Prior to the policy period, no insured listed
Throughout this policy the words "you" and "your" refer              under Paragraph 1. of Section II ---- Who Is An
to the Named Insured shown in the Declarations, and                  Insured and no "employee" authorized by you
any other person or organization qualifying as a Named               to give or receive notice of an "occurrence" or
Insured under this policy. The words "we", "us" and                  claim, knew that the "bodily injury" or
"our" refer to the company providing this insurance.                 "property damage" had occurred, in whole or
The word "insured" means any person or organization                  in part. If such a listed insured or authorized
qualifying as such under Section II ---- Who Is An                   "employee" knew, prior to the policy period,
Insured.                                                             that the "bodily injury" or "property damage"
                                                                     occurred, then any continuation, change or
Other words and phrases that appear in quotation                     resumption of such "bodily injury" or
marks have special meaning. Refer to Section V ----                  "property damage" during or after the policy
Definitions.                                                         period will be deemed to have been known
SECTION I ---- COVERAGES                                             prior to the policy period.
COVERAGE A ---- BODILY INJURY AND PROPERTY                   c. "Bodily injury" or "property damage" which
DAMAGE LIABILITY                                                 occurs during the policy period and was not,
                                                                 prior to the policy period, known to have
1. Insuring Agreement                                            occurred by any insured listed under Paragraph
   a. We will pay those sums that the insured becomes            1. of Section II ---- Who Is An Insured or any
       legally obligated to pay as damages because of            "employee" authorized by you to give or receive
       "bodily injury" or "property damage" to which this        notice of an "occurrence" or claim, includes any
       insurance applies. We will have the right and             continuation, change or resumption of that
       duty to defend the insured against any "suit"             "bodily injury" or "property damage" after the end
       seeking those damages. However, we will have              of the policy period.
       no duty to defend the insured against any "suit"
                                                             d. "Bodily injury" or "property damage" will be
       seeking damages for "bodily injury" or "property
                                                                 deemed to have been known to have occurred at
       damage" to which this insurance does not apply.
                                                                 the earliest time when any insured listed under
       We may, at our discretion, investigate any
                                                                 Paragraph 1. of Section II ---- Who Is An Insured
       "occurrence" and settle any claim or "suit" that
                                                                 or any "employee" authorized by you to give or
       may result. But:
                                                                 receive notice of an "occurrence" or claim:
      (1) The amount we will pay for damages is limited
                                                                (1) Reports all, or any part, of the "bodily injury"
          as described in Section III ---- Limits Of
                                                                     or "property damage" to us or any other
          Insurance; and
                                                                     insurer;
      (2) Our right and duty to defend ends when we
                                                                (2) Receives a written or verbal demand or claim
          have used up the applicable limit of insurance
                                                                     for damages because of the "bodily injury" or
          in the payment of judgments or settlements
                                                                     "property damage"; or
          under Coverages A or B or medical expenses
          under Coverage C.                                     (3) Becomes aware by any other means that
                                                                     "bodily injury" or "property damage" has
       No other obligation or liability to pay sums or               occurred or has begun to occur.
       perform acts or services is covered unless
       explicitly provided for under Supplementary           e. Damages because of "bodily injury" include
       Payments ---- Coverages A and B.                         damages claimed by any person or organization
                                                                for    care, loss       of services      or death
   b. This insurance applies to "bodily injury" and
                                                                resulting at any time from the "bodily injury".
       "property damage" only if:
      (1) The "bodily injury" or "property damage" is
          caused by an "occurrence" that takes place
          in the "coverage territory";




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2. Exclusions                                                    This exclusion applies even if the claims
   This insurance does not apply to:                             against any insured allege negligence or other
                                                                 wrongdoing in:
   a. Expected Or Intended Injury
                                                                    (a) The supervision, hiring, employment,
       "Bodily injury" or "property damage" expected                     training or monitoring of others by that
       or intended from the standpoint of the insured.                   insured; or
       This exclusion does not apply to "bodily injury"
       resulting from the use of reasonable force to                (b) Providing      or   failing   to     provide
       protect persons or property.                                      transportation with respect to any person
                                                                         that may be under the influence of alcohol;
   b. Contractual Liability
                                                                 if the "occurrence" which caused the "bodily
       "Bodily injury" or "property damage" for which the        injury" or "property damage", involved that which
       insured is obligated to pay damages by reason of          is described in Paragraph (1), (2) or (3) above.
       the assumption of liability in a contract or
       agreement. This exclusion does not apply to               However, this exclusion applies only if you are in
       liability for damages:                                    the business of manufacturing, distributing,
                                                                 selling,    serving   or     furnishing    alcoholic
      (1) That the insured would have in the absence             beverages. For the purposes of this exclusion,
           of the contract or agreement; or                      permitting a person to bring alcoholic beverages
      (2) Assumed in a contract or agreement that is             on your premises, for consumption on your
           an "insured contract", provided the "bodily           premises, whether or not a fee is charged or a
           injury" or "property         damage" occurs           license is required for such activity, is not by
           subsequent to the execution of the contract           itself considered the business of selling, serving
           or agreement. Solely for the purposes of              or furnishing alcoholic beverages.
           liability assumed in an "insured contract",        d. Workers Compensation And Similar Laws
           reasonable attorneys fees and necessary
           litigation expenses incurred by or for a party        Any obligation of the insured under a workers
           other than an insured are deemed to be                compensation,        disability      benefits    or
           damages because of "bodily injury" or                 unemployment compensation law or any similar
           "property damage", provided:                          law.
          (a) Liability to such party for, or for the cost    e. Employer s Liability
                of, that party s defense has also been           "Bodily injury" to:
                assumed in the same "insured contract";          (1) An "employee" of the insured arising out of
                and                                                   and in the course of:
          (b) Such attorneys fees and litigation                     (a) Employment by the insured; or
                expenses are for defense of that party
                against a civil or alternative dispute              (b) Performing duties related to the conduct
                resolution proceeding in which damages                    of the insured s business; or
                to which this insurance applies are              (2) The spouse, child, parent, brother or sister of
                alleged.                                              that "employee" as a consequence of
   c. Liquor Liability                                                Paragraph (1) above.
       "Bodily injury" or "property damage" for which             This exclusion applies whether the insured may
       any insured may be held liable by reason of:               be liable as an employer or in any other capacity
                                                                  and to any obligation to share damages with or
      (1) Causing or contributing to the intoxication of          repay someone else who must pay damages
           any person;                                            because of the injury.
      (2) The furnishing of alcoholic beverages to a             This exclusion does not apply to liability
           person under the legal drinking age or under          assumed by the insured under an "insured
           the influence of alcohol; or                          contract".
      (3) Any statute, ordinance or regulation relating
           to the sale, gift, distribution or use of
           alcoholic beverages.




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   f. Pollution                                                      (d) At or from any premises, site or location
      (1) "Bodily injury" or "property damage" arising                    on which any insured or any contractors
           out of the actual, alleged or threatened                       or subcontractors working directly or
           discharge, dispersal, seepage, migration,                      indirectly on any insured s behalf are
           release or escape of "pollutants":                             performing operations if the "pollutants"
                                                                         are brought on or to the premises, site or
          (a) At or from any premises, site or location                   location in connection with such
                which is or was at any time owned or                      operations by such insured, contractor or
                occupied by, or rented or loaned to, any                  subcontractor.           However,        this
                insured. However, this subparagraph                       subparagraph does not apply to:
                does not apply to:
                                                                          (i) "Bodily injury" or "property damage"
                (i) "Bodily injury" if sustained within a                     arising out of the escape of fuels,
                    building and caused by smoke, fumes,                      lubricants or other operating fluids
                    vapor or soot produced by or                              which are needed to perform the
                    originating from equipment that is used                   normal      electrical,   hydraulic    or
                    to heat, cool or dehumidify the                           mechanical functions necessary for the
                    building, or equipment that is used to                    operation of "mobile equipment" or its
                    heat water for personal use, by the                       parts, if such fuels, lubricants or other
                    building s occupants or their guests;                     operating fluids escape from a vehicle
               (ii) "Bodily injury" or "property damage" for                  part designed to hold, store or receive
                    which you may be held liable, if you                      them. This exception does not apply if
                    are a contractor and the owner or                         the "bodily injury" or "property damage"
                    lessee of such premises, site or                          arises out of the intentional discharge,
                    location has been added to your policy                    dispersal or release of the fuels,
                    as an additional insured with respect to                  lubricants or other operating fluids, or
                    your ongoing operations performed for                     if such fuels, lubricants or other
                    that additional insured at that                           operating fluids are brought on or to
                    premises, site or location and such                       the premises, site or location with the
                    premises, site or location is not and                     intent that they be discharged,
                    never was owned or occupied by, or                        dispersed or released as part of the
                    rented or loaned to, any insured, other                   operations being performed by such
                    than that additional insured; or                          insured, contractor or subcontractor;
              (iii) "Bodily injury" or "property damage"                 (ii) "Bodily injury" or "property damage"
                    arising out of heat, smoke or fumes                       sustained within a building and caused
                    from a "hostile fire";                                    by the release of gases, fumes or
                                                                              vapors from materials brought into that
        (b) At or from any premises, site or location                         building in connection with operations
             which is or was at any time used by or for                       being performed by you or on your
             any insured or others for the handling,                          behalf      by     a     contractor    or
             storage, disposal, processing or treatment                       subcontractor; or
             of waste;
                                                                        (iii) "Bodily injury" or "property damage"
        (c) Which are or were at any time transported,
                                                                              arising out of heat, smoke or fumes
             handled, stored, treated, disposed of, or
                                                                              from a "hostile fire".
             processed as waste by or for:
                                                                     (e) At or from any premises, site or location
             (i) Any insured; or
                                                                         on which any insured or any contractors
           (ii) Any person or organization for whom                      or subcontractors working directly or
                 you may be legally responsible; or                      indirectly on any insured s behalf are
                                                                         performing operations if the operations
                                                                         are to test for,          monitor, clean up,
                                                                         remove, contain, treat, detoxify or
                                                                         neutralize, or in any way respond to, or
                                                                         assess the effects of, "pollutants".




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     (2) Any loss, cost or expense arising out of                (5) "Bodily injury" or "property damage" arising
          any:                                                        out of:
         (a) Request, demand, order or statutory or                  (a) The operation of machinery or equipment
             regulatory requirement that any insured or                  that is attached to, or part of, a land
             others test for, monitor, clean up, remove,                 vehicle that would qualify under the
             contain, treat, detoxify or neutralize, or in               definition of "mobile equipment" if it were
             any way respond to, or assess the effects                   not subject to a compulsory or financial
             of, "pollutants"; or                                        responsibility law or other motor vehicle
        (b) Claim or suit by or on behalf of a                           insurance law where it is licensed or
             governmental authority for damages                          principally garaged; or
             because of testing for, monitoring,                    (b) The operation of any of the machinery or
             cleaning up, removing,           containing,                equipment listed in Paragraph f.(2) or f.(3)
             treating, detoxifying or neutralizing, or in                of the definition of "mobile equipment".
             any way responding to, or assessing the          h. Mobile Equipment
             effects of, "pollutants".
                                                                   "Bodily injury" or "property damage" arising out
           However, this paragraph does not apply to               of:
           liability for damages because of "property
           damage" that the insured would have in the             (1) The transportation of "mobile equipment" by
           absence of such request, demand, order or                   an "auto" owned or operated by or rented or
           statutory or regulatory requirement, or such                loaned to any insured; or
           claim or "suit" by or on behalf of a                   (2) The use of "mobile equipment" in, or while in
           governmental authority.                                     practice for, or while being prepared for, any
   g. Aircraft, Auto Or Watercraft                                     prearranged racing, speed, demolition, or
                                                                       stunting activity.
       "Bodily injury" or "property damage" arising out of
       the ownership, maintenance, use or entrustment          i. War
       to others of any aircraft, "auto" or watercraft             "Bodily injury" or "property damage", however
       owned or operated by or rented or loaned to any             caused, arising, directly or indirectly, out of:
       insured. Use includes operation and "loading or            (1) War, including undeclared or civil war;
       unloading".
                                                                  (2) Warlike action by a military force, including
       This exclusion applies even if the claims against
                                                                      action in hindering or defending against an
       any insured allege negligence or other
                                                                      actual    or expected attack, by any
       wrongdoing        in   the   supervision,    hiring,
                                                                      government, sovereign or other authority
       employment, training or monitoring of others by
                                                                      using military personnel or other agents; or
       that insured, if the "occurrence" which caused
       the "bodily injury" or "property damage" involved          (3) Insurrection, rebellion, revolution, usurped
       the ownership, maintenance, use or entrustment                 power, or action taken by governmental
       to others of any aircraft, "auto" or watercraft that           authority in hindering or defending against
       is owned or operated by or rented or loaned to                 any of these.
       any insured.                                            j. Damage To Property
       This exclusion does not apply to:                           "Property damage" to:
      (1) A watercraft while ashore on premises you               (1) Property you own, rent, or occupy, including
           own or rent;                                               any costs or expenses incurred by you, or
      (2) A watercraft you do not own that is:                        any other person, organization or entity, for
                                                                      repair, replacement, enhancement, restoration
          (a) Less than 26 feet long; and
                                                                      or maintenance of such property for any
          (b) Not being used to carry persons or                      reason, including prevention of injury to a
               property for a charge;                                 person or damage to another s property;
     (3) Parking an "auto" on, or on the ways next to,            (2) Premises you sell, give away or abandon, if
         premises you own or rent, provided the "auto"                the "property damage" arises out of any part
         is not owned by or rented or loaned to you or                of those premises;
         the insured;                                             (3) Property loaned to you;
     (4) Liability assumed under any "insured
         contract" for the ownership, maintenance or
         use of aircraft or watercraft; or



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      (4) Personal property in the care, custody or               This exclusion does not apply to the loss of use
              control of the insured;                             of other property arising out of sudden and
      (5) That particular part of real property on which          accidental physical injury to "your product" or
              you or any contractors or subcontractors            "your work" after it has been put to its intended
              working directly or indirectly on your behalf       use.
              are performing operations, if the "property     n. Recall Of Products, Work Or Impaired Property
              damage" arises out of those operations; or          Damages claimed for any loss, cost or expense
      (6) That particular part of any property that must          incurred by you or others for the loss of use,
              be restored, repaired or replaced because           withdrawal,     recall,    inspection,      repair,
              "your work" was incorrectly performed on it.        replacement, adjustment, removal or disposal of:
       Paragraphs (1), (3) and (4) of this exclusion do          (1) "Your product";
       not apply to "property damage" (other than                (2) "Your work"; or
       damage by fire) to premises, including the
       contents of such premises, rented to you for a            (3) "Impaired property";
       period of seven or fewer consecutive days. A               if such product, work, or property is withdrawn
       separate limit of insurance applies to Damage To           or recalled from the market or from use by any
       Premises Rented To You as described in Section             person or organization because of a known or
       III ---- Limits Of Insurance.                              suspected defect, deficiency, inadequacy or
       Paragraph (2) of this exclusion does not apply if          dangerous condition in it.
       the premises are "your work" and were never            o. Personal And Advertising Injury
       occupied, rented or held for rental by you.                "Bodily injury" arising out of "personal and
       Paragraphs (3), (4), (5) and (6) of this exclusion         advertising injury".
       do not apply to liability assumed under a              p. Electronic Data
       sidetrack agreement.
                                                                  Damages arising out of the loss of, loss of use
       Paragraph (6) of this exclusion does not apply to          of, damage to, corruption of, inability to access,
       "property damage" included in the "products-               or inability to manipulate electronic data.
       completed operations hazard".
                                                                 However, this exclusion does not apply to liability
  k. Damage To Your Product
                                                                 for damages because of "bodily injury".
       "Property damage" to "your product" arising out
                                                                 As used in this exclusion, electronic data means
       of it or any part of it.                                  information, facts or programs stored as or on,
   l. Damage To Your Work                                        created or used on, or transmitted to or from
       "Property damage" to "your work" arising out of it        computer software, including systems and
       or any part of it and included in the "products-          applications software, hard or floppy disks, CD-
       completed operations hazard".                             ROMs, tapes, drives, cells, data processing
                                                                 devices or any other media which are used with
       This exclusion does not apply if the damaged              electronically controlled equipment.
       work or the work out of which the damage arises
       was performed on your behalf by a                      q. Recording And Distribution Of Material Or
       subcontractor.                                            Information In Violation Of Law
  m. Damage To Impaired Property Or Property Not                 "Bodily injury" or "property damage" arising
       Physically Injured                                        directly or indirectly out of any action or
                                                                 omission that violates or is alleged to violate:
       "Property damage" to "impaired property" or
       property that has not been physically injured,            (1) The Telephone Consumer Protection Act
       arising out of:                                               (TCPA), including any amendment of or
                                                                     addition to such law;
     (1) A    defect, deficiency,     inadequacy     or
         dangerous condition in "your product" or                (2) The CAN-SPAM Act of 2003, including any
         "your work"; or                                             amendment of or addition to such law;
     (2) A delay or failure by you or anyone acting on           (3) The Fair Credit Reporting Act (FCRA), and
         your behalf to perform a contract or                        any amendment of or addition to such law,
         agreement in accordance with its terms.                     including the Fair and Accurate Credit
                                                                     Transactions Act (FACTA); or




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       (4) Any      federal, state or local statute, 2. Exclusions
            ordinance or regulation, other than the TCPA,     This insurance does not apply to:
            CAN-SPAM Act of 2003 or FCRA and their
            amendments and additions, that addresses,         a. Knowing Violation Of Rights Of Another
            prohibits, or limits the printing, dissemination,    "Personal and advertising injury" caused by or
            disposal, collecting, recording, sending,            at the direction of the insured with the knowledge
            transmitting, communicating or distribution of       that the act would violate the rights of another
            material or information.                             and would inflict "personal and advertising
   Exclusions c. through n. do not apply to damage by            injury".
   fire to premises while rented to you or temporarily        b. Material Published With Knowledge Of Falsity
   occupied by you with permission of the owner. A               "Personal and advertising injury" arising out of
   separate limit of insurance applies to this coverage
                                                                 oral or written publication, in any manner, of
   as described in Section III ---- Limits Of Insurance.
                                                                 material, if done by or at the direction of the
COVERAGE B ---- PERSONAL AND ADVERTISING                         insured with knowledge of its falsity.
INJURY LIABILITY
                                                              c. Material Published Prior To Policy Period
1. Insuring Agreement                                            "Personal and advertising injury" arising out of
   a. We will pay those sums that the insured becomes            oral or written publication, in any manner, of
        legally obligated to pay as damages because of           material whose first publication took place before
        "personal and advertising injury" to which this          the beginning of the policy period.
        insurance applies. We will have the right and         d. Criminal Acts
        duty to defend the insured against any "suit"
        seeking those damages. However, we will have             "Personal and advertising injury" arising out of a
        no duty to defend the insured against any "suit"         criminal act committed by or at the direction of
        seeking damages for "personal and advertising            the insured.
        injury" to which this insurance does not apply.       e. Contractual Liability
        We may, at our discretion, investigate any
        offense and settle any claim or "suit" that may          "Personal and advertising injury" for which the
        result. But:                                             insured has assumed liability in a contract or
                                                                 agreement. This exclusion does not apply to
       (1) The amount we will pay for damages is limited         liability for damages that the insured would have
            as described in Section III ---- Limits Of           in the absence of the contract or agreement.
            Insurance; and
                                                              f. Breach Of Contract
       (2) Our right and duty to defend end when we
            have used up the applicable limit of insurance       "Personal and advertising injury" arising out of a
                                                                 breach of contract, except an implied contract to
            in the payment of judgments or settlements
                                                                 use another s advertising idea in your
            under Coverages A or B or medical expenses
                                                                 "advertisement".
            under Coverage C.
                                                              g. Quality Or Performance Of Goods ---- Failure To
        No other obligation or liability to pay sums or
                                                                 Conform To Statements
        perform acts or services is covered unless
        explicitly provided for under Supplementary              "Personal and advertising injury" arising out of
        Payments ---- Coverages A and B.                         the failure of goods, products or services to
                                                                 conform with any statement of quality or
   b. This insurance applies to "personal and
                                                                 performance made in your "advertisement".
        advertising injury" caused by an offense arising
      out of your business but only if the offense was       h. Wrong Description Of Prices
      committed in the "coverage territory" during the          "Personal and advertising injury" arising out of
      policy period.                                            the wrong description of the price of goods,
                                                                products    or services      stated    in  your
                                                                "advertisement".




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   i. Infringement Of Copyright, Patent,                     n. Pollution-related
      Trademark Or Trade Secret                                  Any loss, cost or expense arising out of any:
      "Personal and advertising injury" arising out of          (1) Request, demand, order or statutory or
      the infringement of copyright, patent, trademark,             regulatory requirement that any insured or
      trade secret or other intellectual property rights.           others test for, monitor, clean up, remove,
      Under this exclusion, such other intellectual                 contain, treat, detoxify or neutralize, or in any
      property rights do not include the use of                     way respond to, or assess the effects of,
      another s     advertising      idea    in     your            "pollutants"; or
      "advertisement".
                                                                (2) Claim or suit by or on behalf of a
      However, this exclusion does not apply to                     governmental authority for damages because
      infringement, in your "advertisement", of                     of testing for, monitoring, cleaning up,
      copyright, trade dress or slogan.                             removing, containing, treating, detoxifying or
   j. Insureds In Media And Internet Type Businesses                neutralizing, or in any way responding to, or
                                                                    assessing the effects of, "pollutants".
      "Personal and advertising injury" committed by
      an insured whose business is:                          o. War
     (1) Advertising, broadcasting, publishing or                "Personal and advertising injury", however
          telecasting;                                           caused, arising, directly or indirectly, out of:
     (2) Designing or determining content of web                (1) War, including undeclared or civil war;
          sites for others; or                                  (2) Warlike action by a military force, including
     (3) An Internet search, access, content or service             action in hindering or defending against an
          provider.                                                 actual    or expected attack, by any
      However, this exclusion does not apply to                     government, sovereign or other authority
      Paragraphs 14.a., b. and c. of "personal and                  using military personnel or other agents; or
      advertising injury" under the Definitions section.        (3) Insurrection, rebellion, revolution, usurped
      For the purposes of this exclusion, the placing of            power, or action taken by governmental
      frames, borders or links, or advertising, for you             authority in hindering or defending against
      or others anywhere on the Internet, is not by                 any of these.
      itself, considered the business of advertising,        p. Recording And Distribution Of Material Or
      broadcasting, publishing or telecasting.                   Information In Violation Of Law
  k. Electronic Chatrooms Or Bulletin Boards                     "Personal and advertising injury" arising directly
      "Personal and advertising injury" arising out of an        or indirectly out of any action or omission that
      electronic chatroom or bulletin board the insured          violates or is alleged to violate:
      hosts, owns, or over which the insured exercises          (1) The Telephone Consumer Protection Act
      control.                                                       (TCPA), including any amendment of or
   l. Unauthorized Use Of Another s Name Or                          addition to such law;
      Product                                                   (2) The CAN-SPAM Act of 2003, including any
      "Personal and advertising injury" arising out of               amendment of or addition to such law;
      the unauthorized use of another s name or                 (3) The Fair Credit Reporting Act (FCRA), and
      product in your e-mail address, domain name or                 any amendment of or addition to such law,
      metatag, or any other similar tactics to mislead               including the Fair and Accurate Credit
      another s potential customers.                                 Transactions Act (FACTA); or
  m. Pollution                                                  (4) Any federal, state or local statute, ordinance
      "Personal and advertising injury" arising out of               or regulation, other than the TCPA, CAN-
      the actual, alleged or threatened discharge,                   SPAM Act of 2003 or FCRA and their
      dispersal, seepage, migration, release or                      amendments          and        additions,       that
      escape of "pollutants" at any time.                            addresses, prohibits, or limits the printing,
                                                                     dissemination,          disposal,        collecting,
                                                                     recording,         sending,           transmitting,
                                                                     communicating or distribution of material or
                                                                     information.




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COVERAGE C ---- MEDICAL PAYMENTS                              d. Workers Compensation And Similar Laws
1. Insuring Agreement                                            To a person, whether or not an "employee" of
   a. We will pay medical expenses as described                  any insured, if benefits for the "bodily injury" are
       below for "bodily injury" caused by an accident:          payable or must be provided under a workers
                                                                 compensation or disability benefits law or a
      (1) On premises you own or rent;                           similar law.
      (2) On ways next to premises you own or rent;           e. Athletics Activities
          or
                                                                 To a person injured while practicing, instructing
      (3) Because of your operations;                            or participating in any physical exercises or
       provided that:                                            games, sports, or athletic contests.
          (a) The accident takes place in the "coverage       f. Products-Completed Operations Hazard
              territory" and during the policy period;           Included      within    the    "products-completed
          (b) The expenses are incurred and reported             operations hazard".
              to us within one year of the date of the       g. Coverage A Exclusions
              accident; and
                                                                 Excluded under Coverage A.
          (c) The      injured    person     submits   to
              examination, at        our expense, by SUPPLEMENTARY PAYMENTS ---- COVERAGES A AND
              physicians of our choice as often as we B
              reasonably require.                         1. We will pay, with respect to any claim we investigate
   b. We will make these payments regardless of fault.       or settle, or any "suit" against an insured we defend:
       These payments will not exceed the applicable         a. All expenses we incur.
       limit of insurance. We will pay reasonable            b. Up to $250 for cost of bail bonds required
       expenses for:                                             because of accidents or traffic law violations
      (1) First aid administered at the time of an               arising out of the use of any vehicle to which the
           accident;                                             Bodily Injury Liability Coverage applies. We do
      (2) Necessary medical, surgical, X-ray and dental          not have to furnish these bonds.
           services, including prosthetic devices; and       c. The cost of bonds to release attachments, but
      (3) Necessary ambulance, hospital, professional            only for bond amounts within the applicable limit
           nursing and funeral services.                         of insurance. We do not have to furnish these
                                                                 bonds.
2. Exclusions
                                                             d. All reasonable expenses incurred by the insured
   We will not pay expenses for "bodily injury":                 at our request to assist us in the investigation or
   a. Any Insured                                                defense of the claim or "suit", including actual
                                                                 loss   of earnings up to $250 a day because of
       To any insured, except "volunteer workers".
                                                                 time off from work.
   b. Hired Person
                                                             e. All court costs taxed against the insured in the
       To a person hired to do work for or on behalf of          "suit". However, these payments do not include
       any insured or a tenant of any insured.                   attorneys fees or attorneys expenses taxed
   c. Injury On Normally Occupied Premises                       against the insured.
       To a person injured on that part of premises you      f.  Prejudgment interest awarded against the
       own or rent that the person normally                      insured on that part of the judgment we pay. If
       occupies.                                                 we   make an offer to pay the applicable limit of
                                                                 insurance, we will not pay any prejudgment
                                                                 interest based on that period of time after the
                                                                 offer.




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   g. All interest on the full amount of any judgment        So long as the above conditions are met,
        that accrues after entry of the judgment and         attorneys fees incurred by us in the defense of that
        before we have paid, offered to pay, or deposited    indemnitee, necessary litigation expenses incurred
        in court the part of the judgment that is within the by us and necessary litigation expenses incurred by
        applicable limit of insurance.                       the indemnitee at our request will be paid as
   These payments will not reduce the limits of              Supplementary Payments. Notwithstanding the
   insurance.                                                provisions of Paragraph 2.b.(2) of Section I ----
                                                             Coverage A ---- Bodily Injury And Property Damage
2. If we defend an insured against a "suit" and an           Liability, such payments will not be deemed to be
   indemnitee of the insured is also named as a party to     damages for "bodily injury" and "property damage"
   the "suit", we will defend that indemnitee if all of the  and will not reduce the limits of insurance.
   following conditions are met:
                                                             Our obligation to defend an insured s indemnitee
   a. The "suit" against the indemnitee seeks damages        and to pay for attorneys fees and necessary
        for which the insured has assumed the liability of   litigation expenses as Supplementary Payments
        the indemnitee in a contract or agreement that is    ends when we have used up the applicable limit of
        an "insured contract";                               insurance in the payment of judgments or
   b. This insurance applies to such liability assumed       settlements or the conditions set forth above, or the
        by the insured;                                      terms of the agreement described in Paragraph f.
                                                             above,   are no longer met.
   c. The obligation to defend, or the cost of the
        defense of, that indemnitee, has also been SECTION II ---- WHO IS AN INSURED
        assumed by the insured in the same "insured 1. If you are designated in the Declarations as:
        contract";
                                                             a. An individual, you and your spouse are insureds,
   d. The allegations in the "suit" and the information           but only with respect to the conduct of a
        we know about the "occurrence" are such that no           business of which you are the sole owner.
        conflict appears to exist between the interests of
        the insured and the interests of the indemnitee;     b. A partnership or joint venture, you are an
                                                                  insured. Your members, your partners, and their
   e. The indemnitee and the insured ask us to                    spouses are also insureds, but only with respect
        conduct and control the defense of that                   to the conduct of your business.
        indemnitee against such "suit" and agree that we
        can assign the same counsel to defend the            c. A limited liability company, you are an insured.
        insured and the indemnitee; and                           Your members are also insureds, but only with
                                                                  respect to the conduct of your business. Your
    f. The indemnitee:                                            managers are insureds, but only with respect to
       (1) Agrees in writing to:                                  their duties as your managers.
         (a) Cooperate with us in the investigation,         d. An organization other than a partnership, joint
             settlement or defense of the "suit";               venture or limited liability company, you are an
                                                                insured. Your "executive officers" and directors
         (b) Immediately send us copies of any
                                                                are insureds, but only with respect to their duties
             demands, notices, summonses or legal
                                                                as your officers or directors. Your stockholders
             papers received in connection with the
                                                                are also insureds, but only with respect to their
             "suit";
                                                                liability as stockholders.
         (c) Notify any other insurer whose coverage
                                                             e. A trust, you are an insured. Your trustees are
             is available to the indemnitee; and
                                                                also insureds, but only with respect to their
         (d) Cooperate with us with respect to                  duties as trustees.
             coordinating other applicable insurance
             available to the indemnitee; and
     (2) Provides us with written authorization to:
         (a) Obtain records and other information
             related to the "suit"; and
        (b) Conduct and control the defense of the
             indemnitee in such "suit".




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2. Each of the following is also an insured:                    c. Any person or organization having proper
   a. Your "volunteer workers" only while performing                temporary custody of your property if you die,
       duties related to the conduct of your business,              but only:
       or your "employees", other than either your                 (1) With respect to liability arising out of the
       "executive officers" (if you are an organization                 maintenance or use of that property; and
       other than a partnership, joint venture or limited          (2) Until your legal representative has been
       liability company) or your managers (if you are a                appointed.
       limited liability company), but only for acts within
       the scope of their employment by you or while            d. Your legal representative if you die, but only with
       performing duties related to the conduct of your             respect to duties as such. That representative will
       business. However, none of these "employees"                 have all your rights and duties under this
       or "volunteer workers" are insureds for:                     Coverage Part.
      (1) "Bodily injury" or "personal and advertising 3. Any organization you newly acquire or form, other
           injury":                                             than a partnership, joint venture or limited liability
                                                                company, and over which you maintain ownership
          (a) To you, to your partners or members (if           or majority interest, will qualify as a Named Insured if
                you are a partnership or joint venture), to     there is no other similar insurance available to that
                your members (if you are a limited liability    organization. However:
                company), to a co-"employee" while in the
                course of his or her employment or              a. Coverage under this provision is afforded only
                performing duties related to the conduct            until the 90th day after you acquire or form the
                of your business, or to your other                  organization or the end of the policy period,
                "volunteer workers" while performing                whichever is earlier;
                duties related to the conduct of your           b. Coverage A does not apply to "bodily injury" or
                business;                                           "property damage" that occurred before you
          (b) To the spouse, child, parent, brother or              acquired  or formed the organization; and
                sister of that co-"employee" or "volunteer      c. Coverage B does not apply to "personal and
                worker" as a consequence of Paragraph               advertising injury" arising out of an offense
                (1)(a) above;                                       committed before you acquired or formed the
          (c) For which there is any obligation to share            organization.
                damages with or repay someone else who No person or organization is an insured with respect to
                must pay damages because of the injury the conduct of any current or past partnership, joint
                described in Paragraph (1)(a) or (b) venture or limited liability company that is not shown as
                above; or                                    a Named Insured in the Declarations.
          (d) Arising out of his or her providing or SECTION III ---- LIMITS OF INSURANCE
                failing to provide professional health care 1. The Limits of Insurance shown in the Declarations
                services.                                       and the rules below fix the most we will pay
      (2) "Property damage" to property:                        regardless of the number of:
          (a) Owned, occupied or used by;                       a. Insureds;
          (b) Rented to, in the care, custody or control        b. Claims made or "suits" brought; or
                of, or over which physical control is being     c. Persons or organizations making claims or
                exercised for any purpose by;                       bringing "suits".
           you, any of your "employees", "volunteer 2. The General Aggregate Limit is the most we will pay
           workers", any partner or member (if you are a        for the sum of:
           partnership or joint venture), or any member
           (if you are a limited liability company).            a. Medical expenses under Coverage C;
   b. Any person (other than your "employee" or                 b.  Damages under Coverage A, except damages
       "volunteer worker"), or any organization while               because of "bodily injury" or "property damage"
       acting as your real estate manager.                          included in the "products-completed operations
                                                                    hazard"; and
                                                                c. Damages under Coverage B.




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3. The Products-Completed Operations Aggregate                      (3) The nature and location of any injury or
   Limit is the most we will pay under Coverage A for                    damage arising out of the "occurrence" or
   damages because of "bodily injury" and "property                      offense.
   damage" included in the "products-completed                   b. If a claim is made or "suit" is brought against any
   operations hazard".                                               insured, you must:
4. Subject to Paragraph 2. above, the Personal And                  (1) Immediately record the specifics of the claim
   Advertising Injury Limit is the most we will pay under                or "suit" and the date received; and
   Coverage B for the sum of all damages because of
   all "personal and advertising injury" sustained by any           (2) Notify us as soon as practicable.
   one person or organization.                                       You must see to it that we receive written notice
5. Subject to Paragraph 2. or 3. above, whichever                    of the claim or "suit" as soon as practicable.
   applies, the Each Occurrence Limit is the most we             c. You and any other involved insured must:
   will pay for the sum of:
                                                                    (1) Immediately send us copies of any demands,
   a. Damages under Coverage A; and                                      notices, summonses or legal papers received
    b. Medical expenses under Coverage C                                 in connection with the claim or "suit";
    because of all "bodily injury" and "property damage"            (2) Authorize us to obtain records and other
    arising out of any one "occurrence".                                 information;
6. Subject to Paragraph 5. above, the Damage To                     (3) Cooperate with us in the investigation or
    Premises Rented To You Limit is the most we will                     settlement of the claim or defense against the
    pay under Coverage A for damages because of                          "suit"; and
    "property damage" to any one premises, while rented             (4) Assist us, upon our request, in the
    to you, or in the case of damage by fire, while rented               enforcement of any right against any person
    to you or temporarily occupied by you with                            or organization which may be liable to the
    permission of the owner.                                             insured because of injury or damage to which
7. Subject to Paragraph 5. above, the Medical Expense                    this insurance may also apply.
    Limit is the most we will pay under Coverage C for           d. No insured will, except at that insured s own
    all medical expenses because of "bodily injury"                  cost, voluntarily make a payment, assume any
    sustained by any one person.                                     obligation, or incur any expense, other than for
The Limits of Insurance of this Coverage Part apply                  first aid, without our consent.
separately to each consecutive annual period and to           3. Legal Action Against Us
any remaining period of less than 12 months, starting            No person or organization has a right under this
with the beginning of the policy period shown in the             Coverage Part:
Declarations, unless the policy period is extended after
issuance for an additional period of less than 12                a. To join us as a party or otherwise bring us into a
months. In that case, the additional period will be                  "suit" asking for damages from an insured; or
deemed part of the last preceding period for purposes            b. To sue us on this Coverage Part unless all of its
of determining the Limits of Insurance.                              terms have been fully complied with.
SECTION IV ---- COMMERCIAL GENERAL LIABILITY                     A person or organization may sue us to recover on
CONDITIONS                                                       an agreed settlement or on a final judgment
1. Bankruptcy                                                    against an insured; but we will not be liable for
                                                                 damages that are not payable under the terms of
    Bankruptcy or insolvency of the insured or of the            this Coverage Part or that are in excess of the
    insured s estate will not relieve us of our obligations
                                                                 applicable limit of insurance. An agreed settlement
    under this Coverage Part.
                                                                 means a settlement and release of liability signed
2. Duties In The Event Of Occurrence, Offense, Claim             by us, the insured and the claimant or the
    Or Suit                                                      claimant s legal representative.
   a. You must see to it that we are notified as soon as
       practicable of an "occurrence" or an offense
       which may result in a claim. To the extent
       possible, notice should include:
      (1) How, when and where the "occurrence" or
          offense took place;
      (2) The names and addresses of any injured
          persons and witnesses; and


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4. Other Insurance                                               (3) When this insurance is excess over other
   If other valid and collectible insurance is available              insurance, we will pay only our share of the
   to the insured for a loss we cover under Coverages                 amount of the loss, if any, that exceeds the
   A or B of this Coverage Part, our obligations are                  sum of:
   limited as follows:                                               (a) The total amount that all such other
   a. Primary Insurance                                                    insurance would pay for the loss in the
                                                                          absence of this insurance; and
       This insurance is primary except when
       Paragraph b. below applies. If this insurance is              (b) The total of all deductible and self-insured
       primary, our obligations are not affected unless                   amounts under all that other insurance.
       any of the other insurance is also primary. Then,         (4) We will share the remaining loss, if any, with
       we will share with all that other insurance by the             any other insurance that is not described in
       method described in Paragraph c. below.                        this Excess Insurance provision and was not
                                                                      bought specifically to apply in excess of the
   b. Excess Insurance
                                                                      Limits of Insurance shown in the Declarations
      (1) This insurance is excess over:                              of this Coverage Part.
          (a) Any of the other insurance, whether              c. Method Of Sharing
               primary, excess, contingent or on any
               other basis:                                       If all of the other insurance permits contribution
                                                                  by equal shares, we will follow this method also.
               (i) That is Fire, Extended Coverage,               Under this approach each insurer contributes
                   Builder s Risk, Installation Risk or           equal amounts until it has paid its applicable limit
                   similar coverage for "your work";              of insurance or none of the loss remains,
              (ii) That is Fire insurance for premises            whichever comes first.
                   rented to you or temporarily occupied          If any of the other insurance does not permit
                   by you with permission of the owner;           contribution by equal shares, we will contribute
             (iii) That is insurance purchased by you to          by limits. Under this method, each insurer s
                   cover your liability as a tenant for           share is based on the ratio of its applicable limit
                   "property damage" to premises rented           of insurance to the total applicable limits of
                   to you or temporarily occupied by you          insurance of all insurers.
                   with permission of the owner; or         5. Premium Audit
             (iv) If the loss arises out of the                  a. We will compute all premiums for this Coverage
                   maintenance or use of aircraft, "autos"          Part in accordance with our rules and rates.
                   or watercraft to the extent not subject
                   to Exclusion g. of Section I ----             b. Premium shown in this Coverage Part as
                   Coverage A ---- Bodily Injury And                advance premium is a deposit premium only. At
                   Property Damage Liability.                       the close of each audit period we will compute
                                                                    the earned premium for that period and send
         (b) Any other primary insurance available to               notice to the first Named Insured. The due date
              you covering liability for damages arising            for audit and retrospective premiums is the date
               out of the premises or operations, or the            shown as the due date on the bill. If the sum of
               products and completed operations, for               the advance and audit premiums paid for the
               which you have been added as an                      policy period is greater than the earned premium,
              additional insured.                                   we will return the excess to the first Named
      (2) When this insurance is excess, we will have               Insured.
           no duty under Coverages A or B to defend              c. The first Named Insured must keep records of
           the insured against any "suit" if any other              the information we need for premium
           insurer has a duty to defend the insured                 computation, and send us copies at such times
           against that "suit". If no other insurer defends,        as we may request.
           we will undertake to do so, but we will be
           entitled      to     the      insured s     rights 6. Representations
           against all those other insurers.                     By accepting this policy, you agree:
                                                                 a. The statements in the Declarations are
                                                                    accurate and complete;




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   b. Those        statements      are     based      upon      However, "auto" does not include "mobile
        representations you made to us; and                     equipment".
    c. We have issued this policy in reliance upon your 3. "Bodily injury" means bodily injury, sickness or
        representations.                                        disease sustained by a person, including death
7. Separation Of Insureds                                       resulting from any of these at any time.
   Except with respect to the Limits of Insurance, and 4. "Coverage territory" means:
   any rights or duties specifically assigned in this           a. The United States of America (including its
   Coverage Part to the first Named Insured, this                    territories and possessions), Puerto Rico and
   insurance applies:                                                Canada;
   a. As if each Named Insured were the only Named              b. International waters or airspace, but only if the
        Insured; and                                                 injury or damage occurs in the course of travel
                                                                     or transportation between any places included in
   b. Separately to each insured against whom claim is
        made or "suit" is brought.                                   Paragraph    a. above; or
8. Transfer Of Rights Of Recovery Against Others To              c.  All  other   parts  of the world if the injury or
   Us                                                                damage    arises out of:
   If the insured has rights to recover all or part of any          (1) Goods or products made or sold by you in
   payment we have made under this Coverage Part,                        the territory described in Paragraph a. above;
   those rights are transferred to us. The insured must             (2) The activities of a person whose home is in
   do nothing after loss to impair them. At our request,                 the territory described in Paragraph a. above,
   the insured will bring "suit" or transfer those rights to             but is away for a short time on your business;
   us and help us enforce them.                                          or
9. When We Do Not Renew                                             (3) "Personal and advertising injury" offenses that
   If we decide not to renew this Coverage Part, we will                 take place through the Internet or similar
   mail or deliver to the first Named Insured shown in                   electronic  means of communication;
   the Declarations written notice of the nonrenewal not        provided the insured s responsibility to pay
   less than 30 days before the expiration date.                damages is determined in a "suit" on the merits, in
                                                                the territory described in Paragraph a. above or in a
   If notice is mailed, proof of mailing will be sufficient
   proof of notice.                                             settlement we agree to.
SECTION V ---- DEFINITIONS                                   5. "Employee" includes a "leased worker". "Employee"
                                                                does not include a "temporary worker".
1. "Advertisement" means a notice that is broadcast or
   published to the general public or specific market        6. "Executive officer" means a person holding any of
   segments about your goods, products or services              the officer positions created by your charter,
   for the purpose of attracting customers or                   constitution, bylaws or any other similar governing
   supporters. For the purposes of this definition:             document.
   a. Notices that are published include material            7. "Hostile fire" means one which becomes
        placed on the Internet or on similar electronic         uncontrollable or breaks out from where it was
        means of communication; and                             intended to be.
   b. Regarding web sites, only that part of a web site 8. "Impaired property" means tangible property, other
        that is about your goods, products or services          than "your product" or "your work", that cannot be
        for the purposes of attracting customers or             used or is less useful because:
        supporters is considered an advertisement.              a. It incorporates "your product" or "your work" that
                                                                     is known or thought to be defective, deficient,
2. "Auto" means:
                                                                     inadequate or dangerous; or
   a. A land motor vehicle, trailer or semitrailer
        designed for travel on public roads, including          b.   You have failed to fulfill the terms of a contract or
        any attached machinery or equipment; or                      agreement;
   b. Any other land vehicle that is subject to a               if such property can be restored to use by the
        compulsory or financial responsibility law or           repair, replacement, adjustment or removal of "your
        other motor vehicle insurance law where it is           product" or "your work" or your fulfilling the
        licensed or principally garaged.                        terms of the contract or agreement.




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9. "Insured contract" means:                             10. "Leased worker" means a person leased to you by
   a. A contract for a lease of premises. However,           a labor leasing firm under an agreement between
       that portion of the contract for a lease of           you   and the labor leasing firm, to perform duties
       premises that indemnifies any person or               related  to the conduct of your business. "Leased
       organization for damage by fire to premises while     worker" does not include a "temporary worker".
       rented to you or temporarily occupied by you 11. "Loading or unloading" means the handling of
       with permission of the owner is not an "insured       property:
       contract";                                            a. After it is moved from the place where it is
   b. A sidetrack agreement;                                     accepted for movement into or onto an aircraft,
   c. Any easement or license agreement, except in               watercraft or "auto";
       connection with construction or demolition            b. While it is in or on an aircraft, watercraft or
       operations on or within 50 feet of a railroad;            "auto"; or
   d. An obligation, as required by ordinance, to             c. While it is being moved from an aircraft,
       indemnify a municipality, except in connection              watercraft or "auto" to the place where it is finally
       with work for a municipality;                               delivered;
   e. An elevator maintenance agreement;                      but "loading or unloading" does not include the
   f. That part of any other contract or agreement            movement of property by means of a mechanical
       pertaining to your business (including an              device, other than a hand truck, that is not attached
       indemnification of a municipality in connection        to the aircraft, watercraft or "auto".
       with work performed for a municipality) under 12. "Mobile equipment" means any of the following types
       which you assume the tort liability of another         of land vehicles, including any attached machinery
       party to pay for "bodily injury" or "property          or equipment:
       damage" to a third person or organization. Tort        a. Bulldozers, farm machinery, forklifts and other
       liability means a liability that would be imposed           vehicles designed for use principally off public
       by law in the absence of any contract or                    roads;
       agreement.
                                                              b. Vehicles maintained for use solely on or next to
       Paragraph f. does not include that part of any              premises you own or rent;
       contract or agreement:
                                                              c. Vehicles that travel on crawler treads;
      (1) That indemnifies a railroad for "bodily injury"
           or "property damage" arising out of                d. Vehicles,        whether   self-propelled or not,
           construction or demolition operations, within           maintained primarily to provide mobility to
           50 feet of any railroad property and affecting          permanently mounted:
           any railroad bridge or trestle, tracks, road-          (1) Power cranes, shovels, loaders, diggers or
           beds, tunnel, underpass or crossing;                        drills; or
      (2) That indemnifies an architect, engineer or              (2) Road construction or resurfacing equipment
           surveyor for injury or damage arising out of:               such as graders, scrapers or rollers;
          (a) Preparing, approving, or failing to prepare     e. Vehicles not described in Paragraph a., b., c. or
                or approve, maps, shop drawings,                   d. above that are not self-propelled and are
                opinions, reports, surveys, field orders,          maintained primarily to provide mobility to
                change      orders or        drawings and          permanently attached equipment of the following
                specifications; or                                 types:
          (b) Giving directions or instructions, or failing       (1) Air compressors, pumps and generators,
                to give them, if that is the primary cause of          including     spraying,     welding,   building
                the injury or damage; or                               cleaning, geophysical exploration, lighting
      (3) Under which the insured, if an architect,                    and well servicing equipment; or
           engineer or surveyor, assumes liability for an         (2) Cherry pickers and similar devices used to
           injury or damage arising out of the                         raise or lower workers;
           insured s rendering or failure to render            f. Vehicles not described in Paragraph a., b., c. or
           professional services, including those listed           d. above maintained primarily for purposes other
           in (2) above and supervisory, inspection,               than the transportation of persons or
           architectural or engineering activities.                cargo.




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         However, self-propelled vehicles with the 16. "Products-completed operations hazard":
         following types of permanently attached                   a. Includes all "bodily injury" and             "property
         equipment are not "mobile equipment" but will be              damage" occurring away from premises you own
         considered "autos":                                           or rent and arising out of "your product" or "your
        (1) Equipment designed primarily for:                          work" except:
             (a) Snow removal;                                        (1) Products that are still in your physical
            (b) Road maintenance, but not construction                     possession; or
                  or resurfacing; or                                  (2) Work that has not yet been completed or
             (c) Street cleaning;                                          abandoned. However, "your work" will be
                                                                           deemed completed at the earliest of the
        (2) Cherry pickers and similar devices mounted                     following times:
              on automobile or truck chassis and used to
                                                                          (a) When all of the work called for in your
              raise or lower workers; and
                                                                               contract has been completed.
        (3) Air compressors, pumps and generators,
              including     spraying,   welding,      building            (b)  When    all of the work to be done at the job
              cleaning, geophysical exploration, lighting                      site  has   been completed if your contract
              and well servicing equipment.                                    calls for  work  at more than one job site.
    However, "mobile equipment" does not include any                      (c) When that part of the work done at a job
    land vehicles that are subject to a compulsory or                          site has been put to its intended use by
    financial responsibility law or other motor vehicle                        any    person or organization other than
    insurance law where it is licensed or principally                          another      contractor or subcontractor
    garaged. Land vehicles subject to a compulsory or                          working    on  the same project.
    financial responsibility law or other motor vehicle                    Work that may need service, maintenance,
    insurance law are considered "autos".                                  correction, repair or replacement, but which
13. "Occurrence" means an accident, including                              is otherwise complete, will be treated as
    continuous or repeated exposure to substantially the                   completed.
    same general harmful conditions.                               b. Does not include "bodily injury" or "property
14. "Personal and advertising injury" means injury,                    damage" arising out of:
    including consequential "bodily injury", arising out of           (1) The transportation of property, unless the
    one or more of the following offenses:                                 injury or damage arises out of a condition in
    a. False arrest, detention or imprisonment;                            or on a vehicle not owned or operated by
                                                                           you, and that condition was created by the
    b. Malicious prosecution;                                              "loading or unloading" of that vehicle by any
     c. The wrongful eviction from, wrongful entry into,                   insured;
         or invasion of the right of private occupancy of a           (2) The existence of tools, uninstalled equipment
         room, dwelling or premises that a person                          or abandoned or unused materials; or
         occupies, committed by or on behalf of its
         owner, landlord or lessor;                                   (3) Products or operations for which the
                                                                           classification, listed in the Declarations or in a
    d. Oral or written publication, in any manner, of                      policy Schedule, states that products-
         material that slanders or libels a person or                      completed operations are subject to the
         organization or disparages a person s or                          General Aggregate Limit.
         organization s goods, products or services;
                                                               17. "Property damage" means:
    e. Oral or written publication, in any manner, of
         material that violates a person s right of privacy;       a. Physical injury to tangible property, including all
                                                                       resulting loss of use of that property. All such
     f. The use of another s advertising idea in your                  loss of use shall be deemed to occur at the time
         "advertisement"; or                                           of the physical injury that caused it; or
    g. Infringing upon another s copyright, trade dress            b. Loss of use of tangible property that is not
         or slogan in your "advertisement".                            physically injured. All such loss of use shall be
15. "Pollutants" mean any solid, liquid, gaseous or                    deemed to occur at the time of the "occurrence"
    thermal irritant or contaminant, including smoke,                  that caused it.
    vapor, soot, fumes, acids, alkalis, chemicals and              For the purposes of this insurance, electronic data
    waste. Waste includes materials to be recycled,                is not tangible property.
    reconditioned or reclaimed.




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    As used in this definition, electronic data means       b. Includes:
    information, facts or programs stored as or on,            (1) Warranties or representations made at any
    created or used on, or transmitted to or from                  time with respect to the fitness, quality,
    computer      software, including systems and                  durability, performance or use of "your
    applications software, hard or floppy disks, CD-               product"; and
    ROMs, tapes, drives, cells, data processing devices
    or any other media which are used with                     (2) The providing of or failure to provide
    electronically controlled equipment.                           warnings or instructions.
18. "Suit" means a civil proceeding in which damages        c. Does not include vending machines or other
    because of "bodily injury", "property damage" or            property rented to or located for the use of
    "personal and advertising injury" to which this             others but not sold.
    insurance applies are alleged. "Suit" includes:     22. "Your work":
    a. An arbitration proceeding in which such              a. Means:
        damages are claimed and to which the insured
                                                               (1) Work or operations performed by you or on
        must submit or does submit with our consent; or
                                                                   your behalf; and
    b. Any other alternative dispute resolution                (2) Materials, parts or equipment furnished in
        proceeding in which such damages are claimed               connection with such work or operations.
        and to which the insured submits with our
        consent.                                            b. Includes:
19. "Temporary worker" means a person who is                   (1) Warranties or representations made at any
    furnished to you to substitute for a permanent                 time with respect to the fitness, quality,
    "employee" on leave or to meet seasonal or short-              durability, performance or use of "your work";
    term workload conditions.                                      and
20. "Volunteer worker" means a person who is not your          (2) The providing of or failure to provide
    "employee", and who donates his or her work and                warnings or instructions.
    acts at the direction of and within the scope of
    duties determined by you, and is not paid a fee,
    salary or other compensation by you or anyone else
    for their work performed for you.
21. "Your product":
    a. Means:
      (1) Any goods or products, other than real
           property, manufactured, sold, handled,
           distributed or disposed of by:
          (a) You;
         (b) Others trading under your name; or
          (c) A person or organization whose business
               or assets you have acquired; and
      (2) Containers (other than vehicles), materials,
           parts or equipment furnished in connection
           with such goods or products.




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          f        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Policy No.f GLO 8196250-19                                      Effective Date: 03/01/2021
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         u
This endorsement modifies insurance provided under the:
          s
    Commercial
       t       General Liability Coverage Part
          n
          o
The following
          t   exclusion is added to paragraph 2. Exclusions of Section I – Coverage A – Bodily Injury And Property
Damage Liability and paragraph 2. Exclusions of Section I – Coverage B – Personal And Advertising Injury
Liability: b
          e
2. Exclusions
          p
          l
    This insurance does not apply to:
          a
    Fungic or Bacteria
          e
    A. "Bodily
         d     injury", "property damage" or "personal and advertising injury" caused directly or indirectly by the actual,
       alleged or threatened inhalation of, ingestion of, contact with, exposure to, existence of, or presence of any:
          a
        1.b "Fungi" or "bacteria"; or
          o
        2.v Substance, vapor or gas produced by or arising out of any "fungi" or "bacteria".
          e
    B. Loss, costs or expenses arising out of the abating, testing for, monitoring, cleaning up, removing, containing,
         t
       treating, detoxifying, neutralizing, remediating or disposing of, or in any way responding to, or assessing the
         h
       effects
         e
               of, "fungi" or "bacteria", by any insured or by any other person or entity.
    C. For the purposes of this exclusion, the following definitions are added:
          l
        1.o "Fungi" means any type or form of fungus, including mold or mildew and any mycotoxins, "spores", scents or
          g
          o
            by-products produced or released by fungi.
          .
        2.↑ "Spores" means reproductive bodies produced by or arising out of "fungi".

        3.T "Bacteria" means any type or form of bacteria and any materials or substances that are produced or released
          o by bacteria.
          p
    This exclusion applies to all diseases contracted by contact with "fungi" or "bacteria" in water, water vapor or water
          M
    droplets,
          a
              including but not limited to Legionnaire’s Disease. This exclusion does not apply to any "bodily injury" or
    "property
          r    damage" caused by any "fungi" or "bacteria" that are, are on, or are contained in, any other edible good or
    ediblegproduct intended for human or animal consumption.
          i
          n

All other terms,
           3     conditions, provisions and exclusions of this policy remain the same.
          /
          4
          "




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Asbestos Exclusion Endorsement
        Policy No.        Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.    Producer         Add’l Prem.           Return Prem.
     GLO 8196250-19         03/01/2021          03/01/2022                            92757000      $    INCL             $




                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Products/Completed Operations Liability Coverage Part
Owners and Contractors Protective Liability Coverage Part
Railroad Protective Liability Coverage Part


The following exclusion is added to paragraph 2. Exclusions of Section I - Coverages – Bodily Injury And Property Damage
Liability:
2.    Exclusions
      This insurance does not apply to:
      Asbestos
      A. "Bodily injury" or "property damage" arising out of or which would not have occurred, in whole or in part, but for the
         actual, alleged or threatened discharge, dispersal, release, leakage, leaching, friability, flaking, escape or presence of
         asbestos, regardless of whether any other cause, event, material or product contributed concurrently or in any sequence to
         the injury or damage; or
      B. Any sums that any insured or other entity must pay, repay or reimburse because of any:
          1.    Request, demand, order, statutory or regulatory requirement, direction or determination that any insured or others
                test for, investigate, monitor, clean up, remove, study, contain, treat, encapsulate, control or take any other action
                regarding asbestos; or
          2.    Claim or "suit" for damages arising out of or relating in any way to any request, demand, order, statutory or
                regulatory requirement, direction or determination that any insured or others test for, investigate, monitor, clean
                up, remove, study, contain, treat, encapsulate, control or take any other action regarding asbestos; or
      C. Any other loss, cost or expense arising out of or relating in any way to asbestos.




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Welding Health Hazard Exclusion

        Policy No.       Eff. Date of Pol.    Exp. Date of Pol.      Eff. Date of End.           Producer             Add’l Prem.           Return Prem.
     GLO 8196250-19        03/01/2021           03/01/2022                                      92757000          $    INCL             $




       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part
Owners and Contractors Protective Liability Coverage Form----Coverage For Operations of Designated Contractor
Products-Completed Operations Liability Coverage Part
Railroad Protective Liability Coverage Form

The following additional exclusion is added to 2. Exclusions of Section I. Coverages:

2.    Exclusions

      This insurance does not apply to:

      Welding Health Hazard

      "Bodily injury" caused directly or indirectly by the actual, alleged or threatened inhalation, ingestion, absorption, or ex-
      posure to harmful fumes or gases caused by "welding materials and equipment" used in connection with the process of
      welding or fusing together of any metals or other materials.
      For the purposes of this exclusion, the following definition applies:
          "Welding materials and equipment" means:
          (1) Welding machinery or other welding process equipment;
          (2) Welding rods;
          (3) Electrodes; or
          (4) Any consumable products including, but not limited to, wires, fluxes, coatings or cleaning agents.




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General Liability Supplemental Coverage Endorsement
                     f
                     o
                     r
     Policy No.      mEff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.   Producer No.     Add’l. Prem.        Return Prem.
                     m
                     u
                     s
                     t
                         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                     n
This endorsementomodifies insurance provided under the:
                     t
Commercial General Liability Coverage Part
                     b
                     e
The following changes
                p
                       apply to this Coverage Part. However, endorsements attached to this Coverage Part will
supersede any l provisions to the contrary in this General Liability Supplemental Coverage Endorsement.
                 a
                 c
A.     Broadened eNamed Insured
                 d
       1. The following is added to Section II – Who Is An Insured:
                     a
           Any organization
                   b        of yours, other than a partnership or joint venture, which is not shown in the Declarations, and
                   o you maintain an ownership interest of more than 50% of such organization as of the effective date of
           over which
                   v
           this Coverage Part, will qualify as a Named Insured. However, such organization will not qualify as a Named
                   e
           Insured under this provision if it:
           a.      Ist newly acquired or formed during the policy period;
                     h
           b.      Isealso an insured under another policy, other than a policy written to apply specifically in excess of this
                   Coverage
                     l
                              Part; or
           c.        o
                   Would  be an insured under another policy but for its termination or the exhaustion of its limits of
                     g
                   insurance.
                     o
           Each such organization remains qualified as a Named Insured only while you maintain an ownership interest of
                  ↑ 50% in the organization during the policy period.
           more than
       2. The lastTparagraph of Section II – Who Is An Insured does not apply to this provision to the extent that such
          paragraph
                  o would conflict with this provision.
                     p
B.     Newly Acquired or Formed Organizations as Named Insureds
                     M
       1. Paragraph
                 a 3. of Section II – Who Is An Insured is replaced by the following:
                    r
           3.      Any
                    g
                       organization you newly acquire or form during the policy period, other than a partnership or joint
                   venture,
                    i       and over which you maintain an ownership interest of more than 50% of such organization, will
                   qualify
                    n      as a Named Insured if there is no other similar insurance available to that organization. However:
                   a.3 Coverage under this provision is afforded only until the 180th day after you acquire or form the
                     / organization or the end of the policy period, whichever is earlier;
                     4
                   b." Coverage A does not apply to "bodily injury" or "property damage" that occurred before you acquired
                       or formed the organization; and
                   c. Coverage B does not apply to "personal and advertising injury" arising out of an offense committed
                      before you acquired or formed the organization.
                   An additional premium will apply in accordance with our rules and rates in effect on the date you acquired
                   or formed the organization.




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       2. The last paragraph of Section II – Who Is An Insured does not apply to this provision to the extent that such
          paragraph would conflict with this provision.
C.     Insured Status – Employees
       Paragraph 2.a.(1) of Section II – Who Is An Insured is replaced by the following:
       2. Each of the following is also an insured:
           a.    Your "volunteer workers" only while performing duties related to the conduct of your business, or your
                 "employees", other than either your "executive officers" (if you are an organization other than a
                 partnership, joint venture or limited liability company) or your managers (if you are a limited liability
                 company), but only for acts within the scope of their employment by you or while performing duties
                 related to the conduct of your business. However, none of these "employees" or "volunteer workers" are
                 insureds for:
                 (1) "Bodily injury" or "personal and advertising injury":
                      (a) To you, to your partners or members (if you are a partnership or joint venture), to your members
                          (if you are a limited liability company), to a co-"employee" while in the course of his or her
                          employment or performing duties related to the conduct of your business, or to your other
                          "volunteer workers" while performing duties related to the conduct of your business;
                      (b) To the spouse, child, parent, brother or sister of that co-"employee" or "volunteer worker" as a
                          consequence of Paragraph (1)(a) above;
                      (c) For which there is any obligation to share damages with or repay someone else who must pay
                          damages because of the injury described in Paragraphs (1)(a) or (b) above; or
                      (d) Arising out of his or her providing or failing to provide professional health care services.
                 However:
                 Paragraphs (1)(a) and (1)(d) do not apply to your "employees" or "volunteer workers", who are not
                 employed by you or volunteering for you as health care professionals, for "bodily injury" arising out of
                 "Good Samaritan Acts" while the "employee" or "volunteer worker" is performing duties related to the
                 conduct of your business.
                 "Good Samaritan Acts" mean any assistance of a medical nature rendered or provided in an emergency
                 situation for which no remuneration is demanded or received.
                 Paragraphs (1)(a), (b) and (c) do not apply to any "employee" designated as a supervisor or higher in
                 rank, with respect to "bodily injury" to co-"employees". As used in this provision, "employees" designated
                 as a supervisor or higher in rank means only "employees" who are authorized by you to exercise direct or
                 indirect supervision or control over "employees" or "volunteer workers" and the manner in which work is
                 performed.
D. Additional Insureds – Lessees of Premises
     1. Section II – Who Is An Insured is amended to include as an additional insured any person(s) or organization(s)
        who leases or rents a part of the premises you own or manage who you are required to add as an additional
        insured on this policy under a written contract or written agreement, but only with respect to liability arising out of
        your ownership, maintenance or repair of that part of the premises which is not reserved for the exclusive use or
        occupancy of such person or organization or any other tenant or lessee.
         This provision does not apply after the person or organization ceases to lease or rent premises from you.


         However, the insurance afforded to such additional insured:
         a. Only applies to the extent permitted by law; and
         b. Will not be broader than that which you are required by the written contract or written agreement to provide for
            such additional insured.
     2. With respect to the insurance afforded to the additional insureds under this endorsement, the following is added to
        Section III – Limits Of Insurance:



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             The most we will pay on behalf of the additional insured is the amount of insurance:
             a.      Required by the written contract or written agreement referenced in Subparagraph D.1. above (of this
                    endorsement); or
             b.     Available under the applicable Limits of Insurance shown in the Declarations,
             whichever is less.
             This Paragraph D. shall not increase the applicable Limits of Insurance shown in the Declarations.
E. Additional Insured – Vendors
   1. The following change applies if this Coverage Part provides insurance to you for "bodily injury" and "property
      damage" included in the "products-completed operations hazard":
             Section II – Who Is An Insured is amended to include as an additional insured any person or organization
             (referred to throughout this Paragraph E. as vendor) who you have agreed in a written contract or written
             agreement, prior to loss, to name as an additional insured, but only with respect to "bodily injury" or "property
             damage" arising out of "your products" which are distributed or sold in the regular course of the vendor's
             business:
             However, the insurance afforded to such vendor:
             a. Only applies to the extent permitted by law; and
             b. Will not be broader than that which you are required by the written contract or written agreement to provide for
                such vendor.
   2.               With respect to the insurance afforded to these vendors, the following additional exclusions apply:
        a.        The insurance afforded the vendor does not apply to:
                  (1)    "Bodily injury" or "property damage" for which the vendor is obligated to pay damages by reason of the
                         assumption of liability in a contract or agreement. This exclusion does not apply to liability for damages
                         that the vendor would have in the absence of the contract or agreement;
                  (2)    Any express warranty unauthorized by you;
                  (3)    Any physical or chemical change in the product made intentionally by the vendor;
                  (4)    Repackaging, except when unpacked solely for the purpose of inspection, demonstration, testing, or the
                         substitution of parts under instructions from the manufacturer, and then repackaged in the original
                         container;
                  (5)    Any failure to make such inspections, adjustments, tests or servicing as the vendor has agreed to make
                         or normally undertakes to make in the usual course of business, in connection with the distribution or sale
                         of the products;
                  (6)    Demonstration, installation, servicing or repair operations, except such operations performed at the
                         vendor's premises in connection with the sale of the product;
                  (7)    Products which, after distribution or sale by you, have been labeled or relabeled or used as a container,
                         part or ingredient of any other thing or substance by or for the vendor; or
                  (8)    "Bodily injury" or "property damage" arising out of the sole negligence of the vendor for its own acts or
                         omissions or those of its employees or anyone else acting on its behalf. However, this exclusion does not
                         apply to:
                         (a) The exceptions contained in Subparagraphs (4) or (6); or
                         (b) Such inspections, adjustments, tests or servicing as the vendor has agreed to make or normally
                             undertakes to make in the usual course of business, in connection with the distribution or sale of the
                             products.
        b.        This insurance does not apply to any insured person or organization, from whom you have acquired such
                  products, or any ingredient, part or container, entering into, accompanying or containing such products.
        c.        This insurance does not apply to any of "your products" for which coverage is excluded under this Coverage
                  Part.



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     3. With respect to the insurance afforded to the vendor under this endorsement, the following is added to Section III
        – Limits Of Insurance:
            The most we will pay on behalf of the vendor is the amount of insurance:
            a.         Required by the written contract or written agreement referenced in Subparagraph E.1. above (of this
                      endorsement); or
            b. Available under the applicable Limits of Insurance shown in the Declarations,
            whichever is less.
            This Paragraph E. shall not increase the applicable Limits of Insurance shown in the Declarations.
F.        Additional Insured – Managers, Lessors or Governmental Entity
          1. Section II – Who Is An Insured is amended to include as an insured any person or organization who is a
             manager, lessor or governmental entity who you are required to add as an additional insured on this policy
             under a written contract, written agreement or permit, but only with respect to liability for "bodily injury",
             "property damage" or "personal and advertising injury" caused, in whole or in part, by:
                 a. Your acts or omissions; or
                 b.     The acts or omission of those acting on your behalf; and
                 resulting directly from:
                 a.      Operations performed by you or on your behalf for which the state or political subdivision has issued a
                        permit;
                 b.     Ownership, maintenance, occupancy or use of premises by you; or
                 c.     Maintenance, operation or use by you of equipment leased to you by such person or organization.
                 However, the insurance afforded to such additional insured:
                 a. Only applies to the extent permitted by law; and
                 b. Will not be broader than that which you are required by the written contract or written agreement to provide
                    for such additional insured.
     2. This provision does not apply:
            a. Unless the written contract or written agreement has been executed, or the permit has been issued, prior to
               the "bodily injury", "property damage" or offense that caused "personal and advertising injury";
            b. To any person or organization included as an insured under Paragraph 3. of Section II – Who Is An Insured;


            c. To any lessor of equipment if the "occurrence" or offense takes place after the equipment lease expires;
            d. To any:
                      (1) Owners or other interests from whom land has been leased by you; or
                      (2) Managers or lessors of premises, if:
                          (a) The "occurrence" or offense takes place after the expiration of the lease or you cease to be a tenant
                              in that premises;
                          (b) The "bodily injury", "property damage" or "personal and advertising injury" arises out of the structural
                              alterations, new construction or demolition operations performed by or on behalf of the manager or
                              lessor; or
                          (c) The premises are excluded under this Coverage Part.
     3.            With respect to the insurance afforded to the additional insureds under this endorsement, the following is
                 added to Section III – Limits Of Insurance:
                 The most we will pay on behalf of the additional insured is the amount of insurance:
                 a. Required by the written contract or written agreement referenced in Subparagraph F.1. above (of this
                     endorsement); or


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            b. Available under the applicable Limits of Insurance shown in the Declarations,
            whichever is less.
            This Paragraph F. shall not increase the applicable Limits of Insurance shown in the Declarations.
G. Damage to Premises Rented or Occupied by You
     1. The last paragraph under Paragraph 2. Exclusions of Section I – Coverage A – Bodily Injury And Property
        Damage Liability is replaced by the following:
          Exclusions c. through n. do not apply to damage by "specific perils" to premises while rented to you or temporarily
          occupied by you with permission of the owner. A separate Damage To Premises Rented To You Limit of
          Insurance applies to this coverage as described in Section III – Limits Of Insurance.
     2. Paragraph 6. of Section III – Limits Of Insurance is replaced by the following:
          6. Subject to Paragraph 5. above, the Damage To Premises Rented To You Limit is the most we will pay under
             Coverage A for damages because of "property damage" to any one premises while rented to you, or in the
             case of damage by one or more "specific perils" to any one premises, while rented to you or temporarily
             occupied by you with permission of the owner.
H. Broadened Contractual Liability
     The "insured contract" definition under the Definitions Section is replaced by the following:
     "Insured contract" means:
     a. A contract for a lease of premises. However, that portion of the contract for a lease of premises that indemnifies
        any person or organization for damage by "specific perils" to premises while rented to you or temporarily occupied
        by you with permission of the owner is not an "insured contract";
     b. A sidetrack agreement;
     c. Any easement or license agreement;
     d. An obligation, as required by ordinance, to indemnify a municipality, except in connection with work for a
        municipality;
     e. An elevator maintenance agreement;
     f.   That part of any other contract or agreement pertaining to your business (including an indemnification of a
          municipality in connection with work performed for a municipality) under which you assume the tort liability of
          another party to pay for "bodily injury", "property damage", or "personal and advertising injury" arising out of the
          offenses of false arrest, detention or imprisonment, to a third person or organization. Tort liability means a liability
          that would be imposed by law in the absence of any contract or agreement.
          Paragraph f. does not include that part of any contract or agreement:
          (1) That indemnifies an architect, engineer or surveyor for injury or damage arising out of:
              (a) Preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports, surveys,
                  field orders, change orders or drawings and specifications; or
              (b) Giving directions or instructions, or failing to give them, if that is the primary cause of the injury or
                  damage; or
          (2) Under which the insured, if an architect, engineer or surveyor, assumes liability for an injury or damage
              arising out of the insured's rendering or failure to render professional services, including those listed in
              Paragraph (1) above and supervisory, inspection, architectural or engineering activities.
I.   Definition – Specific Perils
     The following definition is added to the Definitions Section:
     "Specific perils" means:
     a. Fire;
     b. Lightning;
     c. Explosion;



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   d. Windstorm or hail;
   e. Smoke;
   f.   Aircraft or vehicles;
   g. Vandalism;
   h. Weight of snow, ice or sleet;
   i.   Leakage from fire extinguishing equipment, including sprinklers; or
   j.   Accidental discharge or leakage of water or steam from any part of a system or appliance containing water or
        steam.
J. Limited Contractual Liability Coverage – Personal and Advertising Injury
   1. Exclusion e. of Section I – Coverage B – Personal And Advertising Injury Liability is replaced by the following:
        2. Exclusions
            This insurance does not apply to:
            e. Contractual Liability
                "Personal and advertising injury" for which the insured has assumed liability in a contract or agreement.
                This exclusion does not apply to:
                (1) Liability for damages that the insured would have in the absence of the contract or agreement; or
                (2) Liability for "personal and advertising injury" if:
                     (a) The "personal and advertising injury" arises out of the offenses of false arrest, detention or
                         imprisonment;
                     (b) The liability pertains to your business and is assumed in a written contract or written agreement in
                         which you assume the tort liability of another. Tort liability means a liability that would be
                         imposed by law in the absence of any contract or agreement; and
                     (c) The "personal and advertising injury" occurs subsequent to the execution of the written contract
                         or written agreement.
                     Solely for purposes of liability so assumed in such written contract or written agreement, reasonable
                     attorney fees and necessary litigation expenses incurred by or for a party other than an insured are
                     deemed to be damages because of "personal and advertising injury" described in Paragraph (a)
                     above, provided:
                     (i) Liability to such party for, or for the cost of, that party's defense has also been assumed in the
                         same written contract or written agreement; and
                     (ii) Such attorney fees and litigation expenses are for defense of that party against a civil or
                          alternative dispute resolution proceeding in which damages to which this insurance applies are
                          alleged.
   2. Paragraph 2.d. of Section I – Supplementary Payments – Coverages A and B is replaced by the following:
        d. The allegations in the "suit" and the information we know about the "occurrence" or offense are such that no
           conflict appears to exist between the interests of the insured and the interests of the indemnitee;
   3. The following is added to the paragraph directly following Paragraph 2.f. of Section I – Supplementary
      Payments – Coverages A and B:
        Notwithstanding the provisions of Paragraph 2.e.(2) of Section I – Coverage B – Personal And Advertising Injury
        Liability, such payments will not be deemed to be damages for "personal and advertising injury" and will not
        reduce the limits of insurance.
K. Supplementary Payments
   The following changes apply to Supplementary Payments – Coverages A and B:
   Paragraphs 1.b. and 1.d. are replaced by the following:



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   b. Up to $2,500 for the cost of bail bonds required because of accidents or traffic law violations arising out of the use
      of any vehicle to which the Bodily Injury Liability Coverage applies. We do not have to furnish these bonds.
   d. All reasonable expenses incurred by the insured at our request to assist us in the investigation or defense of the
      claim or "suit", including actual loss of earnings up to $500 a day because of time off from work.
L. Broadened Property Damage
   1. Property Damage to Contents of Premises Rented Short-Term
       The paragraph directly following Paragraph (6) in Exclusion j. of Section I – Coverage A – Bodily Injury And
       Property Damage Liability is replaced by the following:
       Paragraphs (1), (3) and (4) of this exclusion do not apply to "property damage" to premises (other than damage
       by "specific perils"), including "property damage" to the contents of such premises, rented to you under a rental
       agreement for a period of 14 or fewer consecutive days. A separate Limit of Insurance applies to Damage to
       Premises Rented to You as described in Section III – Limits Of Insurance.
   2. Elevator Property Damage
       a. The following is added to Exclusion j. of Section I – Coverage A – Bodily Injury And Property Damage
          Liability:
           Paragraphs (3) and (4) of this exclusion do not apply to "property damage" arising out of the use of an
           elevator at premises you own, rent or occupy.
       b. The following is added to Section III – Limits Of Insurance:
           Subject to Paragraph 5. above, the most we will pay under Coverage A for damages because of "property
           damage" to property loaned to you or personal property in the care, custody or control of the insured arising
           out of the use of an elevator at premises you own, rent or occupy is $25,000 per "occurrence".
   3. Property Damage to Borrowed Equipment
       a. The following is added to Exclusion j. of Section I – Coverage A – Bodily Injury And Property Damage
          Liability:
           Paragraph (4) of this exclusion does not apply to "property damage" to equipment you borrow from others at a
           jobsite.
       b. The following is added to Section III – Limits Of Insurance:
           Subject to Paragraph 5. above, the most we will pay under Coverage A for damages because of "property
           damage" to equipment you borrow from others is $25,000 per "occurrence".
M. Expected or Intended Injury or Damage
   Exclusion a. of Section I – Coverage A – Bodily Injury And Property Damage Liability is replaced by the following:
   a. Expected Or Intended Injury Or Damage
       "Bodily injury" or "property damage" expected or intended from the standpoint of the insured. This exclusion does
       not apply to "bodily injury" or "property damage" resulting from the use of reasonable force to protect persons or
       property.
N. Definitions – Bodily Injury
   The "bodily injury" definition under the Definitions Section is replaced by the following:
       "Bodily injury" means bodily injury, sickness or disease sustained by a person, including mental anguish, mental
       injury, shock, fright or death sustained by that person which results from that bodily injury, sickness or disease.
O. Insured Status – Amateur Athletic Participants
   Section II – Who Is An Insured is amended to include as an insured any person you sponsor while participating in
   amateur athletic activities. However, no such person is an insured for:
   a. "Bodily injury" to:
       (1) Your "employee", "volunteer worker" or any person you sponsor while participating in such amateur athletic
           activities; or



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       (2) You, any partner or member (if you are a partnership or joint venture), or any member (if you are a limited
           liability company) while participating in such amateur athletic activities; or
   b. "Property damage" to property owned by, occupied or used by, rented to, in the care, custody or control of, or
      over which the physical control is being exercised for any purpose by:
       (1) Your "employee", "volunteer worker" or any person you sponsor; or
       (2) You, any partner or member (if you are a partnership or joint venture), or any member (if you are a limited
           liability company).
P. Non-Owned Aircraft, Auto and Watercraft
   Exclusion g. of Section I – Coverage A – Bodily Injury And Property Damage Liability is replaced by the following:
   g. Aircraft, Auto Or Watercraft
       "Bodily injury" or "property damage" arising out of the ownership, maintenance, use or entrustment to others of
       any aircraft, "auto" or watercraft owned or operated by or rented or loaned to any insured. Use includes operation
       and "loading or unloading".
       This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in the
       supervision, hiring, employment, training or monitoring of others by that insured, if the "occurrence" which caused
       the "bodily injury" or "property damage" involved the ownership, maintenance, use or entrustment to others of any
       aircraft, "auto" or watercraft that is owned or operated by or rented or loaned to any insured.
       This exclusion does not apply to:
       (1) A watercraft while ashore on premises you own or rent;
       (2) A watercraft you do not own that is:
           (a) Less than 51 feet long; and
           (b) Not being used to carry persons for a charge;
       (3) Parking an "auto" on, or on the ways next to, premises you own or rent, provided the "auto" is not owned by
           or rented or loaned to you or the insured;
       (4) Liability assumed under any "insured contract" for the ownership, maintenance or use of aircraft or watercraft;
       (5) An aircraft that is hired or chartered by you or loaned to you, with a paid and licensed crew, and is not owned
           in whole or in part by an insured; or
       (6) "Bodily injury" or "property damage" arising out of:
           (a) The operation of machinery or equipment that is attached to, or part of, a land vehicle that would qualify
               under the definition of "mobile equipment" if it were not subject to a compulsory or financial responsibility
               law or other motor vehicle insurance law where it is licensed or principally garaged; or
           (b) The operation of any of the machinery or equipment listed in Paragraph f.(2) or f.(3) of the definition of
               "mobile equipment".
Q. Definitions – Leased Worker, Temporary Worker and Labor Leasing Firm
   1. The "leased worker" and "temporary worker" definitions under the Definitions Section are replaced by the
      following:
       "Leased worker" means a person leased to you by a "labor leasing firm" under a written agreement between you
       and the "labor leasing firm", to perform duties related to the conduct of your business. "Leased worker" does not
       include a "temporary worker".
       "Temporary worker" means a person who is furnished to you to support or supplement your work force during
       "employee" absences, temporary skill shortages, upturns or downturns in business or to meet seasonal or short-
       term workload conditions. "Temporary worker" does not include a "leased worker".
   2. The following definition is added to the Definitions Section:
       "Labor leasing firm" means any person or organization who hires out workers to others, including any:
       a. Employment agency, contractor or services;
       b. Professional employer organization; or


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            c. Temporary help service.
R. Definition – Mobile Equipment
     Paragraph f. of the "mobile equipment" definition under the Definitions Section is replaced by the following:
     f.     Vehicles not described in Paragraph a., b., c. or d. above maintained primarily for purposes other than the
            transportation of persons or cargo.
            However, self-propelled vehicles with the following types of permanently attached equipment, exceeding a
            combined gross vehicle weight of 1000 pounds, are not "mobile equipment" but will be considered "autos":
            (1) Equipment designed primarily for:
                (a) Snow removal;
                (b) Road maintenance, but not construction or resurfacing; or
                (c) Street cleaning;
            (2) Cherry pickers and similar devices mounted on automobile or truck chassis and used to raise or lower
                workers; and
            (3) Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
                exploration, lighting and well servicing equipment.
S. Definitions – Your Product and Your Work
     The "your product" and "your work" definitions under the Definitions Section are replaced by the following:
     "Your product":
     a. Means:
            (1) Any goods or products, other than real property, manufactured, sold, handled, distributed or disposed of by:
                (a) You;
                (b) Others trading under your name; or
                (c) A person or organization whose business or assets you have acquired; and
            (2) Containers (other than vehicles), materials, parts or equipment furnished in connection with such goods or
                products.
     b. Includes:
            (1) Warranties or representations made at any time with respect to the fitness, quality, durability, performance,
                use, handling, maintenance, operation or safety of "your product"; and
            (2) The providing of or failure to provide warnings or instructions.
     c. Does not include vending machines or other property rented to or located for the use of others but not sold.


     "Your work":
     a. Means:
            (1) Work, services or operations performed by you or on your behalf; and
            (2) Materials, parts or equipment furnished in connection with such work, services or operations.
     b. Includes:
            (1) Warranties or representations made at any time with respect to the fitness, quality, durability, performance,
                use, handling, maintenance, operation or safety of "your work"; and
            (2) The providing of or failure to provide warnings or instructions.
T.        Priority Condition
          The following paragraph is added to Section III – Limits Of Insurance:




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     In the event a claim is made or "suit" is brought against more than one insured seeking damages because of "bodily
     injury" or "property damage" caused by the same "occurrence" or "personal and advertising injury" caused by the
     same offense, we will apply the Limits of Insurance in the following order:
     (a) You;
     (b) Your "executive officers", partners, directors, stockholders, members, managers (if you are a limited liability
         company) or "employees"; and
     (c) Any other insured in any order that we choose.
U. Duties in the Event of Occurrence, Offense, Claim or Suit Condition
   The following paragraphs are added to Paragraph 2. Duties In The Event Of Occurrence, Offense, Claim Or Suit
   of Section IV – Commercial General Liability Conditions:
   Notice of an "occurrence" or of an offense which may result in a claim under this insurance or notice of a claim or
   "suit" shall be given to us as soon as practicable after knowledge of the "occurrence", offense, claim or "suit" has
   been reported to any insured listed under Paragraph 1. of Section II – Who Is An Insured or an "employee" authorized
   by you to give or receive such notice. Knowledge by other "employees" of an "occurrence", offense, claim or "suit"
   does not imply that you also have such knowledge.
   In the event that an insured reports an "occurrence" to the workers compensation carrier of the Named Insured and
   this "occurrence" later develops into a General Liability claim, covered by this Coverage Part, the insured's failure to
   report such "occurrence" to us at the time of the "occurrence" shall not be deemed to be a violation of this Condition.
   You must, however, give us notice as soon as practicable after being made aware that the particular claim is a
   General Liability rather than a Workers Compensation claim.
V. Other Insurance Condition
   Paragraphs 4.a. and 4.b.(1) of the Other Insurance Condition of Section IV – Commercial General Liability
   Conditions are replaced by the following:
   4. Other Insurance
       If other valid and collectible insurance is available to the insured for a loss we cover under Coverages A or B of
       this Coverage Part, our obligations are limited as follows:
       a. Primary Insurance
           This insurance is primary except when Paragraph b. below applies. If this insurance is primary, our
           obligations are not affected unless any of the other insurance is also primary. Then, we will share with all that
           other insurance by the method described in Paragraph c. below. However, this insurance is primary to and
           will not seek contribution from any other insurance available to an additional insured provided that:
           (1) The additional insured is a Named Insured under such other insurance; and
           (2) You are required by written contract or written agreement that this insurance be primary and not seek
               contribution from any other insurance available to the additional insured.
           Other insurance includes any type of self insurance or other mechanism by which an insured arranges for
           funding of its legal liabilities.
       b. Excess Insurance
           (1) This insurance is excess over:
                (a) Any of the other insurance, whether primary, excess, contingent or on any other basis:
                    (i) That is property insurance, Builder's Risk, Installation Risk or similar coverage for "your work";
                    (ii) That is property insurance purchased by you (including any deductible or self insurance portion
                         thereof) to cover premises rented to you or temporarily occupied by you with permission of the
                         owner;
                    (iii) That is insurance purchased by you (including any deductible or self insurance portion thereof) to
                          cover your liability as a tenant for "property damage" to premises rented to you or temporarily
                          occupied by you with permission of the owner;




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                     (iv) If the loss arises out of the maintenance or use of aircraft, "autos" or watercraft to the extent not
                          subject to Exclusion g. of Section I – Coverage A – Bodily Injury And Property Damage Liability;
                          or
                     (v) That is property insurance (including any deductible or self insurance portion thereof) purchased
                         by you to cover damage to:
                         Equipment you borrow from others; or
                         Property loaned to you or personal property in the care, custody or control of the insured arising
                         out of the use of an elevator at premises you own, rent or occupy.
                (b) Any other primary insurance (including any deductible or self insurance portion thereof) available to
                    the insured covering liability for damages arising out of the premises, operations, products, work or
                    services for which the insured has been granted additional insured status either by policy provision or
                    attachment of any endorsement. Other primary insurance includes any type of self insurance or other
                    mechanism by which an insured arranges for funding of its legal liabilities.
                (c) Any of the other insurance, whether primary, excess, contingent or on any other basis, available to an
                    additional insured, in which the additional insured on our policy is also covered as an additional
                    insured on another policy providing coverage for the same "occurrence", claim or "suit". This
                    provision does not apply to any policy in which the additional insured is a Named Insured on such
                    other policy and where our policy is required by written contract or written agreement to provide
                    coverage to the additional insured on a primary and non-contributory basis.
W. Unintentional Failure to Disclose All Hazards
     Paragraph 6. Representations of Section IV – Commercial General Liability Conditions is replaced by the
     following:
     6. Representations
        By accepting this policy, you agree:
        a. The statements in the Declarations are accurate and complete;
        b. Those statements are based upon representations you made to us; and
        c. We have issued this policy in reliance upon your representations.
        Coverage will continue to apply if you unintentionally:
        a. Fail to disclose all hazards existing at the inception of this policy; or
        b. Make an error, omission or improper description of premises or other statement of information stated in this
           policy.
        You must notify us as soon as possible after the discovery of any hazards or any other information that was not
        provided to us prior to inception of this Coverage Part.
X.    Waiver of Right of Subrogation
      Paragraph 8. Transfer Of Rights Of Recovery Against Others To Us of Section IV – Commercial General
      Liability Conditions is replaced by the following:
      8. Transfer Of Rights Of Recovery Against Others To Us


          a.    If the insured has rights to recover all or part of any payment we have made under this Coverage Part,
                those rights are transferred to us. The insured must do nothing after loss to impair them. At our request,
                the insured will bring "suit" or transfer those rights to us and help us enforce them.
          b.    If the insured waives its right to recover payments for injury or damage from another person or
                organization in a written contract executed prior to a loss, we waive any right of recovery we may have
                against such person or organization because of any payment we have made under this Coverage Part.
                The written contract will be considered executed when the insured's performance begins, or when it is
                signed, whichever happens first. This waiver of rights shall not be construed to be a waiver with respect
                to any other operations in which the insured has no contractual interest.



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Y.    Liberalization Condition
      The following condition is added to Section IV – Commercial General Liability Conditions:
      Liberalization Clause
      If we revise this Coverage Part to broaden coverage without an additional premium charge, your policy will
      automatically provide the additional coverage as of the day the revision is effective in the state shown in the mailing
      address of your policy.


All other terms and conditions of this policy remain unchanged.




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Asbestos Exclusion Endorsement


        Policy No.        Eff. Date of Pol.    Exp. Date of Pol.     Eff. Date of End.         Producer            Add’l Prem.           Return Prem.
     GLO 8196250-19         03/01/2021           03/01/2022                                   92757000         $    INCL             $



                          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:

Commercial General Liability Coverage Part



The following exclusion is added to paragraph 2. Exclusions of Section I - Coverage A – Bodily Injury And Property Damage
Liability and Coverage B - Personal And Advertising Injury Liability:
2.    Exclusions
      This insurance does not apply to:
      Asbestos
      A. "Bodily injury", "property damage" or "personal and advertising injury" arising out of or which would not have occurred,
         in whole or in part, but for the actual, alleged or threatened discharge, dispersal, release, leakage, leaching, friability,
         flaking, escape or presence of asbestos, regardless of whether any other cause, event, material or product contributed
         concurrently or in any sequence to the injury or damage; or
      B. Any sums that any insured or other entity must pay, repay or reimburse because of any:
          1.    Request, demand, order, statutory or regulatory requirement, direction or determination that any insured or others
                test for, investigate, monitor, clean up, remove, study, contain, treat, encapsulate, control or take any other action
                regarding asbestos; or
          2.    Claim or "suit" for damages arising out of or relating in any way to any request, demand, order, statutory or
                regulatory requirement, direction or determination that any insured or others test for, investigate, monitor, clean
                up, remove, study, contain, treat, encapsulate, control or take any other action regarding asbestos; or
      C. Any other loss, cost or expense arising out of or relating in any way to asbestos.




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Premium And Reports Agreement
Composite Rated Policies

                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under any of the following:
Commercial General Liability Coverage Part
Products/Completed Operations Liability Coverage Part
Owners Contractors Protective Coverage Part
Railroad Protective Coverage Part
                                                             Schedule
1.   Unit of Exposure:
          ☒ Gross sales          ☐ Area                                     ☐ Gallons
          ☐ Each                 ☐ Rooms                                    ☐ General Liability Payroll
          ☐ Admissions           ☐ Units                                    ☐ Rounds played
          ☐ Total Cost           ☐ Total Operating Expenditures             ☐ Occupied rooms
          ☐ Licensed Autos       ☐ Workers Compensation Payroll             ☐ Other


2.
           Coverage / Description                  Unit of Exposure                    Rate(s)          Estimated Premium(s)
     CA-PREM/OPS                          31,982,942
     CA-PROD                              31,982,942
     ALL OTHER UNIT
     PREM/OPS                             418,017,058
     PROD                                 418,017,058
     (Add more rows as required)
3. Deposit Premium:
4. Minimum Premium:


Condition 5, Premium Audit, of Section IV, Commercial General Liability Conditions, is replaced by the following:
5.   Premium Audit
     a.   We will compute all premiums for this Coverage Part according to our rules and the composite rates shown in the
          Schedule above or attached hereto.
     b. For policies other than Annual Reporting, the deposit premium shown in the Schedule is due and payable on the first day
        of the policy period. The first Named Insured will pay, within 20 days following the mailing or delivery of the statement
        of audited premium for each audit period, the earned premium due.
     c.   Within 180 days after this Coverage Part expires we will conduct an audit, which may not be waived. We will compute
          the earned premium for the policy period by multiplying the composite rate against the total developed exposure. If the
          earned premium is greater than the sum of the deposit and any interim adjustment premiums, the first Named Insured
          will pay us the excess; if less, we will return the unearned portion to the first Named Insured. However, the earned
          premium will not be less than the Minimum Premium as shown in the Schedule.
     d. The first Named Insured must maintain records of the information we need for premium computation and send us copies
        at such times as we may request.
     e.   The units of exposure shown in the Schedule are defined as follows:



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1.   Admissions means the total number of persons, other than employees of the named insured, admitted to events
     conducted on the insured premises whether on paid admissions, tickets, complimentary tickets or passes.
2.   Gallons means the total number of gallons of liquefied petroleum gasses invoiced on any basis to any customer,
     whether or not the insured actually takes possession of such gases.
3.   Gross sales means gross sales invoiced, before discounts, but does not include taxes collected for any governmental
     unit.
4.   Licensed "auto" means the final average of the number of "autos" at policy inception and the number of "autos" at
     policy termination.
5.   Occupied rooms means the number of rooms actually rented during the policy year in a hotel or other place of
     lodging.
6.   General Liability payroll means total remuneration for all "employees" of the insured as defined in our rating
     manuals.
7.   Workers Compensation payroll means total remuneration for all "employees" of the insured as defined in our
     rating manuals.
8.   Rounds played means the number of both paid and gratuitous rounds of golf played on an 18 hole golf course
     during the policy year. Rounds that are less then 10 holes will be counted as a half round toward the total number of
     rounds of golf played.
9. Each means the total number of exposure units as described in the exposure basis.
10. Rooms mean the total number of rooms available for rent in a hotel or other place of lodging.
11. Total cost means the total cost of all work let or sublet in connection with each specified project including the cost
    of all labor, material and equipment furnished, used or delivered in the execution of the work, however, do not
    include the cost of finished equipment installed but not furnished by the subcontractor if the subcontractor does no
    other work on or in connection with such equipment; and all fees, bonuses or commissions made, paid or due.
12. Total Operating Expenditures means expenditures (including grants, entitlements and shared revenue) without
    regard to source of revenue, including accounts payable.
13. Units means a single room or group of rooms intended for occupancy as separate living quarters by a family, by a
    group of unrelated persons living together, or by a person living alone.
14. Area means the total number of square feet of floor space at the insured premises they occupy or lease to others.
15. Other means the unit of exposure as defined in the Unit of Exposure Schedule of this endorsement




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                                                                           COMMERCIAL GENERAL LIABILITY
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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      WISCONSIN CHANGES --- AMENDMENT OF POLICY
                    CONDITIONS
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART

1. The following is added to CHANGES (Common                  No failure of a condition before the loss and no
   Policy Conditions):                                        breach of a promissory warranty affects our obli-
   If one of our agents knows of a fact that breaches         gation under this Coverage Part unless such fail-
   a condition of this Coverage Part, we will be con-         ure or breach:
   sidered to have knowledge of this same fact if:            a. Exists at the time of the loss; and
   a. The agent knows of this fact at the time the            b. Either increases the risk at the time of the loss
       Coverage Part is issued or an application is               or contributes to the loss.
       made; or                                               The provisions of this condition do not apply to
   b. The agent later learns of this fact in the course       nonpayment of premium.
       of his dealings as an agent with you.               4. Condition 8. TRANSFER OF RIGHTS OF
   Any fact that breaches a condition of this Cover-          RECOVERY AGAINST OTHERS TO US (Section
   age Part and is known to the agent prior to loss           IV) is replaced by the following:
   shall not void the Coverage Part or prevent a re-          In the event of any payment under this Coverage
   covery in the event of loss.                               Part, we will be entitled to the insured’s rights of
2. The LEGAL ACTION AGAINST US Condition (Sec-                recovery against any person or organization and
   tion IV) does not apply.                                   the insured will do whatever is necessary to secure
3. The following is added to Condition 6.                     such rights. We will be entitled to a recovery only
   REPRESENTATIONS (Section IV):                              after the insured has been fully compensated for
                                                              damages.
   No misrepresentation or breach of affirmative war-
   ranty made by you or on your behalf in the nego-        5. CONFORMITY TO STATUTE OR RULE
   tiation of this Coverage Part affects our obligation       Any provision of this policy (including endorse-
   under this Coverage Part unless:                           ments which modify the policy) that is in conflict
   a. We rely on it and it is either material or made         with a Wisconsin statute or rule is hereby amended
        with intent to deceive; or                            to conform to that statute or rule.
   b. The facts misrepresented or falsely warranted           The term rule means a valid rule promulgated by
        contribute to the loss.                               the Commissioner of Insurance in accordance with
                                                              the rule-making authority conferred under Wis.
                                                              Stat. Ann. Section 227.11(2) and published in the
                                                              Wisconsin Administrative Code.




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                                                                              COMMERCIAL GENERAL LIABILITY
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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          FLORIDA CHANGES ---
                     CANCELLATION AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   ELECTRONIC DATA LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCT WITHDRAWAL COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART


A. Paragraph 2. of the Cancellation Common Policy                      (2) The policy was obtained by a material
   Condition is replaced by the following:                                 misstatement;
   2. Cancellation Of Policies In Effect                               (3) Failure to comply with underwriting
      a. For 90 Days Or Less                                               requirements established by the insurer
                                                                           within 90 days of the effective date of
          If this policy has been in effect for 90 days                    coverage;
          or less, we may cancel this policy by
          mailing or delivering to the first Named                     (4) A substantial change in the risk covered
          Insured written notice of cancellation,                           by the policy; or
          accompanied        by     the    reasons     for             (5) The cancellation is for all insureds under
          cancellation, at least:                                           such policies for a given class of
         (1) 10 days before the effective date of                           insureds.
               cancellation     if   we      cancel    for              If we cancel this policy for any of these
               nonpayment of premium; or                                reasons, we will mail or deliver to the first
         (2) 20 days before the effective date of                       Named       Insured      written   notice  of
               cancellation if we cancel for any other                  cancellation, accompanied by the reasons
               reason, except        we may         cancel              for cancellation, at least:
               immediately if there has been:                              (a) 10 days before the effective date of
              (a) A      material     misstatement      or                     cancellation if we cancel for
                  misrepresentation; or                                        nonpayment of premium; or
             (b) A failure to comply with the                              (b) 45 days before the effective date of
                  underwriting               requirements                      cancellation if we cancel for any of
                                                                               the other        reasons stated in
                  established by the insurer.
                                                                               Paragraph 2.b.
      b. For More Than 90 Days
                                                             B. Paragraph 3. of the Cancellation Common Policy
          If this policy has been in effect for more            Condition is replaced by the following:
          than 90 days, we may cancel this policy
          only for one or more of the following                 3. We will mail or deliver our notice to the first
          reasons:                                                 Named Insured at the last mailing address
                                                                   known to us.
         (1) Nonpayment of premium;




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C. Paragraph 5. of the Cancellation Common Policy                 The cancellation will be effective even if we
   Condition is replaced by the following:                        have not made or offered a refund.
   5. If this policy is cancelled, we will send the first   D. The following is added and supersedes any other
      Named Insured any premium refund due. If we              provision to the contrary:
      cancel, the refund will be pro rata. If the first        Nonrenewal
      Named Insured cancels, the refund may be
      less than pro rata. If the return premium is not         1. If we decide not to renew this policy, we will
      refunded with the notice of cancellation or                 mail or deliver to the first Named Insured
      when this policy is returned to us, we will mail            written notice of nonrenewal, accompanied by
      the refund within 15 working days after the                 the reason for nonrenewal, at least 45 days
      date cancellation takes effect, unless this is an           prior to the expiration of this policy.
      audit policy.                                            2. Any notice of nonrenewal will be mailed or
       If this is an audit policy, then, subject to your          delivered to the first Named Insured at the last
       full cooperation with us or our agent in securing          mailing address known to us. If notice is
       the necessary data for audit, we will return any           mailed, proof of mailing will be sufficient proof
       premium refund due within 90 days of the date              of notice.
       cancellation takes effect. If our audit is not
       completed within this time limitation, then we
       shall accept your own audit, and any premium
       refund due shall be mailed within 10 working
       days of receipt of your audit.




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Deductible Endorsement - Occurrence

   Policy No.       Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.         Producer No.      Add’l. Prem      Return Prem.
GLO 8196250-19        03/01/2021          03/01/2022                                   92757000            INCL


                             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:



Employee Benefits Liability Coverage Part



It is agreed that the following deductible provisions are added             2.   The terms of this Coverage Part apply regardless of the
to the policy as respects the Employee Benefit Liability                         application of the deductible amount. This includes
Coverage Part:                                                                   those terms with respect to:
                                                                                 a.     Our rights and duties with respect to the defense
                                                                                        of "suits"; and
     Deductible:      $1,000
                                                                                 b. The "insured's" duties in the event of an act, error,
    1.   The deductible amount stated above shall be deducted                       or omission or a claim or "suit".
         from the amount of all claims arising out of the same
         act, error, or omission. We shall be liable only for the           3.   We may pay any part or all of the deductible amount
         difference between such deductible amount and the                       to effect settlement of any claim or "suit". You shall
         amount of insurance otherwise applicable on a per act,                  promptly reimburse us for such part of the deductible
         error, or omission basis. The Aggregate Limit will not                  amount as has been paid by us after we notify you of
         be reduced by the application of such deductible.                       our action.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            EXCLUSION – ACCESS OR DISCLOSURE OF
           CONFIDENTIAL OR PERSONAL INFORMATION
                     (COVERAGE B ONLY)
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


The following is added to Paragraph 2. Exclusions of
Section I – Coverage B – Personal And
Advertising Injury Liability:
2. Exclusions
   This insurance does not apply to:
   Access Or Disclosure Of Confidential Or
   Personal Information
   "Personal and advertising injury" arising out of any
   access to or disclosure of any person's or
   organization's confidential or personal information,
   including patents, trade secrets, processing
   methods, customer lists, financial information,
   credit card information, health information or any
   other type of nonpublic information.
   This exclusion applies even if damages are
   claimed for notification costs, credit monitoring
   expenses, forensic expenses, public relations
   expenses or any other loss, cost or expense
   incurred by you or others arising out of any access
   to or disclosure of any person's or organization's
   confidential or personal information.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,         B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I --- Coverage A ---- Bodily In-       Exclusions of Section I ---- Coverage B ---- Personal
   jury And Property Damage Liability:                          And Advertising Injury Liability:
   This insurance does not apply to:                            This insurance does not apply to:
   "Bodily injury" to:                                          "Personal and advertising injury" to:
  (1) A person arising out of any:                             (1) A person arising out of any:
      (a) Refusal to employ that person;                           (a) Refusal to employ that person;
      (b) Termination of that person’s employment;                (b) Termination of that person’s employment;
          or                                                           or
      (c) Employment-related practices, policies, acts              (c) Employment-related practices, policies, acts
           or omissions, such as coercion, demotion,                     or omissions, such as coercion, demotion,
           evaluation, reassignment, discipline, defa-                   evaluation, reassignment, discipline, defa-
           mation, harassment, humiliation, discrimina-                  mation, harassment, humiliation, discrimina-
           tion or malicious prosecution directed at                     tion or malicious prosecution directed at
           that person; or                                               that person; or
  (2) The spouse, child, parent, brother or sister of           (2) The spouse, child, parent, brother or sister of
       that person as a consequence of "bodily injury"               that person as a consequence of "personal and
       to that person at whom any of the employment-                 advertising injury" to that person at whom any
       related practices described in Paragraphs (a),                of the employment-related practices described
       (b), or (c) above is directed.                                in Paragraphs (a), (b), or (c) above is directed.
   This exclusion applies:                                       This exclusion applies:
  (1) Whether the injury-causing event described in             (1) Whether the injury-causing event described in
       Paragraphs (a), (b) or (c) above occurs before                Paragraphs (a), (b) or (c) above occurs before
       employment, during employment or after em-                    employment, during employment or after em-
       ployment of that person;                                      ployment of that person;
  (2) Whether the insured may be liable as an em-               (2) Whether the insured may be liable as an em-
      ployer or in any other capacity; and                          ployer or in any other capacity; and
  (3) To any obligation to share damages with or                (3) To any obligation to share damages with or
      repay someone else who must pay damages                       repay someone else who must pay damages
      because of the injury.                                        because of the injury.




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                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                     TOTAL POLLUTION EXCLUSION
                                    WITH A HOSTILE FIRE EXCEPTION

This endorsement modifies insurance provided under the following:

     COMME RCIAL GE NE RAL LIABILITY COVE RAGE PART

Exclusion f. under Paragraph 2., Exclusions of Section                         (b) At any premises, site or location on which
I - Coverage A - Bodily Injury And Property Damage                                 any insured or any contractors or subcon-
Liability is replaced by the following:                                            tractors working directly or indirectly on
                                                                                   any insured’s behalf are performing opera-
This insurance does not apply to:                                                  tions to test for, monitor, clean up, remove,
                                                                                   contain, treat, detoxify, neutralize or in any
f.   Pollution                                                                     way respond to, or assess the effects of,
                                                                                   "pollutants".
     (1) "Bodily injury" or "property da mage" which
         would not have occurred in whole or part but                      (2) Any loss, cost or expense arising out of any:
         for the actual, alleged or threatened discharge,
         dispersal, seepage, migration, release or es-                         (a) Request, demand, order or statutory or
         cape of "pollutants" at any time.                                         regulatory requirement that any insured or
                                                                                   others test for, monitor, clean up, remove,
         This exclusion does not apply to "bodily injury"                          contain, treat, detoxify or neutralize, or in
         or "property da mage" arising out of heat,                                any way respond to, or assess the effects of
         smoke or fumes from a "hostile fire" unless that                          "pollutants"; or
         "hostile fire" occurred or originated:
                                                                               (b) Claim or suit by or on behalf of a govern-
         (a) At any premises, site or location which is                            mental authority for da mages because of
             or was at any time used by or for any in-                             testing for, monitoring, cleaning up, re-
             sured or others for the handling, storage,                            moving, containing, treating, detoxifying or
             disposal, processing or treatment of waste;                           neutralizing, or in any way responding to,
             or                                                                    or assessing the effects of, "pollutants".




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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    TOTAL POLLUTION EXCLUSION WITH A BUILDING
  HEATING, COOLING AND DEHUMIDIFYING EQUIPMENT
     EXCEPTION AND A HOSTILE FIRE EXCEPTION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


Exclusion f. under Paragraph 2. Exclusions of Section                      (ii) At any premises, site or location on
I ---- Coverage A ---- Bodily Injury And Property Damage                         which any insured or any contractors or
Liability is replaced by the following:                                          subcontractors working directly or indi-
This insurance does not apply to:                                                rectly on any insured’s behalf are per-
                                                                                 forming operations to test for, monitor,
 f. Pollution                                                                    clean up, remove, contain, treat, detox-
      (1) "Bodily injury" or "property damage" which                             ify, neutralize or in any way respond to,
           would not have occurred in whole or part but                          or assess the effects of, "pollutants".
           for the actual, alleged or threatened discharge,        (2) Any loss, cost or expense arising out of any:
           dispersal, seepage, migration, release or es-
                                                                       (a) Request, demand, order or statutory or
           cape of "pollutants" at any time.
                                                                            regulatory requirement that any insured or
           This exclusion does not apply to:                                others test for, monitor, clean up, remove,
          (a) "Bodily injury" if sustained within a building                contain, treat, detoxify or neutralize, or in
               which is or was at any time owned or occu-                   any way respond to, or assess the effects
               pied by, or rented or loaned to, any insured                 of, "pollutants"; or
               and caused by smoke, fumes, vapor or soot              (b) Claim or suit by or on behalf of a govern-
               produced by or originating from equipment                    mental authority for damages because of
               that is used to heat, cool or dehumidify the                 testing for, monitoring, cleaning up, remov-
               building, or equipment that is used to heat                  ing, containing, treating, detoxifying or neu-
               water for personal use, by the building’s                    tralizing, or in any way responding to, or
               occupants or their guests; or                                assessing the effects of, "pollutants".
         (b) "Bodily injury" or "property damage" arising
               out of heat, smoke or fumes from a "hostile
               fire" unless that "hostile fire" occurred or
               originated:
               (i) At any premises, site or location which is
                   or was at any time used by or for any in-
                   sured or others for the handling, stor-
                   age, disposal, processing or treatment
                   of waste; or




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             DESIGNATED CONSTRUCTION PROJECT(S)
                   GENERAL AGGREGATE LIMIT

This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                    SCHEDULE

Designated Construction Project(s):
FOR WORK AND/OR SERVICES AT GRECO & SON’S - GRECO & SON’S VENDORS




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.



A. For all sums which the insured becomes legally                3. Any payments made under Coverage A for
   obligated to pay as damages caused by                            damages or under Coverage C for medical
   "occurrences" under Section I ---- Coverage A, and               expenses shall reduce the Designated
   for all medical expenses caused by accidents                     Construction Project General Aggregate Limit
   under Section I ---- Coverage C, which can be                    for that designated construction project. Such
   attributed only to ongoing operations at a single                payments shall not reduce the General
   designated construction project shown in the                     Aggregate Limit shown in the Declarations nor
   Schedule above:                                                  shall they reduce any other Designated
   1. A separate Designated Construction Project                    Construction Project General Aggregate Limit
       General Aggregate Limit applies to each                      for any other designated construction project
       designated construction project, and that limit              shown in the Schedule above.
       is equal to the amount of the General                     4. The limits shown in the Declarations for Each
       Aggregate Limit shown in the Declarations.                   Occurrence, Damage To Premises Rented To
   2. The Designated Construction Project General                   You and Medical Expense continue to apply.
       Aggregate Limit is the most we will pay for the              However, instead of being subject to the
       sum of all damages under Coverage A, except                  General Aggregate Limit shown in the
       damages because of "bodily injury" or                        Declarations, such limits will be subject to the
       "property damage" included in the "products-                 applicable Designated Construction Project
       completed operations hazard", and for                        General Aggregate Limit.
       medical expenses under Coverage C
       regardless of the number of:
        a. Insureds;
       b. Claims made or "suits" brought; or
       c. Persons or organizations making claims or
          bringing "suits".




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B. For all sums which the insured becomes legally       C. When coverage for liability arising out of the
   obligated to pay as damages caused by                   "products-completed operations hazard" is
   "occurrences" under Section I ---- Coverage A, and      provided, any payments for damages because of
   for all medical expenses caused by accidents            "bodily injury" or "property damage" included in
   under Section I ---- Coverage C, which cannot be        the "products-completed operations hazard" will
   attributed only to ongoing operations at a single       reduce the Products-completed Operations
   designated construction project shown in the            Aggregate Limit, and not reduce the General
   Schedule above:                                         Aggregate Limit nor the Designated Construction
   1. Any payments made under Coverage A for               Project General Aggregate Limit.
       damages or under Coverage C for medical          D. If the applicable designated construction project
       expenses shall reduce the amount available          has been abandoned, delayed, or abandoned
       under the General Aggregate Limit or the            and then restarted, or if the authorized
       Products-completed Operations Aggregate             contracting parties deviate from plans, blueprints,
       Limit, whichever is applicable; and                 designs, specifications or timetables, the project
   2. Such payments shall not reduce any                   will still be deemed to be the same construction
       Designated Construction Project General             project.
       Aggregate Limit.                                 E. The provisions of Section III ---- Limits Of
                                                           Insurance not otherwise modified by this
                                                           endorsement shall continue to apply as
                                                           stipulated.




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Pollution Liability Exclusion Disclosure Notice



This insurance policy does not apply to or provides very limited coverage as respects pollution liability. You should
refer to the specific pollution liability policy exclusions or pollution liability exclusion endorsements of your policy for
determination of specific terms and conditions as respects exclusion of any pollution liability exposures that you may
have. The policy exclusions of the Commercial General Liability Coverage Part, form CG 00 01, apply to pollution
exposures in the "coverage territory" unless replaced or modified, as indicated in the applicable endorsement, by one
or more of the following pollution exclusion endorsements. The pollution exclusion endorsements that are checked
apply to pollution exposures in the indicated area(s) of the "coverage territory":

                                                    ISO FORM CG 00 01

☐ Total Pollution Exclusion Endorsement, ISO Form         ☐ All states in the “coverage territory” except:
    CG 21 49


☒ Total Pollution Exclusion - Hostile Fire Exception,     ☐ All states in the "coverage territory" except:
    ISO Form CG 21 55

                                                          ☐ Only applicable in the following state(s)


☒ Total Pollution Exclusion with a Building Heating       ☐ All states in the "coverage territory" except:
    Equipment Exception and a Hostile Fire Exception
    ISO Form CG 21 65
                                                          ☐ Only applicable in the following state(s)


Other State Endorsements:

☐ Indiana Changes - Pollution Exclusion, ISO Form         ☐ Indiana
    CG 01 23

☐ Missouri Changes - Pollution Exclusion, ISO Form        ☐ Missouri
    CG 01 34; or

☐ Missouri Changes – Gasoline Risks - Pollution           ☐ Missouri
Exclusion,
    ISO Form CG 01 35;


☐ Vt. Changes - Pollution, ISO form CG 01 54              ☐ Vermont

☐ Other                                                   ☐ Applicable in the following states:




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                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                      COMMON POLICY CHANGE ENDORSEMENT

                 ZURICH AMERICAN INSURANCE COMPANY

Named Insured R j SCHINNER CO., INC.                                      Effective Date of change; 03-01-21
                                                                          12:01 A.M., Standard Time
Agent Name         ALTERNATIVE RISK RESOURCES, LLC                        Agent No.     92757-000
This endorsement will not be used to decrease coverages, increase rates or deductibles or alter any terms or
conditions of coverage unless at the sole request of the insured._________________________________________
COVERAGE PART INFORMATION - Coverage parts affected by this change as indicated by [x] below.
             Commercial Property
      X      Commercial General Liability
             Commercial Crime
             Commercial Inland Marine




The following item(s):
              Insured’s Name                                     Insured’s Mailing Address
              Effective/Expiration Date                          Insured’s Legal Status/Bus!ness of Insured
              Payment Plan                                   X   Coverage Forms and Endorsements
              Add/Delete Vehicle                                 Deductibles
             Additional Interest                                 Classification/Class Codes
      X       Limits/Exposures                                   Underlying Exposure/Insurance
              Covered Property/Location Description
is (are) changed to read [See Additional Page(s)]
SEE NEXT PAGE




The above amendments result in a change in the premiums as follows:
                               This premium does not include taxes and surcharges.
       No changes | X | To be Adjusted at Audit Additional                            Return                EXHIBIT


Additional
                                             Tax and Surcharge Changes

                                                                                      Return
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                                                                            Policy Number
                                                                            GLO 8196250-19
                                                                            Endorsement N o.     001


              ZURICH AMERICAN INSURANCE COMPANY

  Named Insured      R J SCHINNER CO., INC.                                 Effec tive Date of Change: 03-01-21
                                                                            12:01 A.M., Standard Time

  Agent Name         ALTERNATIVE RISK RESOURCES, LLC                        Agent N o.   92757-000

                          POLICY CHANGES ENDORSEMENT DESCRIPTION (CONT’D)

THE GENERAL LIABILITY OCCURRENCE LIMIT HAS BEEN CHANGED FROM
$2,000,000 TO $1,000,000.
THE GENERAL LIABILITY PREMISES/OPERATIONS AGGREGATE LIMIT HAS BEEN
CHANGED FROM $4,000,000 TO $2,000,000.
THE GENERAL LIABILITY PRODUCTS AND COMPLETED OPERATIONS AGGREGATE
LIMIT HAS BEEN CHANGED FROM $4,000,000 TO $2,000,000.
THE FOLLOWING FORM(S) HAS BEEN AMENDED:
U-GL-D-1115-B C 09-04     COMMERCIAL GL COVERAGE PART DECLARATIONS
ANY PREMIUM ADJUSTMENT IS SUBJECT TO AUDIT.
ALL OTHER TERMS AND CONDITIONS REMAIN THE SAME




REMOVAL PERMIT
If this policy includes the Commercial Property C overage Part , the following applies with respect to the Cover-
age Part:
If Covered Property is removed to a new location that is descri bed on this Policy Change, you may extend this
insurance to include that C overed Property at each l ocati on during the removal. C overage at each l ocati on will
apply in the proporti on that the value at each location bears to the value of all Covered Property being removed.
This permit applies up to 10 days after the effective date of this Policy Change; after that, t his insurance does
not apply at the previ ous locati on.



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                  2:21-cv-01018-BHL
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                                                                               28-1 CW (10/ 16)
                                                                           U-GU-614-B
                        COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS

                                                                    Policy Number: GLO          8196250-19
                          ZURICH AMERICAN INSURANCE COMPANY
  Named Insured R     J SCHINNER CO., INC.



  Policy Period: Coverage begins     03-01-2021           at 12:01 A.M.; Coverage ends      03-01-2022              at 12:01 A.M.


  Producer Name: ALTERNATIVE            RISK RESOURCES, LLC                          Producer No. 92757-000
Item 1. Business Description:
Item 2. Limits of Insurance


GENERAL AGGREGATE LIMIT                                               $          2,000,000

PRODUCTS-COMPLETED OPERATIONS AGGREGATE LIMIT                        $           2,000,000

EACH OCCURRENCE LIMIT                                 $         1,000,000

      DAMAGE TO PREMISES
      RENTED TO YOU LIMIT                             $         1,000,000             Any one premises

      MEDICAL EXPENSE LIMIT                           $              10,000           Any one person

PERSONAL AND ADVERTISING INJURY LIMIT                 $         1,000,000             Any one person or
                                                                                      organization




Item 3. Retroactive Date (CG 00 02 ONLY)
This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" offense
which occurs before the Retroactive Date, if any, shown here:      NONE
                                                                     (Enter Date or "None" if no Retroactive Date applies)

Item 4. Form of Business and Location Premises
Form of Business: CORPORATION
Location of All Premises You Own, Rent or Occupy: See Schedule of Locations
Item 5. Schedule of Forms and Endorsements
Form(s) and Endorsement(s) made a part of this Policy at time of issue:
See Schedule of Forms and Endorsements
Item 6. Premiums
Coverage Part Premium:
Other Premium:
Total Premium:




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                                                                              U-GL-D-1115-B CW (9/ 04)
 JS44 (Rev. 10/20)                                                         CIVIL COVER SHEET
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided by local rules
 of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE
 INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
 Place an “X” in the appropriate box (required):                  □ Green Bay Division El Milwaukee Division
 I la) PLAINTIFFS                                                                                                       \      A. mx J M. Kf ,

   Great American msurance Company                                                                                      linner Co., Inc.


     (b) County of Residence of First Listed Plaintiff _____                                                   County of Residence of First Listed Defendant Waukesha_______
                           (EXCEPTIN U.S. PLAINTIFF CASES)                                                                            (IN V.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE: IN LAND CONTtEMNATION CASES, USE THE LOCATION OF
                                                                                                                       THE TRACT OF LAND INVOLVED.
     (c) ^AttorneysjFi™ Name. Address, and Telephone Number)                                                    Attorneys (IfKnown)

     Cassiday Schade LLP 575 E. Kilbourn Suite 575 Milwaukee Wl
     53202

IL BASIS OF JURISDICTION (Place an "X" in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Piacean "X’ln One BoxforPlaintiff
                                                                                                          (ForDiversity Cases Only)                       and One Box for Defendant)
I I1    U.S. Government                [~| 3 Federal Question                                                                    PTF DEF                                     PTF     DEF
          Plaintiff                             (U.S. Government Not a Party)                       Citizen of This State       n 1  n 1 Incorporated orPrincipal Place
                                                                                                                                           of Business In This State
                                                                                                                                                                                                □ 4 S'*
I 12 U.S. Government                  1)^ 4 Diversity                                                Citizen of Another State            I I 2      n 2     Incorporated an^Principal Place     H 5 ns
       Defendant                               (Indicate Citizenship ofParties in Item III)                                                                   of Business In Another State

                                                                                                     Citizen or Subject of a             I I 3      I I 3   Foreign Nation                      D 6      Qfi
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X'’ in One Box Onh)                                                                                            Click here for: Njiiirc of ^uit        ode Descriptions
           CONTRACT                                               TORTS                                FORFEITURE/PENAL TY                            BANKRUPTCY                    OTHER STATUTES
 ^ 110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY               ^625 Drug Related Seizure                     422 Appeal 28 USC158
                                                                                                                                                                      375 False Claims Act
 _ 120 Marine                      _ 310 Airplane                I I 365 Personal Injury -                 ofPTopeny21USC 881                    J 423 Withdrawal     376QuiTam (31USC
 “ 130 Miller Act                  _ 315 Airplane Product                  Product Liability         □ 690 Other                                       28 use 157          3729(a))
 _ 140 Negotiable Instrument               Liability
 __] 150 Recovery of Overpayment □ 320 Assault, Libel &
                                                                    □ 367 Healthcare/
                                                                          Pharmaceutical                                               PROPERTY RIGHTS
                                                                                                                                                                      400 State Reapportionment
                                                                                                                                                                      410 Antitrust
         & Enforcement of Judgment         Slander                        Personal Injury                                            _ 820 Copyrights            ^ 430 Banks and Banking
 _ 151 Medicare Act                ^ 330 Federal Employers’               Product Liability                                             830 Patent               _ 450 Commerce
 _ 152 Recovery of Defaulted               Liability             I I 368 Asbestos Personal                                              835 Patent - Abbreviated      460 Deportation
         Student Loans             _ 340 Marine                            Injury Product                                                   New Drug Application J 470 Racketeer Influenced and
         (Excludes Veterans)       _ 345 Marine Product                    Liability                                                    840 Trademark                     Corrupt Organizations
I 1153 Recovery of Overpayment             Liability                PERSONAL PROPERTY                 _______ LABOR                     880 Defend Trade Secrets [31 480 Consumer Credit
         of Veteran’s Benefits     ^ 350 Motor Vehicle            ___ 370 Other Fraud               ^710 Fair Labor Standards               Act of 2016                    (15 use 1681 or 1692)
 _ 160 Stockholders’Suits          J 355 Motor Vehicle            _ 371 Truth in Lending                   Act                                                      [ 485 Telephone Consumer
 _ 190 Other Contract                     Product Liability       _ 380 Other Personal              ^ 720 Labor/Management              SOCIAL SECURITY                    Protection Act
 _ 195 Contract Product Liability 3 360 Other Personal                    Property Damage                   Relations                   861HIA(1395ff)           n 490 Cable/Sat TV
 _I 196 Franchise                         Injury                 I I 385 Property Damage               740 Railway Labor Act            862 Black Lung (923)     3 850 Securities/Comraodities/
                                   ^ 362 Personal Injury -                Product Liability         3] 751 Family and Medical           863 DIWC/DIWW (405(g))            Exchange
                                          Medical Malpractice                                              Leave Act                    864 SSID Title XVI       ^ 890 OtiierStatutoiy Actions
         rEaUTEoFERTV              ---- CIVUMCRTS---- HUS6NERMT1T16KS                               J 790 Other Labor Litigation        865 RSI (405(g))         _ 891 Agricultural Acts
    210 Laud Condemnation             440 Other Civil Rights          Habeas Corpus:                ^791 Employee Retirement                                     _ 893 Environmental Matters
 “ 220 Foreclosure                 " 441 Voting                   ^ 463 Alien Detainee                     Income Security Act         p-EDERAL TAX SUITS             895 Freedom of Information
 _ 230 Rent Lease & Ejectment         442 Employment              ^ 510 Motions to Vacate                                            □ 870 Taxes (U.S. Plaintiff          Act
 _ 240 Torts to Land               ^ 443 Housing/                         Sentence                                                          or Defendant)        _ 896 Arbitration
 _ 245 Tort Product Liability             Accommodations              530 General                                                    □ 871 IRS—Third Party       □ 899 Administrative Procedure
 ^ 290 All Other Real Property     3] 445 Amer. w/Disabilities - J 535 Death Penalty                        IMMIGRATION                      26 use 7609                  Act/Review or Appeal of
                                          Employment                  Other:                        _ 462 Naturalization Application                                     Agency Decision
                                   3 446 Amer. w/Disabilities - _ 540 Mandamus & Other              _ 465 Other Immigration                                      □ 950 Constitutionality of
                                          Other                   _ 550 Civil Rights                       Actions                                                        State Statutes
                                   ^ 448 Education                    555 Prison Condition
                                                                  _ 560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
       ORIGIN (Place an "X" in One Box Only)
^1      Original
       Proceeding
                         Removed from
                         State Court
                                                          □   3    Remanded from
                                                                   Appellate Court
                                                                                              I |4 Reinstated or
                                                                                                   Reopened
                                                                                                                       □
                                                                                                                    5 Transferred from
                                                                                                                        Another District
                                                                                                                                                [~| 6 Multidistiict
                                                                                                                                                         Litigation -
                                                                                                                                                                                       [~~| 8 Multidistrict
                                                                                                                                                                                              Litigation -
                                                                                                                        fspecif\)                        Transfer                             Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite Jurisdictional statutes unless diversity):

VI. CAUSE OF ACTION 28 U.S.C. 1332(ai and 28 U.S.C 1391(b)
                    Brief description of cause:
                                          Declaratory Judgment regarding Insurance policies
VII. REQUESTED IN     □ CHECK IF THIS IS A CLASS ACTION                                                DEMANDS                                           CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                       JURY DEMAND:              □ Yes       HNo
VIII. RELATED CASE(S)
                       (See instnictions):
      IF ANY                               JUDGE                                                                                                   DOCKET NUMBER

DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD ) "                           ^
08/30/2021
FOR OFFICE USE ONLY

   RECEIPT #                     AMOUNT                                     APPLYING IFP                                    JUDGE                                 MAG. JUDGE
                          Case
                            Case
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